         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 1 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                             June 29, 2017




                                                 www.GeorgiaReporting.com/Schedule
                                                                      404.389.1155YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 2 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                               June 29, 2017

                                                     Page 5                                                       Page 7
 1         Deposition of QUANIAH RENETRA STEVENSON             1   including criminal penalties, associated with
 2                      June 29, 2017                          2   providing false information in this deposition while
 3                                                             3   you're under oath.
 4                QUANIAH RENETRA STEVENSON,                   4        A    Uh-huh.
 5   being first duly sworn, was examined and testified        5        Q    Correct?
 6   as follows:                                               6        A    Yes, sir.
 7                        EXAMINATION                          7        Q    I'm guessing you have a general idea of
 8   BY MR. STONE:                                             8   what's going to happen today, insofar as you know
 9        Q    There is no judge here, obviously.              9   I'm going to ask you a series of questions; correct?
10   Ms. Stevenson, there's a judge, obviously, if any        10        A    Yes.
11   issues arise.                                            11        Q    And you're going to provide me, as you've
12             Have you ever had your deposition taken        12   promised to do, truthful answers; correct?
13   before?                                                  13        A    Yes.
14        A    I never had -- never did one.                  14        Q    A couple of other things that will make
15        Q    You've never done one before.                  15   the day go easier today.
16        A    (No response, indicating.)                     16             First of all, let me, as I'm asking you a
17        Q    Okay. You are Quaniah Stevenson, of            17   question, finish the question completely before you
18   course; correct?                                         18   start to give the answer.
19        A    Yes.                                           19        A    Okay.
20        Q    Do you -- have you ever been known by any      20        Q    All right? That will, among other things,
21   other name?                                              21   make life much easier for --
22        A    Most people call me Q, QU, they just           22        A    For Mari.
23   say Q. Some people say Niah. I have a kid name           23        Q    -- our court reporter here. Yes, exactly.
24   that I don't want to say that my family calls me.        24             Second of all, if I ask you a question,
25        Q    A nickname.                                    25   please give an answer with a verbal response, a yes,


                                                     Page 6                                                       Page 8
 1        A    Yes. But my main name is Q or Quaniah.          1   a no, a -- if it's necessary, a narrative response
 2        Q    Have you ever been known by any other           2   to whatever question I'm asking.
 3   legal name?                                               3        A    Okay.
 4        A    Oh, no.                                         4        Q    All right? That will also make it easier
 5        Q    You've never changed your name before.          5   for the court reporter, because it's very hard for
 6        A    No, sir.                                        6   her to take down uh-huhs and huh-uhs.
 7        Q    Do you have a middle name?                      7        A    Okay.
 8        A    Renetra.                                        8        Q    All right?
 9        Q    Spell that for me.                              9        A    Yes.
10        A    R-E-N-E-T-R-A.                                 10        Q    And then the third thing, and this kind of
11        Q    All right. You told me a moment ago            11   goes with the first point I was making, do your very
12   you've never given a deposition before?                  12   best not to interrupt me, and I'll do my very best
13        A    No. I've never -- yeah, I don't know.          13   not to interrupt you as you're giving the answer.
14        Q    Let me give you a couple of guidelines         14        A    Yes, sir.
15   that I think will make the day go quickly hopefully      15        Q    All right. Perfect.
16   and smoothly today. All right?                           16             Last point, if at any point during the
17        A    Okay.                                          17   course of the day, and it might happen from time to
18        Q    You understand, first of all, that our         18   time, I ask you a question that you don't
19   court reporter just gave you an oath; correct?           19   understand, you tell me that, and I will do my very
20        A    Yes, yes.                                      20   best to make sure that you understand exactly what
21        Q    You understand that that's the same oath       21   I'm asking. All right?
22   that you would take if you were giving testimony in      22        A    Yes, sir.
23   federal court.                                           23        Q    All right. If you give an answer, I'm
24        A    Yes, yes.                                      24   going to assume you understand my question.
25        Q    And you understand there are penalties,        25        A    Yes, sir.


                                                                           www.GeorgiaReporting.com/Schedule
                                                                                                404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 3 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                    Page 9                                                      Page 11
 1        Q    So if there's any doubt in your mind, you      1        A    No.
 2   ask me for clarification. Okay?                          2        Q    All right.
 3        A    Yes, sir.                                      3        A    No.
 4        Q    All right. Ms. Stevenson, is there any         4        Q    And when was the last time you got a
 5   reason that your memory or your ability to testify       5   prescription for amitryptyline?
 6   here is impaired in any way?                             6        A    I do not know.
 7        A    It's not impaired.                             7        Q    So the prescription you have is at least a
 8        Q    All right. Is there any reason why you         8   year or more old?
 9   can't give full and complete and accurate testimony      9        A    It's a little less than a year possibly.
10   here today?                                             10   I can double-check for you.
11        A    No.                                           11        Q    All right. Got it.
12        Q    All right. Are you on any medications         12             Do you drink alcohol?
13   right now?                                              13        A    No. I do have a glass of wine
14        A    Not regularly.                                14   occasionally, holiday time. I do not drink.
15        Q    Have you taken any medication in the last     15        Q    You've not had any alcohol in the last
16   24 hours?                                               16   24 hours.
17        A    No, no.                                       17        A    No.
18        Q    So there's no medication that's affecting     18        Q    Okay. Did you do anything, Ms. Stevenson,
19   your memory or --                                       19   to prepare for this deposition today?
20        A    No.                                           20        A    I just kind of maybe read over a few
21        Q    -- your ability to testify.                   21   documents that you sent to me; documents that I
22             When you say not regularly, tell me, are      22   submitted in the courts. Other than that --
23   there medications that you take from time to time?      23        Q    Nothing?
24        A    Yes, sir.                                     24        A    No, sir.
25        Q    What are those medications?                   25        Q    All right.


                                                   Page 10                                                      Page 12
 1        A    Amitriptyline.                                 1        A    Just -- nothing at all, just --
 2        Q    And what is that?                              2        Q    What specific documents did you review to
 3        A    Do you want me to spell it?                    3   get ready for the deposition? What were these few
 4        Q    No, no, no. I want you to tell me what         4   documents?
 5   the medication does for you.                             5        A    Just the things that you've mailed to me;
 6        A    My mood, depression.                           6   things that I filed in the court.
 7        Q    All right. And how often do you take           7        Q    Like what? Can you give me an example?
 8   that?                                                    8        A    I guess like my interrogatories maybe;
 9        A    Just if I'm -- I guess they call it -- if      9   some of my complaints when everything initially
10   I'm having a mood swing or feeling down.                10   transpired. That's pretty much it.
11        Q    All right. How often roughly have you         11        Q    Are these -- did you look at any documents
12   taken it in the last month, if at all?                  12   that you have -- that either I haven't given to you
13        A    Maybe once.                                   13   or you haven't given to me?
14        Q    Okay. And who prescribes that to you?         14        A    No.
15        A    Dr. Cherukupally.                             15        Q    Everything that you've looked at is either
16        Q    Okay.                                         16   material that you've sent to me or I've sent to you?
17        A    Yeah.                                         17        A    Absolutely.
18        Q    And when was the last time you saw            18        Q    All right.
19   Dr. Cherukupally?                                       19        A    Last night.
20        A    I cannot remember.                            20        Q    Okay. And how much time did you spend
21        Q    Has it been more than a year?                 21   looking at those documents?
22        A    A little less than a year because she left    22        A    Probably 30 minutes.
23   that practice.                                          23        Q    Do you have any of those documents with
24        Q    Is there any other medication that you        24   you?
25   take on a regular or irregular basis?                   25        A    No, sir.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 4 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 13                                                      Page 15
 1        Q    All right. They're at your house?              1        A    Yeah, speeding ticket was -- the same --
 2        A    Yes, sir.                                      2   it was the same thing, just unpaid speeding ticket.
 3        Q    All right. I know that you have been a         3        Q    Got it.
 4   party to some legal proceedings before, for example,     4             And so before the arrest you just told me
 5   a bankruptcy; correct?                                   5   about that occurred in '07 or '08, when was the time
 6        A    Yes. Yes, sir.                                 6   before that that you were arrested? How long ago?
 7        Q    Other than a bankruptcy, have you been a       7        A    Probably -- it probably occurred after
 8   party to any other legal proceeding? Any other           8   that, maybe like -- I don't know. I don't know the
 9   lawsuit, any divorce, anything like that?                9   exact year. It might have occurred after '08, maybe
10        A    I've never been married.                      10   2010 possibly. It might have happened later than
11        Q    Okay.                                         11   that. I just know it was all the same thing. It
12        A    I've been through like eviction. Is that      12   was all dealing with speeding -- traffic violations.
13   the same thing? I -- I'm just trying to make            13   It was --
14   sure --                                                 14        Q    So the only thing that you -- the only
15        Q    Yes. That would count as a legal              15   things that you've ever been arrested for in your
16   proceeding.                                             16   life is for unpaid speeding tickets?
17        A    I've been through judgments if I owed on      17        A    Yes, and like -- yeah, tickets, just
18   rent.                                                   18   either parking or a speeding type ticket that dealt
19        Q    Yeah.                                         19   with -- I remember that was -- I had missed court on
20        A    Traffic tickets, I don't know if that         20   the ticket, and I was ordered to just pay the
21   applies.                                                21   ticket. And the judge just said from here on out,
22        Q    Sure.                                         22   just always make sure if you show up -- just make
23        A    Speeding.                                     23   sure you show up to court for your tickets, and this
24        Q    Yep.                                          24   will never -- won't happen.
25        A    When you say legal, are you talking           25        Q    Has it -- have you only been arrested two


                                                   Page 14                                                      Page 16
 1   arrests for anything or legal or --                      1   times?
 2        Q    I was talking about lawsuits. And              2        A    I think it's been twice for that, for the
 3   eviction proceedings would include that. I have not      3   same type of situation, which was always a traffic
 4   asked you about arrests yet. But I will.                 4   violation.
 5        A    Oh.                                            5        Q    You've never been arrested for any other
 6        Q    Have you been arrested?                        6   reason.
 7        A    Yes, I have been before.                       7        A    No, no.
 8        Q    When was the last time you were arrested?      8        Q    Were these both in the city of Atlanta?
 9        A    To answer accurately, I don't remember the     9        A    One, if I remember correct, happened --
10   year. It was for a speeding ticket that went            10   gosh, this was so long ago. Stone Mountain.
11   unpaid. And --                                          11        Q    Okay.
12        Q    Got it.                                       12        A    Yeah. I remember Stone Mountain. The
13        A    -- they released me in like four hours or     13   other was -- I think it was East Point.
14   so.                                                     14        Q    All right.
15        Q    Give me your best estimate of the year.       15        A    I don't know if East Point and College
16        A    Oh, my gosh, maybe '07 or '08, yeah,          16   Park is the same, because I was at the little
17   because it was -- yeah, it was unpaid ticket. And I     17   courthouse over in the Main Street area. So people
18   missed court, and they made me pay the ticket, and      18   kind of get it -- it's either College Park or East
19   they released me.                                       19   Point. But they have a courthouse over there, so
20        Q    Got it.                                       20   that's where I was. I paid the ticket, which was a
21             Other than that arrest, that single           21   bench thing because I didn't show up for the -- it
22   arrest, have you ever been arrested at any other        22   was a -- I was sick. It was the speeding. And I
23   time in your life?                                      23   ended up -- yeah, they released me that same day.
24        A    I have, tickets, I -- yeah, just --           24   They released me that same day.
25        Q    Unpaid tickets?                               25        Q    So you've never spent the night in prison?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 5 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 17                                                      Page 19
 1        A    Never. Never in my -- never.                   1        A    Actually, they just cut some of my amount.
 2        Q    Have you ever -- other than the two            2   I'm not receiving the maximum. I'm receiving I
 3   arrests that you've told me about, and your eviction     3   think like 150 or something, 153. I think that's
 4   proceedings --                                           4   it.
 5        A    Yes, sir.                                      5        Q    And that's per --
 6        Q    -- and your bankruptcy, have you ever been     6        A    It's per -- you just get it once a month.
 7   involved in any other criminal or civil legal            7        Q    Right.
 8   proceeding?                                              8        A    Yes, sir.
 9        A    Never been in a criminal at all. The only      9        Q    All right. Let me show you just a couple
10   civil that I remember that I think is on my credit      10   of documents. I'm not going to ask you a lot of
11   report was a judgment for old rent -- rental that I     11   questions about them.
12   stayed.                                                 12             (Exhibit 1 was marked for identification.)
13             And the judge at that time ruled for me       13   BY MR. STONE:
14   and ordered -- deducted something per the leasing       14        Q    The first thing I'm going to show you is
15   person that I owed, which was the owner of the          15   your voluntary petition for bankruptcy in this case.
16   townhouse. And ordered them not to proceed any          16   And I'm just going to ask you to take a quick look
17   further and said, You all just work it out of the       17   at it. I'll show you a series of documents today.
18   court. They dismissed it and said work it out. And      18   And each time I show you a document, I'm going to
19   the judge lowered the balance for me.                   19   mark it with a little sticker and a number.
20        Q    Any other legal proceeding that you've        20             So that's No. 1?
21   been involved in?                                       21        A    Yes, sir.
22        A    No.                                           22        Q    So I'm showing you what's Exhibit No. 1.
23        Q    Have you ever applied for any -- I know       23             And my question to you is, is that your
24   you applied for some unemployment benefits.             24   petition for bankruptcy that you filed in bankruptcy
25             Have you ever applied for any other           25   court here in Georgia?


                                                   Page 18                                                      Page 20
 1   governmental benefits, Social Security benefits --       1        A    You mean like is this what the attorney at
 2        A    Food stamps --                                 2   that time gave me? Because I did a Chapter 13
 3        Q    -- food stamps.                                3   first. And then the attorney I had at the time
 4        A    -- does that apply?                            4   advised, You don't have anything to -- really to
 5        Q    Yes.                                           5   work with. So she said, I'm telling you, I suggest
 6        A    Yes, sir.                                      6   you do a 7. I didn't want to do a 7 because I was
 7        Q    When did you apply for food stamps?            7   trying to keep my car at the time. And she said,
 8        A    I do not remember the actual date, but I       8   You -- please do a 7. That will help you better.
 9   think it probably was after I was terminated, which      9   So it went from a 13 to a 7.
10   probably --                                             10        Q    All right. I'm going to show you that --
11        Q    From Delta?                                   11   on page 1 --
12        A    Yes, sir.                                     12        A    Oh, there it is.
13        Q    Okay.                                         13        Q    You'll see that it's a Chapter 13
14        A    Which probably occurred around August --      14   bankruptcy. And this is a petition that was filed
15        Q    Yeah.                                         15   by you --
16        A    -- of 2015.                                   16        A    Yes.
17             But I have had stamps before that, like if    17        Q    -- or on your behalf by your attorney in
18   my hours or something dropped, and my income -- if I    18   district court. I'm just asking you to confirm that
19   wasn't making enough, you qualify for it. So I have     19   for me.
20   had them like on and off ongoing. But once I was        20        A    Oh, yes, yes.
21   terminated, they gave me the maximum amount because     21        Q    All right. And then I'm going to show you
22   they saw that I had -- the income.                      22   one other document related to your bankruptcy.
23        Q    And are you still receiving food stamps?      23             (Exhibit 2 was marked for identification.)
24        A    Yes, sir.                                     24             (Discussion off the record.)
25        Q    Still the maximum amount?                     25


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 6 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 21                                                      Page 23
 1   BY MR. STONE:                                            1             Am I correct on that?
 2        Q    So the next thing I'm going to show you is     2        A    I haven't filed for me. But I helped my
 3   what's been marked as Exhibit 2. And ask if that's       3   mother because my -- I've recently been filing --
 4   a statement of financial affairs that was filed on       4   trying to help my mom out --
 5   your behalf. Take your time and take a look at it        5        Q    Yes.
 6   and make sure you recognize it.                          6        A    -- because she has some things going on
 7        A    Would this have been -- because there was      7   that I'm trying to get taken care of for her because
 8   so many papers --                                        8   she's elderly.
 9        Q    Sure.                                          9        Q    But you, for yourself, have never sought
10        A    -- Attorney Stone, would this have been       10   Social Security benefits for yourself.
11   what my Chapter 13 attorney would have filed.           11        A    No. I don't -- I -- no, I know I wouldn't
12   Because I went between two attorneys for the 7 and      12   qualify anyway.
13   the 13.                                                 13        Q    All right. Fair enough.
14        Q    (Indicating.)                                 14             (Exhibit 3 was marked for identification.)
15        A    This would be the paperwork that they         15   BY MR. STONE:
16   filed?                                                  16        Q    Let me show you what's been marked as
17        Q    Yeah. You can see at the top here. This       17   Exhibit No. 3. And ask if you recognize those as
18   is something, first of all, that was filed in your      18   your responses to the interrogatories --
19   Chapter 13 bankruptcy.                                  19        A    I looked at this.
20        A    December.                                     20        Q    -- that Delta sent you? Yes?
21        Q    See where it says Chapter 13?                 21        A    That Delta sent me?
22        A    Uh-huh.                                       22        Q    That I sent you on --
23        Q    And you see it was filed December of 2015.    23        A    Oh.
24        A    Right. That was right around the time.        24        Q    -- on behalf of Delta.
25        Q    Right.                                        25        A    Yes. This looks like what you sent me,


                                                   Page 22                                                      Page 24
 1        A    Am I okay to look?                             1   yes, sir.
 2        Q    Oh, you're more than okay. I expect you        2        Q    Well, let's be clear, these are actually
 3   to. And make sure you recognize it as your               3   your responses, so this is what you would have sent
 4   statement of financial affairs.                          4   me.
 5             (Comment by Reporter.)                         5        A    Sent you, yes, sir.
 6             (Discussion off the record.)                   6        Q    All right. And you recognize it as such;
 7   BY MR. STONE:                                            7   correct?
 8        Q    And then answer my question, which is is       8        A    Yes, sir.
 9   that the statement of financial affairs that was         9        Q    And when you responded to Delta's
10   filed --                                                10   interrogatories, did you tell the truth?
11        A    Yeah.                                         11        A    Yes, sir.
12        Q    -- on your behalf?                            12        Q    All right. And you said you reviewed this
13             And I assume it is your practice, and that    13   yesterday for a little while; correct?
14   you would have, consistent with that practice, told     14        A    Just for about 30 minutes.
15   the truth in all of your filings in the bankruptcy      15        Q    And is everything in this response still
16   court; correct?                                         16   accurate and complete? Take as much time as you
17        A    Yes, sir.                                     17   need to answer that question.
18        Q    All right. So when you file something,        18        A    It's correct.
19   and it's under oath, you're very careful to make        19        Q    All right. Let me -- hang on to that
20   sure that it's truthful; correct?                       20   document because I'm going to ask you some questions
21        A    Yes, sir.                                     21   about it.
22        Q    All right. And I think you told me this,      22             Turn to page 3 of Exhibit 3 for me. All
23   but just to be sure, I'm right you have never filed     23   right. And you'll see there I'm looking now at your
24   for disability benefits with the Social Security        24   response to Interrogatory No. 6.
25   Administration.                                         25             Do you see that?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 7 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 25                                                      Page 27
 1        A    Yes.                                           1        A    Did.
 2        Q    Okay. And these are the healthcare             2        Q    -- for a psychologist.
 3   providers who have provided services to you for the      3        A    Did.
 4   last ten years; correct?                                 4        Q    You're no longer seeing her?
 5        A    Yes --                                         5        A    No, she left that practice.
 6        Q    All right.                                     6        Q    Are you currently seeing any other
 7        A    -- or I have a -- do I have to put my          7   psychologist?
 8   gynecologist in here?                                    8        A    I am not. I have recently been trying to
 9        Q    Well, it called for all of your healthcare     9   get a new person that I have not yet reached out to.
10   providers.                                              10        Q    Okay. Have you identified somebody to
11        A    Oh, okay.                                     11   reach out to?
12        Q    So let's talk -- we'll talk about that in     12        A    I do have a name. I'll be honest, I -- I
13   a minute.                                               13   can get that to you later. I do not have it with
14             Okay. Let me identify, first of all, the      14   me. I don't remember.
15   people that have been listed here. You first            15        Q    But you've not seen that person, whoever
16   indicate Dr. Kelley from Peachtree Orthopaedics;        16   it is.
17   correct?                                                17        A    No.
18        A    Yes.                                          18        Q    And I think you told me that it's been
19        Q    And is Peachtree Orthopaedics and             19   probably a year since you saw Dr. Cherukupally?
20   Dr. Kelley, is that who treated you for your            20        A    Maybe a little less than a year. I can't
21   shoulder injury when the bag fell?                      21   say accurately, but it has been a while since I last
22        A    Yes, it -- but it's not just shoulder.        22   saw her.
23   It's my shoulder, neck and back.                        23        Q    And how long did she treat you for?
24        Q    But your --                                   24        A    Probably maybe six months.
25        A    -- and kind of -- he is, I think, a neck      25        Q    Okay.


                                                   Page 26                                                      Page 28
 1   specialist and then -- yeah. He's a neck                 1        A    It may be a little less than that.
 2   specialist, but he treated all of it, yeah.              2        Q    How many times did you --
 3        Q    I didn't mean to be as narrow as that.         3        A    She has done -- she has done surgery --
 4             Your orthopedic injury suffered when you       4   what do you call it, an outpatient procedure on me
 5   had a fall of a bag; correct?                            5   as well.
 6        A    Yes, yeah, when --                             6        Q    What outpatient procedure did she do on
 7        Q    And that was in 2013; correct?                 7   you?
 8        A    Was it '13 or was it '14? Gosh, I'm not        8        A    It was dealing with my initial -- what I
 9   accurate on the year. It was '13 or '14, but I know      9   deal with my neck and my shoulder.
10   exactly it happened on March the 20th. And I do         10        Q    Okay. So she's treating you for more than
11   know it happened March, the 20th or the 21st, when      11   your psychological issues.
12   my supervisor had to take me down to on-site            12        A    Yeah. She did do -- she has done that as
13   therapy.                                                13   well.
14        Q    Okay. All right. Well, we'll look at          14        Q    All right. Is she a psychologist by
15   some documents in a little while that will clarify      15   training or is she a --
16   that.                                                   16        A    I never asked her.
17        A    Okay.                                         17        Q    All right.
18        Q    But that's what Dr. Kelley at Peachtree       18        A    When she would treat me and talk with me,
19   Orthopaedics was treating you for; correct?             19   she just kind of knew a lot of things that I was
20        A    Yes, sir.                                     20   going -- going through with. And per her, I guess,
21        Q    And then you just told me a moment ago        21   medical findings, she decided that she wanted to
22   that Dr. -- I'm going to mispronounce it, but           22   place me on what she placed me on.
23   Cherukupally?                                           23        Q    When did she place you on amitriptyline?
24        A    She.                                          24        A    I do not know the date. I can't remember
25        Q    She is treating you or did treat you --       25   the date, because it's been a while since I saw her.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 8 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 29                                                      Page 31
 1        Q    Give me your best estimate.                    1        A    He also -- he knew about my injury or
 2        A    Oh, gosh, maybe right around -- let me         2   whatever. He talked to me about it. But he's never
 3   see. Maybe October or September 2016. I did try to       3   done any procedures or nothing like that. So we
 4   go back and see her. But when I went back, that's        4   just more so talked about the depression and the
 5   when I found out that she had left the practice.         5   things that I was kind of going through with and --
 6        Q    I got it.                                      6        Q    Is Dr. Clavo a psychologist?
 7             And how many times have you taken              7        A    I never asked him if he is. He just read
 8   amitriptyline in your life?                              8   the notes per Dr. Cherukupally. And he just kind of
 9        A    Just only once she had prescribed it and       9   emphasized what she -- what that doctor talked about
10   thought that that would be something that would be      10   with me.
11   best for what she -- where she thought I was at the     11        Q    How many times did you see Dr. Clavo?
12   time.                                                   12        A    Once.
13        Q    I asked a poor question.                      13        Q    Okay. Other than the three doctors that
14             How many times have you physically taken a    14   are listed in this response to Interrogatory No. 6,
15   pill?                                                   15   Dr. Kelley, Dr. Cherukupally and Dr. Clavo, who else
16        A    I cannot answer accurately because I never    16   have you seen for any healthcare condition in the
17   counted.                                                17   last ten years?
18             You want an estimate?                         18        A    Oh, Dr. Melinda Miller-Thrasher.
19        Q    (No response, indicating.)                    19        Q    She's your OB/GYN?
20        A    I don't know. Again, just when I'm -- if      20        A    Yes.
21   I feel depressed or in a mood, it just kind of helps    21        Q    Who else?
22   me, you know.                                           22        A    Dr. Thrasher. I've been to the ER. I
23        Q    Five times? Have you taken it five times      23   just don't know the doctors' names, because they
24   in your life, approximately?                            24   change the doctors so much.
25        A    I've taken it more than five times. Maybe     25        Q    Yeah.


                                                   Page 30                                                      Page 32
 1   eight times.                                             1        A    None at this time.
 2        Q    Okay. That's good enough.                      2        Q    All right. How many times have you been
 3             Other than Dr. Cherukupally, have you seen     3   to the ER?
 4   any other person for any psychological conditions?       4        A    I can't say accurately, but maybe twice in
 5        A    Actually, Dr. Clavo, who's on here, I --       5   the past maybe say year.
 6   he kind of had the same kind of conversations that       6        Q    Okay.
 7   Cherukupally had with me and -- how do you say it?       7        A    Maybe twice possibly.
 8   He kind of -- what's the word I'm looking for? He        8        Q    All right. What ER did you go to?
 9   was in agreeance with what she had prescribed, based     9        A    I normally go to -- what's this --
10   off of what he talked about with me.                    10   Crawford Long Emory, yes, sir.
11        Q    Any other doctor, other than that, that       11        Q    And why did you go to the ER in the last
12   you've ever seen for any psychological condition in     12   year?
13   your life?                                              13        A    I actually was having some chest pains
14        A    I actually -- not at this time. I can't       14   during one situation, chest pains, anxiety, which is
15   remember.                                               15   actually what the doctor -- when I just kind of
16        Q    Is there anything I could do to help you      16   started explaining everything to her she said,
17   remember or refresh your recollection?                  17   You're having an anxiety attack.
18        A    No. I -- I'll just say no.                    18        Q    All right. And that was within the last
19        Q    So you can't recall ever seeing anybody       19   year?
20   else for any psychological condition.                   20        A    Yes, sir.
21        A    I cannot.                                     21        Q    All right. Did she prescribe anything for
22        Q    All right. And other than what you just       22   you?
23   described that Dr. Clavo talked to you about, did       23        A    She prescribed a Valium.
24   Dr. Clavo talk to you about any other or treat you      24        Q    One Valium?
25   for any other condition?                                25        A    Well, she gave me -- they gave me that


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 9 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 33                                                      Page 35
 1   there that particular evening, and then she              1   You have to tell me who -- you have to answer my
 2   prescribed me some. I did not fill those.                2   question.
 3        Q    All right. Did you stay overnight in the       3        A    The person -- am I allowed -- can I say --
 4   ER?                                                      4   am I allowed to say a name?
 5        A    Just through the morning. But, yeah, they      5        Q    You're allowed to say -- you're allowed to
 6   didn't keep me in there.                                 6   give a truthful answer to the question.
 7             And, oh, I just don't remember. I              7        A    Oh, okay. Well, a paralegal person.
 8   actually -- I think a year, year and a half, prior       8        Q    Okay. And who is -- what is that person's
 9   they kept me for three days.                             9   name?
10        Q    All right.                                    10        A    Gary.
11        A    I forgot about that. They kept me for         11        Q    What's Gary's last name?
12   three days at Emory, because the cardiologist wanted    12        A    Pernice.
13   to run some extensive stuff on my heart, because I      13        Q    Pernice?
14   was anxiety and having chest pains.                     14        A    P-E-R-N-I-C-E.
15        Q    That was about a year ago, so 2016,           15        Q    All right. And who is Mr. Pernice?
16   roughly?                                                16        A    He's a paralegal --
17        A    It might have been around then.               17        Q    All right.
18        Q    That's your --                                18        A    -- from what I've been told.
19        A    I have no problem -- I can try to find        19        Q    Is he at some law firm?
20   that.                                                   20        A    I do know that -- per what he has told me,
21        Q    But your best estimate was about a year       21   he helps prepare for various attorneys in the
22   ago?                                                    22   Atlanta area.
23        A    Yes, sir, about a year and a half ago,        23        Q    He works on his own?
24   year, year and a half ago.                              24        A    I never asked him. I just know he did
25        Q    Sometime in 2016.                             25   state he works for a lot of attorneys and helps them


                                                   Page 34                                                      Page 36
 1        A    Yes, sir.                                      1   prepare cases.
 2        Q    Any other trips to the ER, the --              2        Q    Okay. How did you come in contact with
 3        A    None that I can think of right now. It's       3   Mr. Pernice?
 4   been a lot.                                              4        A    I was referred to him actually by a lady.
 5        Q    Okay.                                          5   To this day I do not even know the lady. I just
 6             (Exhibit 4 was marked for identification.)     6   kind of met her in passing during all of my
 7   BY MR. STONE:                                            7   bankruptcy stuff. And her, just kind of knowing
 8        Q    Let me show you what's been marked as          8   some of the things that I've been going through with
 9   Exhibit No. 4, if I can, Ms. Stevenson.                  9   trying to get my job and stuff back, she said, I'll
10             (Discussion off the record.)                  10   refer somebody to you that I think can help you, you
11   BY MR. STONE:                                           11   know.
12        Q    And I'm showing you Exhibit No. 4.            12        Q    And that -- and it was Mr. Pernice?
13             And I'm going to ask you, first of all, is    13        A    It was -- she referred me to him.
14   that your responses to Delta's document request in      14        Q    And how many times have you spoken to
15   this case?                                              15   Mr. Pernice about your -- about this case?
16        A    Yes.                                          16        A    I have not counted the times. I've spoken
17        Q    Yes?                                          17   to him on and off quite a few times. We do go
18        A    Yes, sir.                                     18   through periods where -- because he is extremely,
19        Q    Who prepared the Exhibit No. 3, the           19   extremely busy working with your colleagues, he --
20   interrogatory responses, and this Exhibit No. 4 for     20   we may go months, you know, and not talk, and I just
21   you?                                                    21   handle everything myself.
22        A    This one? Who --                              22             So I don't know -- I can't say, oh, I
23        Q    Both 3 and 4, who prepared those?             23   talked to him ten times, because I never count. I
24        A    Am I allowed to? Can --                       24   just -- when I can reach him, I can reach him, or
25        Q    You're not only allowed to, you have to.      25   when he reaches out to me, he'll -- apologizes and


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 10 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 37                                                      Page 39
 1   says, Hey, I've been -- you know, we had a heck of a     1   through with. And I write things up. I actually
 2   case going on. I had to do this; I had to do that.       2   write up, and he'll -- I'll go over it with him, and
 3   He catches me up on everything. And then he'll go,       3   then he may scratch out and say no.
 4   Okay. Where are we? And then we get right to it.         4        Q    Well, for example, this -- you're not an
 5        Q    So he's providing you periodic legal           5   attorney. I assume you don't know how to do general
 6   advice in the case?                                      6   objections to document requests; correct? He gave
 7        A    He can't provide me legal advice because       7   you all this language, correct, on page 1 of
 8   he's not an attorney. But I know he's a paralegal        8   Exhibit 4?
 9   based off what he's -- I'm just stating what he          9        A    That's a fair -- what's the wording I
10   stated to me; that, you know, he's a paralegal, he      10   guess I'm trying --
11   works for various firms in Atlanta, and he assists      11        Q    That's a fair statement?
12   attorneys with gathering information and putting        12        A    That's fair that you said that.
13   cases together. That's what he --                       13        Q    Fair enough.
14        Q    If he's not providing you legal advice,       14             All right. Did Mr. Pernice -- did he
15   why are you talking to him? What is he giving you?      15   write your complaint as well in the case?
16        A    I don't understand that question.             16        A    You mean my initial when I filed it?
17        Q    Sure.                                         17        Q    (No response, indicating.)
18        A    Well --                                       18        A    He didn't write the complaint. I actually
19        Q    What do you all talk about?                   19   wrote the complaint. But I went over everything,
20        A    If I write something up, because I am         20   and it was redrafted, is that correct to say, per
21   pro se, he may correct me and say, That's quite --      21   him.
22   that's not quite how -- that's not the verbiage or      22        Q    Okay. Did he type it up or did you?
23   something like that, because I'm not an attorney.       23        A    How did that go? No, he sent it to me.
24   I, you know --                                          24        Q    All right.
25        Q    So he's giving you advice on the filings      25        A    Yeah. It was --


                                                   Page 38                                                      Page 40
 1   that you're making in the case.                          1        Q    All right.
 2        A    Sometimes if I write something or -- and I     2        A    It was e-mailed, yeah.
 3   run it by him, he'll say, you know, Well, I can't        3        Q    He e-mailed -- he wrote it and e-mailed it
 4   give you legal advice, but no, that's not the            4   to you?
 5   correct thing to say.                                    5        A    I think he either -- to answer it honestly
 6        Q    All right.                                     6   because I -- it was either e-mailed -- I think it
 7        A    Because I don't -- I don't know law like       7   was e-mailed, or did I meet with him and he gave it
 8   that.                                                    8   to me, and it was like I had to go file it.
 9        Q    Have you talked to him more than ten times     9        Q    Got it.
10   about this case?                                        10        A    But answering you honestly, I wrote it up,
11        A    Again, I don't -- I don't think I have.       11   and he went through it and was like --
12   Because, again, we go -- during this whole process,     12        Q    This isn't how you do a complaint. Let me
13   it's been a lot of long periods of time where I have    13   show you how?
14   not talked to him for three months or two months at     14        A    Yes, sir.
15   a time. And I just kind of been feeling my way          15        Q    All right. I'm going to ask you some
16   through, I guess -- what is the word I'm thinking --    16   questions now about documents that you have in your
17   the legal -- well, the information that he's given      17   possession.
18   me, and I just try to word it as best I can, as         18        A    Okay.
19   educational as I can --                                 19        Q    And whether you've given us everything
20        Q    But did he --                                 20   that you have at this point or you still have some
21        A    -- pro se.                                    21   material to give us.
22        Q    He drafted Exhibit No. 4; correct? You        22        A    Yes, sir.
23   didn't draft that.                                      23        Q    So have you given us all of your tax
24        A    I -- well, I gave him the facts. I guess      24   returns?
25   the things that I have been receiving or going          25        A    Did you get the most recent one that I


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 11 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 41                                                      Page 43
 1   filed?                                                   1   you. I have nothing to hide.
 2             I think -- the only one that I think I         2        Q    You've copied that entire folder and given
 3   have not given to you is 2012. And I think I had         3   it to me, yes or no?
 4   e-mailed you -- it's because 2012, my income tax         4        A    Well, there's not nothing to copy. It's
 5   preparer, for some crazy reason, she always -- she       5   just everything that I submit, like to the court or
 6   and he. This is two different people I go between        6   whatever, and everything in discovery, especially
 7   to do my taxes. She -- for some reason, 2012 she         7   the most recent things I've sent to you, that is
 8   ended up leaving Jackson Hewitt at that time, and I      8   all, I think, I have at this point.
 9   never got a copy. She usually likes give me all of       9        Q    Do you have e-mail -- do you keep e-mails?
10   the copy of 2013, 2014, 2015, 2016, like all my         10        A    Yeah, I do. I keep my e-mails sometimes.
11   things that she -- the taxes that she's done.           11        Q    Have you gone through your e-mails to look
12             But that particular one, there was            12   for your communications from Delta at this point, or
13   something to the effect, I no longer am at Jackson      13   you haven't done that yet?
14   Hewitt. You're going to have to just call them.         14        A    I don't think Delta has -- Delta has
15   Some kind of way the software or something that they    15   directly sent me e-mails. Usually Delta just -- you
16   were using on the computer. And because she had         16   all mail stuff to me. It usually has been mailed.
17   left the firm, she never was able to generate that      17        Q    All right. Have you checked to see if you
18   particular one. But she said it was as easy as --       18   have any e-mails from Delta?
19   all I would have had to do is just go to Jackson        19        A    Recently?
20   Hewitt. She said they easily just print it out.         20        Q    At all, any e-mails at all from Delta.
21        Q    But you haven't had a chance to do that       21        A    Since I have not been there.
22   yet?                                                    22        Q    Right, or before that time.
23        A    Yeah. Well, what it is, is I want to          23        A    Yeah. My e-mail -- because I know they
24   say -- I remember her saying, I think, it was -- at     24   can't send me anything, because I don't have a Delta
25   that time we had that conversation, it was a --         25   e-mail -- well, that Delta e-mail. I do have an


                                                   Page 42                                                      Page 44
 1        Q    Stop. I'm not -- I'm asking you a very         1   e-mail, but I don't have that one.
 2   simple question.                                         2             No. I don't think I have e-mail --
 3        A    Oh, okay.                                      3   everything that they've sent me, to my knowledge --
 4        Q    You haven't given us your 2012 return.         4        Q    Listen to my question.
 5        A    No.                                            5             Have you gone and looked through your
 6        Q    Have you gone to Jackson Hewitt to get it      6   e-mails to see if you have any e-mails from Delta?
 7   yet?                                                     7   Have you done that yet?
 8        A    I have not done that.                          8        A    I -- no, because they've never sent me any
 9        Q    Why not?                                       9   e-mails. They send everything by mail, to my
10        A    I just have not gotten it because of all      10   understanding. I've just gotten everything in the
11   the things that I'm dealing with, Ben, a lot. I         11   mail.
12   can't --                                                12        Q    Do you have any e-mails or other documents
13        Q    Do you keep a diary of communications that    13   from the time that you were working at Delta? Have
14   you've had with Delta?                                  14   you retained any of those?
15        A    I do not keep a diary. I just -- when         15        A    Oh, I sent it to you, yeah, I did.
16   they have sent me stuff, or when you sent me stuff,     16             Is that what you're asking me?
17   I just -- well, I don't have a packet like that, but    17        Q    What I'm trying -- here's what I'm trying
18   I have like a folder. I just -- I just put it all       18   to find out, Ms. Stevenson.
19   and just keep it --                                     19             During the time -- you were at Delta for a
20        Q    Have you given us everything that's in        20   number of years.
21   that folder?                                            21        A    Almost ten, yeah.
22        A    Yes. I think I've given you everything in     22        Q    During that time, you would have received
23   there, with the exception of the 2012 ones that I       23   a number of communications from Delta, correct --
24   just have not went to Jackson Hewitt and got. I         24        A    Uh-huh.
25   haven't, what do you call it, kept anything from        25        Q    -- by mail, by e-mail or otherwise;


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 12 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 45                                                      Page 47
 1   correct?                                                 1   that way, and then it will just pop up. And I
 2        A    Uh-huh. Okay. Can I --                         2   just -- I printed out, based off of what I
 3        Q    Listen to my question.                         3   remembered my supervisors forwarded to me at the
 4        A    Okay.                                          4   time, yeah. At the time, I was -- I was getting
 5        Q    Am I correct on that?                          5   awards, and what they call, I guess --
 6        A    Yes.                                           6        Q    I'm not asking you about that. All I
 7        Q    Okay. Do you -- have you gone and done a       7   asked is how you looked for your e-mails.
 8   search at your house for all of the communications       8             So you pulled up your e-mail; correct?
 9   that you've gotten from Delta during your employment     9        A    Yeah.
10   or thereafter? Have you looked for those yet?           10        Q    Did you look at every single e-mail that
11        A    I have looked, and I didn't know that I       11   you had historically?
12   was supposed to be looking like for old e-mails from    12        A    Yes, I did, I did, and those are the ones
13   when I worked there, because I never -- I love my       13   that I could -- that I printed out and gave to you.
14   career so much, I never -- I never anticipated that     14        Q    How did you -- did you look just one by --
15   I wouldn't be able to, you know, like correspond or,    15   obviously, you have e-mails other than from Delta.
16   you know, get e-mails.                                  16             Did you look one by one through your
17             So I wasn't necessarily saving or anything    17   e-mails?
18   like that. Like if something got sent to a personal     18        A    Yes.
19   e-mail per like from my Delta, because I thought I      19             (Comment by Reporter.)
20   would still -- you know, I thought I would still be     20             (Discussion off the record.)
21   working my job.                                         21   BY MR. STONE:
22        Q    I'm asking a really simple question,          22        Q    I'm going to ask you a very specific, very
23   Ms. Stevenson.                                          23   precise question, Ms. Stevenson.
24             You got e-mails; correct?                     24             To look for your e-mails --
25        A    Yes, yes.                                     25        A    Uh-huh.


                                                   Page 46                                                      Page 48
 1        Q    Have you gone and looked for e-mails from      1        Q    -- did you do a word search for all Delta
 2   Delta that you have at any time? Have you done that      2   e-mails?
 3   yet?                                                     3        A    I just did Delta. Like I'll type in
 4        A    No -- well, yes, I have, which are the         4   Delta, and it just -- things would just pop up.
 5   ones that I -- that I had printed out that I             5        Q    What e-mail account did you look at for
 6   actually faxed to you, if that makes sense to you,       6   your Delta e-mails?
 7   what I just said.                                        7        A    My Gmail or my Yahoo --
 8        Q    So you do not have any e-mails from Delta,     8        Q    And what are those two --
 9   other than what you've sent me.                          9        A    -- which I rarely use --
10        A    None that I know of.                          10        Q    -- e-mail addresses?
11        Q    Have you looked for any?                      11        A    It's Q-U-A-N-I-A-H underscore S at Yahoo,
12        A    Well, I have looked through them. And the     12   which I rarely even use. I don't even really use
13   ones that I e-mailed -- the ones that I faxed to        13   that e-mail that much anymore. And then my Gmail,
14   you, are the only ones that -- that I found in my       14   which is the one that I mostly use. It's
15   personal e-mail or my e-mail that I have, which is      15   Quaniah2011 at gmail dot com. That's the one I'm
16   what I printed out, per e-mails that were sent to me    16   usually on.
17   at the time from my supervisors at Delta. And they      17        Q    And you looked at both of those e-mails
18   sent them to me. Then I get them. And I'd print         18   and searched for the word Delta in those e-mails.
19   them out, if I need to print them out, which is what    19        A    Uh-huh.
20   you have. That's all I have.                            20        Q    You have to say yes or no.
21        Q    How did you look for these e-mails?           21        A    Yes.
22        A    How?                                          22        Q    What about hard copy documents that Delta
23        Q    Yeah.                                         23   has mailed to you; have you looked for those yet?
24        A    Well, just going through my -- my             24        A    I e-mailed -- no. I think that I faxed
25   personal -- like if you type in like Delta, yeah,       25   some to you.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 13 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 49                                                      Page 51
 1        Q    That's not my question.                        1   correct?
 2        A    Oh.                                            2        A    The bill -- the bill -- yes, the bill --
 3        Q    Have you looked for all hard copy              3   because of that, that's why I had not been able,
 4   documents that Delta has sent to you at any time?        4   because they lock you out.
 5        A    I have at various times. I have not            5        Q    Have you gone and asked to get in?
 6   lately been able to locate if there are any more at      6        A    They -- Kelley would -- they -- she will
 7   the present time, because I have some things in          7   not -- like until the --
 8   storage that I had not been able to put my hands on.     8        Q    Have you asked her if you can get it?
 9        Q    Where are those documents in storage?          9        A    Oh, well, I had, yes, and it was --
10        A    What Delta has sent me? They -- if            10        Q    When did you ask her to get in?
11   they're there, they would be possibly in a -- maybe     11        A    I spoke with her last week. And it was --
12   one of my book bags or something like that.             12   if the bill is not paid, they don't let anybody in
13        Q    Why have you not looked for those yet?        13   there, unless the bill is paid. That's their
14        A    Because I was not able to pay the bill.       14   policy. If the bill is behind, and the bill is
15        Q    What bill?                                    15   almost -- it was almost three months behind.
16        A    My storage bill and --                        16        Q    So she told you -- you asked her
17        Q    I got you.                                    17   specifically, May I come in, and she said no?
18             So you have documents in storage that you     18        A    Yes, I've asked her, because I even tried
19   cannot access because you haven't paid your storage     19   to see if I could partial pay, and they were, no,
20   bill.                                                   20   they only take full payments. I asked them if they
21        A    Yes, sir.                                     21   could deduct late fees. They said -- everything was
22        Q    What storage location are those at?           22   a no -- was a no, Attorney Stone, they couldn't do
23        A    If they're there -- and you're talking        23   that.
24   about what Delta has mailed to me since the whole       24        Q    How much do you owe?
25   process -- if they're there, it would be Iron Horse,    25        A    How much do I owe on that deal? It's paid


                                                   Page 50                                                      Page 52
 1   which is off of South Cobb Drive.                        1   now.
 2        Q    Let me be clear. I'm talking about all         2        Q    Okay. So you can access it now?
 3   documents that Delta has sent you at any time,           3        A    Yes.
 4   during your employment or thereafter.                    4        Q    When did you pay it?
 5        A    Oh, during my employment. I mean yes.          5        A    Just -- my father actually paid it a day
 6   I'm pretty sure I have my Delta uniforms and all of      6   or so ago, which was not in time enough to get that
 7   that in my storage, my documents, all of that. If        7   information for you, because it just got paid, I
 8   they're there, they would be in storage. They            8   think, a day or two ago.
 9   wouldn't be with me, because I have a lot of things      9        Q    All right.
10   that -- in storage that I had not been able to          10        A    So that's why.
11   access because the bill -- I didn't look for them       11        Q    Do you have any documents in your
12   because the bill was so behind.                         12   possession relating to efforts you made to find a
13             And I had just gotten a call less than a      13   job after you left Delta?
14   week ago about they were trying to auction my stuff     14        A    Do I have any documents --
15   off, so I had to deal with something with that.         15        Q    Uh-huh.
16        Q    All right. What about documents that          16        A    -- of what?
17   you've received or sent -- received from or sent to     17        Q    Efforts you made to find a job after you
18   the EEOC; have you looked for those documents?          18   lost your job at Delta.
19        A    Those too -- some of them, I think, that I    19        A    I don't think I have any documents,
20   have looked for, I think I've sent to you. And then     20   because most things now, the same when I was at the
21   some of them, same thing, would possibly be in one      21   Department of Labor, you have to -- everything is so
22   of my book bags in my storage unit.                     22   online. So to answer honestly, I wasn't keeping
23        Q    All right. And to be clear, while you         23   documents or anything. I just would -- I'm the type
24   have not gone out -- because the bill is behind you     24   of person I'll just go in and, you know, see if an
25   have not gone out to look for those documents;          25   establishment is hiring. And the next thing they


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 14 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 53                                                     Page 55
 1   say is, You got to go online or whatever. So             1        A    Oh, yes, I'm sorry.
 2   everything was kind of done online or by phone           2        Q    Do you have any documents relating to
 3   call --                                                  3   those travel benefits? And I'm talking in the
 4        Q    So you --                                      4   broadest possible way. Any documents relating to
 5        A    -- at that time.                               5   your use of those benefits, your reservations on
 6        Q    And you didn't print out, for instance,        6   DeltaNet, anything, related to your use of travel
 7   any job applications that you made.                      7   benefits?
 8        A    No, I don't -- because everything was like     8        A    I can't answer that question effectively
 9   so electronic, stuff that I had applied for. Like I      9   because Delta has a record of everything I've ever
10   did apply for some stuff over at Southwest. I           10   flown on.
11   applied for some stuff at --                            11        Q    I'm not asking about Delta's records. I'm
12        Q    I asked -- I didn't ask you --                12   asking what you have, Ms. Stevenson.
13        A    Oh.                                           13             Do you have any records?
14        Q    -- those questions, Ms. Stevenson.            14        A    All of my records, I'm saying, would have
15             All I asked you is whether you printed out    15   been within my employee thing, my e-mail or my
16   job applications.                                       16   TravelNet, whenever I would book. I guess when we
17        A    No. I never printed it out. They did          17   get to that part of everything, they have every --
18   give me some responses back, the companies, e-mail,     18   they have my entire record.
19   but I did not print them out. They're just --           19        Q    So you have nothing.
20        Q    They're on your e-mail now?                   20        A    No. I -- again, I wasn't expecting that I
21        A    If I did not erase them, they should be.      21   wouldn't be there so I -- all of my stuff was where
22        Q    Okay. So you've got e-mail -- you've got      22   I could access while I was there. Once I wasn't
23   e-mail responses --                                     23   there, I -- I haven't been able to go in and like
24        A    Yeah.                                         24   look and see. Even with my regular e-mail, like any
25        Q    -- back that are on your e-mail.              25   of my nonrev stuff, because everything to my


                                                   Page 54                                                     Page 56
 1        A    Uh-huh.                                        1   understanding --
 2        Q    You've not printed those out yet and given     2        Q    You've got to stop. Just answer my
 3   those to me.                                             3   question, and then we'll move on. Okay?
 4        A    I've never printed them out.                   4             Next question, do you have any
 5        Q    And you've not --                              5   communications with any of your travel companions
 6        A    I've just --                                   6   about Delta's nonrevenue travel benefits?
 7        Q    You haven't done anything to give them to      7        A    What could you -- what are you asking me
 8   me.                                                      8   questionwise?
 9             (Comment by Reporter.)                         9        Q    Any, for example --
10             (Discussion off the record.)                  10        A    Do I have any communications with what?
11   BY MR. STONE:                                           11        Q    For instance, with Mr. Dais, who was your
12        Q    You have not printed those out yet.           12   travel companion --
13   They're on your e-mail; correct?                        13        A    Yes.
14        A    Yes. They might be on the e-mail, if I        14        Q    -- correct?
15   didn't erase them.                                      15             Do you have any communications with
16        Q    All right. Do you have any documents          16   Mr. Dais about his use of nonrevenue travel
17   relating to your nonrevenue travel benefits at          17   benefits?
18   Delta?                                                  18        A    Now? I'm -- I don't understand the
19        A    Do I have any what? Could you repeat the      19   question. I don't --
20   question.                                               20        Q    Do you have any communications with
21        Q    Sure. During the time that you were at        21   Mr. Dais --
22   Delta you had pass benefits, nonrevenue travel          22        A    Uh-huh.
23   benefits.                                               23        Q    -- about nonrevenue travel benefits?
24        A    Uh-huh.                                       24        A    No.
25        Q    You have to say yes or no?                    25        Q    All right. So, for example, no e-mails or


                                                                         www.GeorgiaReporting.com/Schedule
                                                                                              404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 15 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 57                                                      Page 59
 1   texts where you're making travel reservations for        1   don't -- that's what I'm saying, I don't really
 2   him.                                                     2   understand. I wouldn't have anything now, or even
 3        A    Are you talking when I was employed? I'm       3   then, other than my Delta TravelNet when I would
 4   just -- I'm just trying to understand. Are you           4   book his travel. And say, Hey, you're booked for
 5   talking about when I'm employed?                         5   whatever.
 6        Q    I'm talking about anytime, anywhere,           6        Q    There are no e-mails, for example, where
 7   anyplace. I'm asking whether you have any                7   Mr. Dais says, Can you book some travel for me?
 8   communications.                                          8        A    Within my Delta thing, it would probably
 9        A    I communicated with him when I was -- I'm      9   be -- that's what I'm saying, when I was at work, if
10   saying as far as when I was employed, but not now       10   I was on my e-mail, you know, I would say, Hey,
11   because I'm not employed. So he doesn't nonrev now.     11   you're booked for blah, blah -- blah, blah flight at
12        Q    Did you have any communications with          12   whatever time, but that was within my -- I can't
13   Mr. Dais during the time --                             13   access Delta.
14        A    Yes.                                          14        Q    So you currently have no such
15        Q    -- that you were employed --                  15   communications.
16        A    Yes, when I was --                            16        A    No.
17        Q    -- about nonrevenue travel benefits?          17        Q    All right. And you've looked for them,
18        A    Yes.                                          18   and can't find them.
19        Q    Okay.                                         19        A    Yeah, I -- yeah, I -- I don't -- we don't
20        A    Yes. I -- when I was employed. That's         20   even -- to answer you honestly, we -- after I wasn't
21   what I was trying to understand. When I was             21   there, we don't even discuss nonrev. I mean I --
22   employed. That was my boyfriend so --                   22   yeah. Since I wasn't there, he's not -- he hasn't
23        Q    Do you have e-mails or texts or other         23   traveled nonrev.
24   documents that would reflect those communications?      24        Q    What I'm trying to understand is you have
25        A    Just when I would book his travel for         25   e-mails in your possession that reflect


                                                   Page 58                                                      Page 60
 1   pleasure, which I made that very clear.                  1   communication with Mr. Dais, for example; correct?
 2        Q    You knew the rule was you could only           2        A    Yes, when I was working there.
 3   travel for pleasure. Yes?                                3        Q    Okay.
 4        A    Yes. I'm glad you asked me that. I was         4        A    If you're talking about old stuff like
 5   very clear that it was -- it's always -- when I          5   when I booked him a flight. Is that what you're
 6   booked, I always booked my people, it was always for     6   saying? I mean if I go back to, I guess, when I
 7   pleasure. They --                                        7   first started, it may be an e-mail that shows,
 8        Q    We're going to talk about that.                8   Hey -- where he flew from here to here. But that
 9        A    Oh, okay.                                      9   was like way before any of this.
10        Q    I promise you.                                10             And, to my understanding, when the stuff
11             My question is, do you have in your           11   kind of occurred, it was like -- what I was told in
12   possession any communications with Mr. Dais about       12   a meeting that I wasn't -- didn't have no knowledge
13   travel that you booked for him during the time that     13   of, it was -- I don't -- they didn't want anything
14   you were employed at Delta?                             14   from that far back. So that's why I'm not
15        A    Just when I was there. I guess like -- I      15   understanding. It was like, no, we don't -- don't
16   understand what you're asking me. I'm trying to         16   worry about the stuff from '07, '08. They didn't
17   answer the question effectively and honestly for        17   want that. So I'm not understanding.
18   you.                                                    18        Q    Ms. Stevenson, I'm not -- I haven't asked
19             Yes. I communicated with him when I was       19   you any of those questions.
20   there about the nonrev travel.                          20             What I'm asking you is -- I'm trying to
21        Q    Do you have any of those communications?      21   figure out what documents you currently have today
22   Do you have any e-mails? Do you have any texts?         22   in your possession.
23        A    Oh, no, none that -- none that I can --       23        A    Yeah, I -- that's what I'm saying. I
24   not now. I don't think I have anything -- there's       24   don't -- you're saying nonrev. I guess where I'm
25   no -- I've changed phones. He's changed -- like I       25   getting confused, I don't work at Delta anymore, so


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 16 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 61                                                      Page 63
 1   I didn't keep any of me and his communication.           1   I'll give you where I stay sometimes.
 2        Q    All right. So there's none on your             2        Q    Okay.
 3   personal e-mail.                                         3        A    It's 1744 -- oh, gosh, I just went blank.
 4        A    None that I know of, other than past stuff     4   1744 Cambridge Avenue. And that's Atlanta, 30337.
 5   where I would book it, and it might have come back       5        Q    All right.
 6   to me and say, Hey, you know, Mr. Dais is booked for     6        A    Yeah.
 7   whatever whatever.                                       7        Q    And who owns that place?
 8             But usually, a lot of times, I would           8        A    I don't know the owner. A friend of mine
 9   just -- you know, just -- how it's a part where you      9   just -- it's their place, and they just kind of
10   could send an e-mail, you know, send the person's       10   allow me to be there.
11   reservation. And I sometimes would just send it to      11        Q    Okay. So have you a friend who's leasing
12   him, meaning I wouldn't even seen it to my own, even    12   it?
13   though I could. I just would send it to him and         13        A    Yes, yeah, they -- they lease it and --
14   say, Here's your reservation.                           14   yeah. They know the owner or something. I don't
15        Q    I haven't -- again, Ms. Stevenson, this --    15   know because, I'll be honest, I don't ask him their
16   I promise you this is --                                16   business. He just has allowed me to --
17        A    Maybe I'm not understanding.                  17        Q    Who's that friend?
18        Q    Yeah, this is going to go a lot faster.       18        A    Mark Brown.
19             I'm asking a very simple question.            19        Q    All right. When was the last time you had
20        A    Uh-huh.                                       20   a permanent address?
21        Q    I'm trying to figure out --                   21        A    About, what, four or five -- about four
22        A    No. I don't have anything now.                22   months ago. About four months ago. I can give you
23        Q    And have you looked in your personal          23   that address.
24   e-mails to see if you do?                               24        Q    What is that?
25        A    I haven't looked lately, but I looked back    25        A    211 Crestridge Drive. And that's Atlanta,


                                                   Page 62                                                      Page 64
 1   then. I didn't see anything.                             1   30344.
 2        Q    Back then, before you left Delta, that's       2        Q    Okay.
 3   when you last looked.                                    3        A    That's who was -- someone else's, but I
 4        A    Yeah, or even right after I wasn't there.      4   was an occupant on there. They -- yeah.
 5   But I didn't -- like I said, there was nothing --        5        Q    Okay. Were you leasing it, or you just
 6   nothing there. He didn't -- he couldn't fly -- we        6   were staying there for free?
 7   didn't fly anymore.                                      7        A    I was evicted.
 8        Q    Do you have any documents in your              8        Q    Were you leasing it?
 9   possession that relate to jobs that you've held          9        A    Yes.
10   since Delta? For example, pay stubs from those          10        Q    Okay.
11   employers or --                                         11        A    Couldn't pay the rent.
12        A    Do I have pay stubs --                        12        Q    And who were you leasing it from?
13        Q    (No response, indicating.)                    13        A    The name of the place is called Landmark.
14        A    -- from other jobs.                           14        Q    Okay. All right. And how long were you
15        Q    (No response, indicating.)                    15   there?
16        A    I have -- well, now, now I do.                16        A    Just -- was it -- right at a year and --
17        Q    Okay. And you've not given me those;          17   yeah, that last month was -- couldn't make the rent.
18   correct?                                                18        Q    All right. And why don't we go back one
19        A    Well, I'm newly -- like when you say --       19   further.
20   no, I haven't -- I haven't given -- given them to       20             Where were you living before there?
21   you.                                                    21        A    That was when I was still working, 3871
22        Q    All right.                                    22   Red Wine, just like the color and the wine, Red Wine
23        A    No. I didn't know if you needed those.        23   Road. And it's Atlanta, 30344.
24        Q    All right. Give me your current address.      24        Q    And how long were you there?
25        A    I'm kind of in between. I'm homeless, and     25        A    I think probably two or two and a half


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 17 of 87


                                                  Page 65                                                      Page 67
 1   years, probably almost maybe three, but two and a       1        A    N-I-N-A, the number 9, L-U-C-K-Y.
 2   half is -- yeah.                                        2        Q    Nina9Lucky?
 3        Q    And what's your date of birth?                3        A    Yes.
 4        A              .                                   4        Q    All right. And are you on Snapchat?
 5        Q    Okay. All right. You've mentioned that        5        A    I'll be honest, I am on there, but I
 6   you changed cell phones. You told me that you           6   haven't been on there probably -- I don't know the
 7   changed cell phones since the time you were at          7   last time. I don't even -- I don't use it. I set
 8   Delta; is that correct?                                 8   up an account. I think I've been on there once. I
 9        A    Yes. I've -- yeah. I don't have the same      9   don't understand Snapchat. I leave that to the
10   one, yeah, that I had when I was working there.        10   younger kids.
11        Q    Do you have the same phone number?           11             MR. STONE: Let's take a break for a few
12        A    Yeah, yes. I've had the same number for      12        minutes.
13   probably 15 years.                                     13             (Brief break.)
14        Q    All right. And what's your cell phone        14             (Exhibit 5 was marked for identification.)
15   number?                                                15   BY MR. STONE:
16        A              2878.                              16        Q    Ms. Stevenson, you know you're still under
17        Q    All right. And you told me you've never      17   oath; correct?
18   been married --                                        18        A    Yes.
19        A    No.                                          19        Q    All right. You were hired by Delta in, if
20        Q    -- correct?                                  20   I'm right, August of 2007; correct?
21        A    No.                                          21        A    Actually, I was hired in May. But what
22        Q    Do you have kids?                            22   they ended up doing, they hired me as seasonal, and
23        A    Unfortunately, not yet.                      23   then they changed us from seasonal to ready reserve.
24        Q    Okay. And you've got a high school           24   And changed all the people that started with me to
25   degree; correct?                                       25   August 1st.


                                                  Page 66                                                      Page 68
 1        A    Yes.                                          1       Q     So you -- so your date of employment --
 2        Q    From Parker?                                  2       A     '07.
 3        A    Parker High School.                           3             (Comment by Reporter.)
 4        Q    And you went -- you did some college at       4             (Discussion off the record.)
 5   Stillman; correct?                                      5   BY MR. STONE:
 6        A    I graduated from Stillman. And I did          6        Q    I put in front of you what's been marked
 7   college at University of Alabama, Roll Tide.            7   as Exhibit No. 5.
 8        Q    Okay.                                         8             You recognize that as your Delta
 9        A    I did five years in undergrad.                9   employment application; correct?
10        Q    Okay. What's your degree in?                 10        A    Yes.
11        A    It actually is interdisciplinary in          11        Q    All right. And if you would take a moment
12   biology slash premed.                                  12   to look at Exhibit 5. But, in particular, I want to
13        Q    Okay. And I know you're fairly active on     13   take you to page 4 of Exhibit No. 5.
14   social media; correct?                                 14        A    Okay.
15        A    Uh-huh.                                      15        Q    All right. And on page 4 of Exhibit
16        Q    You're on Facebook?                          16   No. 5, you are reporting to Delta your job history
17        A    Yes.                                         17   for the last ten years; correct?
18        Q    And what's your user ID?                     18        A    Uh-huh.
19        A    It's just my name, Quaniah Stevenson. You    19        Q    You have to say yes.
20   can type in my name, and it's on there.                20        A    Oh, yes, I'm sorry.
21        Q    What about Instagram?                        21        Q    All right. And I want to ask you, first
22        A    I am on Instagram. Usually what I put on     22   of all, is that an accurate recount of your past
23   Instagram --                                           23   employment history?
24             You need that?                               24        A    Is it correct?
25        Q    Yes?                                         25        Q    Yes.
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 18 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 69                                                      Page 71
 1        A    This is not every job. But the ten-year        1        A    I did a complete history within the ten
 2   period is accurate -- is accurate on what I worked       2   year, because all these years fell with what I had
 3   during that time. I've worked other places. But          3   actually worked in that time period.
 4   that was accurate at the time.                           4        Q    Ms. Stevenson, that makes no sense.
 5        Q    Let me make sure I understand what you're      5        A    I don't think that's a fair question.
 6   saying.                                                  6        Q    Did you work somewhere else between 1997
 7             If you look at page -- the last page of        7   and 2007 other than --
 8   Exhibit 5, you'll see that you filled this               8        A    These are the places that I did work --
 9   application out on -- in April of 2007; correct?         9        Q    Did you --
10        A    Yes, sir.                                     10        A    -- Mr. Stone.
11        Q    All right. And you will -- on your            11        Q    -- work anyplace else?
12   employment history section were listing your            12        A    I did work other places, but that did not
13   employers for the last ten years before April of        13   fall within this, to my understanding. I put
14   2007; correct?                                          14   everything that fell within that ten-year period.
15        A    Uh-huh, uh-huh.                               15        Q    Between 1997 and 2007, where did you work,
16        Q    You have to say yes or no.                    16   other than the four locations listed here?
17        A    Yes.                                          17        A    Again, this is -- this is -- I put what
18        Q    All right. Is that a complete history of      18   was accurate at the time. I was very honest and
19   your employment for the ten years that precedes         19   clear at the time with what I put here.
20   April of 2007?                                          20        Q    Ms. Stevenson, a moment ago I asked you,
21        A    Yes, that is accurate.                        21   did you work anywhere else, other than these four
22        Q    So this is every place that you worked in     22   locations, between 1997 and 2007, and you answered
23   the ten-year period before you applied to Delta.        23   yes.
24        A    Yes.                                          24        A    Yes, I said I did.
25        Q    All right.                                    25        Q    Where else?


                                                   Page 70                                                      Page 72
 1        A    It should be, yes.                             1        A    Oh, you just want to know where else I
 2        Q    Well, it should be doesn't help me,            2   worked. Okay. I'm sorry. Because I don't -- okay.
 3   Ms. Stevenson.                                           3   I've worked at Southwest before.
 4             Is it or is it not?                            4        Q    When did you work at Southwest?
 5        A    Yes.                                           5        A    I do not know or remember -- that was so
 6        Q    All right. So you didn't work anywhere         6   long ago. I don't -- I don't know.
 7   else between 1997 and 2007 when you filled this          7        Q    Was it between 1997 and 2007?
 8   application out.                                         8        A    I don't -- I really don't -- I'm being --
 9        A    As I stated, I put it within the years         9   I don't remember that part.
10   that I worked there. I said I have worked other         10        Q    Where else --
11   places, I have.                                         11        A    I did work there.
12        Q    Between --                                    12        Q    -- did you work between 1997 and 2007,
13        A    But that didn't apply to -- I don't think     13   other than the four locations listed on your
14   it applied to here, during the --                       14   employment application?
15        Q    Ms. Stevenson, listen to my question.         15        A    Greater Atlanta Women's Healthcare. That
16        A    Uh-huh.                                       16   would be it. Those are the only two places.
17        Q    Between 1997 and 2007, did you work           17        Q    So other than the four locations on your
18   anyplace other than the four employers listed on        18   employment application, Southwest and Greater
19   page 4 of Exhibit No. 5?                                19   Atlanta, there's nowhere else that you worked
20        A    Yes, yes.                                     20   between '97 and 2007.
21        Q    So this is not a complete history of your     21        A    None that I can recall, no, not at this --
22   employment between 1997 and 2007.                       22   this time.
23        A    No, that's not a complete history.            23        Q    When did you work at Greater Atlanta
24        Q    You see at the very top where it asks you     24   Women's Center?
25   to provide a complete history on Line 1?                25        A    I do not know the -- the year, I don't.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 19 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 73                                                      Page 75
 1        Q    Give me your best estimate.                    1   decided -- at the time, I was thinking about -- I
 2        A    It might have been before '97. It might        2   was torn between the airline industry or go be an ER
 3   have -- maybe a little bit before or right after.        3   doctor you know, or musician. It was a lot of
 4   I'm not accurate on that.                                4   things. I was younger. So I was just trying to
 5        Q    Okay. And give me your best estimate as        5   figure out what I wanted to do then so --
 6   to when you worked at Southwest.                         6        Q    Did you leave --
 7        A    It was maybe right around the time that I      7        A    -- I resigned. I just resigned. I just
 8   have the at home. But, again, I'm not accurate on        8   decided to -- I just decided to --
 9   that --                                                  9        Q    Yeah. Did you have any discipline at
10        Q    Okay.                                         10   Greater Atlanta Women's Center?
11        A    -- because I didn't -- I didn't stay long     11        A    No, I did not.
12   any -- myself anyway. I didn't -- I didn't want to      12        Q    Did you resign because you had another
13   work there. I resigned, so I -- I don't remember.       13   job?
14        Q    So in -- so it was approximately '97          14        A    I did. Which job was it? I did. I left
15   or '98 when you worked at Southwest, same time you      15   there, and I just got more into the things that I
16   were working --                                         16   work -- was happier doing.
17        A    It might have been around that time.          17        Q    What job did you have that you resigned
18   Again, I --                                             18   for, Ms. Stevenson?
19        Q    All right. And you resigned from              19        A    I -- to answer you honestly, I don't know
20   Southwest?                                              20   what my transition was from there to here. Because,
21        A    Uh-huh.                                       21   at that time in my life, I was searching. I was
22        Q    Yes? You have to say yes or no.               22   working promotional jobs. I was way younger. I was
23        A    Yes, I did.                                   23   in my 20s, so I -- I was all over the place doing
24        Q    Did you do so under threat of termination?    24   what 20 year olds do. So, I'll be honest, I just --
25        A    Absolutely not. They did not want me to       25   I was working odd jobs, promo jobs. I was just


                                                   Page 74                                                      Page 76
 1   leave. I -- I did not -- I did not want to live          1   doing a lot of different things at that time.
 2   where I was based to. I felt that I was in a very        2        Q    So you worked a lot of other jobs, other
 3   unsafe situation. So I just --                           3   than these four.
 4        Q    Where were you living?                         4        A    No, no, no, it wasn't a lot of -- it was
 5        A    I resigned.                                    5   more so -- like I said, it was promo stuff. But I
 6             I was in Chicago, and the neighborhood was     6   was all over the place, as far as I didn't know
 7   just not safe, so I --                                   7   which way I wanted to go. So I can't say where I
 8        Q    And if I review your Southwest                 8   went after that. I just knew at that time I was no
 9   application --                                           9   longer seeking to be a doctor. And I kind of had my
10        A    I resigned.                                   10   eyes set on Delta. And I just kind of did whatever
11        Q    -- will it reflect --                         11   I needed to do until Delta was what was in my heart.
12             You've got to let me finish my question.      12   And I -- that's what it was.
13        A    Uh-huh.                                       13        Q    Did you leave that job to take a job at
14        Q    If I review your Southwest application,       14   Delta?
15   will it reflect any discipline?                         15        A    No. Where did I come from? I think I was
16        A    Absolutely not.                               16   doing -- what was I doing? I don't know what I was
17        Q    And it will not reflect that you were         17   doing before that.
18   under threat of termination.                            18        Q    You worked --
19        A    It will absolutely not. It is a clear         19        A    I was working in promos, office, an
20   resign.                                                 20   office. I was just doing something, an office type
21        Q    Why did you leave the Greater Atlanta         21   situation.
22   Women's Center?                                         22        Q    Your job application reflects that from
23        A    Oh, better -- I just started getting          23   January of 1998 to May of 2002 you worked for
24   better situations of more money and just trying to      24   Another Dais Productions; is that correct?
25   maneuver myself into better situations. And I           25        A    Yes.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 20 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 77                                                      Page 79
 1        Q    And that's a music production company          1        A    We started dating '01, the end of '01.
 2   owned by Jovan Dais; correct?                            2   The reason I know that is because -- yeah.
 3        A    Yes.                                           3        Q    And when did you stop dating?
 4        Q    And Mr. Dais was your boyfriend; correct?      4        A    We still talk, but we're not -- you know,
 5        A    Uh-huh.                                        5   we still --
 6        Q    You have to say yes.                           6        Q    When did you stop dating? When did you
 7        A    Oh, I'm sorry, yes.                            7   stop having a romantic relationship with him?
 8        Q    All right. And your application reflects,      8        A    We still talk though.
 9   you'll see on the far right-hand side, that you --       9        Q    When did you stop a romantic relationship
10   at the time you were applying for Delta you were        10   with him?
11   still doing occasional work for Another Dais?           11        A    It's been ongoing. I mean --
12        A    Yeah, yeah, I think.                          12        Q    So he's still your boyfriend.
13        Q    And how long did you continue doing           13        A    We still talk, but I -- you know, I --
14   occasional work for Another Dais Productions?           14   that's kind of -- we date every now and then.
15        A    That was ongoing, because that was my         15        Q    Okay.
16   significant person.                                     16        A    But there is not a, you know --
17        Q    So that was throughout your employment at     17        Q    You're still dating Mr. Dais.
18   Delta?                                                  18        A    We still see each other from time to time.
19        A    Yeah. Well, not throughout my employment.     19        Q    Okay. But you are not --
20   Because as we got more serious, I didn't have to        20        A    We don't have any --
21   necessarily -- you know, the work just went to          21        Q    You're not in any --
22   another person so --                                    22        A    Yes, we're not the way we were.
23        Q    When did you stop doing work for Another      23        Q    When did you stop being the way you were?
24   Dais Productions, if ever?                              24        A    Maybe really, really like that -- I don't
25        A    I never -- at that point, if I'm at Delta,    25   know. Maybe about a year, a year ago.


                                                   Page 78                                                      Page 80
 1   and he was my boyfriend, I wasn't -- I don't know        1        Q    Okay.
 2   what year. I just -- it just went more personal. I       2        A    Maybe about a year ago, yeah. It wasn't
 3   didn't -- there was no -- I wasn't -- I don't know a     3   that serious.
 4   year to say, hey, it was this year when I stopped.       4        Q    Okay. And am I correct that Another Dais
 5        Q    Give me your best estimate. We know it         5   Productions where you worked is a music production
 6   was after 2007; correct?                                 6   company?
 7        A    Yeah. I mean -- yeah, exactly. I mean --       7        A    I don't want to speak, I guess, for him.
 8   I don't know. '08 or -- '08. You could say '08, I        8   I'm trying -- yeah, they -- music production,
 9   guess.                                                   9   management, production management.
10        Q    Well, you tell --                             10        Q    And it focuses on the rap music world?
11        A    He was my boyfriend so --                     11        A    Actually a variety. It's not just rap.
12        Q    It's your testimony.                          12   It's a variety.
13             How long did you continue to do occasional    13        Q    Is the company owned solely by Mr. Dais?
14   work, to the best of your recollection?                 14        A    Yes.
15        A    Oh, I don't think I was working anymore       15        Q    All right. And how long has he had the
16   when he was my boyfriend, so I -- I just wasn't         16   company?
17   around it, if that -- I was around it.                  17        A    To answer accurately, I've never asked
18        Q    What years was Mr. Dais your boyfriend?       18   him. I just know that he's -- yeah, many years. I
19        A    Oh, gosh, probably -- am I supposed to        19   definitely would say more than ten years.
20   answer -- I'm saying is that -- do I -- I'm saying      20        Q    Did he have it when you guys started
21   is that personal? I mean I don't -- I've never done     21   dating in 2001?
22   a deposition, so I don't know. Am I supposed to         22        A    Yes, yeah, his company, yeah.
23   answer that?                                            23        Q    All right. And when you were working for
24        Q    You need to answer my questions,              24   Another Dais Productions, what were you doing for
25   Ms. Stevenson.                                          25   them?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 21 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 81                                                      Page 83
 1        A    I was -- I was the -- actually, it was         1        A    B-R-A-T-T-O-N.
 2   two -- I actually -- I'm a vocalist so I did a lot       2        Q    All right. Who else?
 3   of background recording, some touring. And I did --      3        A    Rodney Turner. He's one of the management
 4   I got moved into -- they thought I would be better       4   people. Who else? Asia, but I don't know her last
 5   at what I'm really good at, which is the marketing       5   name. I just know that they -- this girl does a lot
 6   department and promotions. So I used to like             6   of work for him. Her first name definitely is Asia,
 7   advertise. And I was really good with branding.          7   as in A-S-I-A, yeah, Asia. Who else? Oh, Moore,
 8        Q    Okay. Do you -- Mr. Dais is still              8   Marquis Moore. That's one of his -- he's been there
 9   operating his production company; correct?               9   for years, Marquis Moore, just like it sounds. I
10        A    Yes, sir.                                     10   can't think of anybody else I know over there.
11        Q    And does he have employees?                   11        Q    All right. Looking at your employment
12        A    Yes, yes, yeah, I guess it would be           12   application again at page 4, it looks like you were
13   artists you would call the people that he works         13   working at a place called Castle Rock at the time
14   with. He does.                                          14   you applied for Delta; is that right?
15        Q    Are you doing work for them now?              15        A    Oh, yes, yes, yes.
16        A    No, I'm not, I'm not.                         16        Q    What did you do for Castle Rock?
17        Q    When was the last time you did work for       17        A    It was -- he's a developer around -- a
18   them?                                                   18   developer, a builder. And so, basically, it was
19        A    Well, like I said, I really haven't in        19   same thing. He had me doing -- I'm really good at
20   years, because we were -- we just kind of friends,      20   branding, marketing, advertising, promo.
21   so I don't --                                           21             And, also, like when he would sell houses
22        Q    How many employees does Mr. Dais have?        22   or his property, he would -- like if you closed on
23        A    I could ask him. I do not know because        23   something or whatever, I'd get a -- he'd work out --
24   that -- that business fluctuates.                       24   I'd get a percentage or something. If he closed on
25        Q    Do you know if he has more than five          25   the situation, I would get something for helping him


                                                   Page 82                                                      Page 84
 1   employees?                                               1   out, helping him close the deal or whatever. I
 2        A    He might have five to eight. And then it       2   guess that's what you would call it.
 3   could fluctuate, and he may have three.                  3        Q    Were you working for him on a salary
 4        Q    Does Mr. Dais have any business other than     4   basis? Were you working for him on a project basis?
 5   his Another Dais Productions business?                   5        A    Kind of a little bit of both. It was kind
 6        A    What other businesses does he have? None       6   of like a little bit of both.
 7   that -- what else -- well, I mean I know he -- he's      7        Q    Okay. All right. Media Star, what was
 8   carpentry, he's a builder. I mean I don't know any       8   Media Star?
 9   name or anything. I've never asked him. But I know       9        A    Same thing, branding, marketing and
10   he knows how to build, like build stuff.                10   promotion.
11        Q    Has he ever been in business as a             11        Q    What kind of company is Media Star?
12   carpenter?                                              12        A    Media Star, basically they were over a lot
13        A    No, that part I do know, no.                  13   of the club life in Atlanta. At the time, Atlanta
14        Q    All right. Do you know anybody who is         14   was like a hot, hot spot. So it was a lot of
15   currently working for Mr. Dais?                         15   promotions for liquor, cigarettes, both of the
16        A    No.                                           16   things that I never have -- do. But it was liquor.
17        Q    Do you know anybody who has ever worked       17   It was cigarette branding. It was club party promos
18   for Mr. Dais?                                           18   for a lot of the hot celebrities at that time.
19        A    Yeah. I mean I know -- we have a couple       19        Q    Do you -- was Media Star, was that a
20   of mutual friends that I know that has worked in        20   full-time job or was that a part-time job?
21   partner with him.                                       21        A    It was kind of part time. But as much as
22        Q    Who are those?                                22   I worked, I really want to say full time. Part
23        A    Dunn Bratton, a guy named Dunn Bratton has    23   time. You can say part time.
24   worked for him before.                                  24        Q    How many hours a week were you working?
25        Q    Spell Bratton?                                25        A    It was kind of like a Thursday -- a


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 22 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 85                                                      Page 87
 1   Thursday through Sunday. Those were the hot nights.      1   termination as July 29, 2015.
 2   Thursday, Friday, Saturday, maybe Sunday, depending      2             Was that --
 3   on the celebrities, Lil' Kim or somebody, Jay-Z come     3        A    It was actually July 28th.
 4   through, yeah.                                           4        Q    All right. So you, I take it, were
 5        Q    How many hours a week were you working?        5   generally familiar, because you were at Delta for a
 6        A    Probably -- I think I remember my checks       6   number of years, with Delta's policies; correct?
 7   being like -- they ran from 30 to 32 maybe.              7        A    Uh-huh.
 8        Q    What about for Castle Rock; was that a         8        Q    You have to say yes or no.
 9   full-time or part-time job?                              9        A    Yes.
10        A    That was really just kind of -- it was        10             (Exhibit 6 was marked for identification.)
11   full time. But he's the owner, so he would -- like      11   BY MR. STONE:
12   this is the -- like this isn't like a -- he made        12        Q    You are familiar with what I've shown as
13   the -- it's like what -- he made the decision. So       13   Exhibit No. 6, which is, The Way We Fly at Delta;
14   it was like him and his partner, like they owned        14   correct?
15   everything so --                                        15        A    That was so long ago when I started.
16        Q    Was it a full-time or part-time job?          16        Q    Sure. Take your time.
17        A    At the time it was more full time. It was     17        A    Is this what they gave me? I'll be
18   more full -- because he had me doing a lot of stuff.    18   accurate. I don't -- well, if this is the one that
19        Q    How many hours a week were you working?       19   I had when I started, then it should be. I just
20        A    32 maybe, yeah, 32.                           20   know they made a lot of changes. I still have a lot
21        Q    And tell me, again, how he paid you.          21   of close friends there. So I don't know if they
22        A    He would -- cash.                             22   changed anything because I didn't ask but --
23        Q    Paid you cash under the table?                23        Q    As you look at Exhibit No. 6, it looks
24        A    Yeah. He would give me cash, yeah.            24   generally familiar as Delta's policies, correct, The
25        Q    How much total did you make from him; do      25   Way We Fly?


                                                   Page 86                                                      Page 88
 1   you know?                                                1       A     Uh-huh.
 2        A    For the year?                                  2       Q     Yes?
 3        Q    (No response, indicating.)                     3       A     Uh-huh.
 4        A    Maybe right at what I put there or             4       Q     You have to say yes or no.
 5   sometimes a little less, depending on his mood.          5       A     Oh, yes, I'm sorry.
 6        Q    Okay.                                          6       Q     Okay. Fair enough.
 7        A    He was -- he was the head -- he was the        7             And, in any event, you knew how to access
 8   CEO. So in account of what he said went.                 8   Delta's policies online, if you needed to get to
 9        Q    So let's go back to Delta for -- your          9   them; correct?
10   Delta employment for a moment.                          10        A    Uh-huh. Yes, sir.
11             You said you got hired as seasonal, ready     11        Q    Okay.
12   reserve in May and then --                              12        A    Yes, sir.
13        A    Seasonal went from May to -- yeah, to         13        Q    All right. You knew, for example, if you
14   July. And then they had started sending us letters      14   turn to page 10 of Exhibit No. 6 -- I'm sorry.
15   and calling us in. Hey, you want to -- do you want      15        A    Here?
16   to move into something else? Of course I did. And,      16        Q    Yes, page 10.
17   I'm sorry, I get really giddy when I talk about it.     17             You knew that Delta had a professionalism
18   That was a good time for me because -- yeah. And I      18   and respect policy --
19   wanted to be full time with Delta, so yeah.             19        A    Oh, 10.
20        Q    And you were at Delta, you said, for a        20        Q    -- correct?
21   number of years; correct?                               21        A    I'm on 6. I'm sorry.
22        A    Yes.                                          22             Yes. Okay. Now what now?
23        Q    Through 2015; correct?                        23        Q    That Delta had a professionalism and
24        A    Yes.                                          24   respect policy.
25        Q    All right. I have your date of                25        A    Yes.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 23 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 89                                                      Page 91
 1        Q    You were aware of that; correct? And --        1        A    Oh, yes, yes. Okay. Yeah. Okay. I
 2        A    Yes.                                           2   didn't -- yeah. Okay. I see I put that, in the
 3        Q    All right. And you were aware on page 11       3   words of Carole. Okay. I didn't put her last name
 4   they had an open door policy; correct? That was          4   down.
 5   well known at Delta?                                     5        Q    All right. And you received the e-mail,
 6        A    Yes.                                           6   at the top of Exhibit No. 6, back in response to
 7        Q    All right. And you were aware, for             7   your accommodation request; is that right?
 8   example, that Delta, on page 13, had policies on,        8        A    Oh, this right here?
 9   for example, accommodation; correct?                     9        Q    Yes.
10        A    Yes.                                          10        A    Is this per Kiha?
11        Q    All right. And my understanding is is         11        Q    Yes.
12   that you, on occasion -- on occasion requested an       12        A    Uh-huh.
13   accommodation at Delta; correct?                        13        Q    That was the response you received back;
14        A    Per the advisement of my performance          14   correct?
15   leader Carole --                                        15        A    Uh-huh.
16        Q    Carole Kerr?                                  16        Q    Yes?
17        A    -- Kerr at the time.                          17        A    Yes.
18        Q    Sure.                                         18        Q    And you were -- if I'm correct, you were
19        A    I did not -- at that time, I was going        19   seeking a schedule change as an accommodation, a
20   through so much I had gotten a --                       20   less than 30 days schedule change, which is why Kiha
21             Oh, yeah, I remember. I do remember this.     21   sent you that e-mail back at the top of Exhibit 6;
22             (Exhibit 7 was marked for identification.)    22   correct?
23   BY MR. STONE:                                           23        A    Uh-huh.
24        Q    I just showed you Exhibit No. 7. That's       24        Q    Yes?
25   your accommodation request; correct?                    25        A    Yes. I was seeking two things at the


                                                   Page 90                                                      Page 92
 1        A    Yeah. That's why I said, per the request       1   time. I was seeking the schedule change.
 2   of my -- yeah, my performance leader at the time.        2             But I also, Ben, was trying to -- I had
 3   Because I had not at that time -- because this is        3   also seeked -- and I'm pretty sure Sheandra knows
 4   immediate. I didn't -- I didn't know about this. I       4   about this, how you can -- I was seeking a lateral
 5   didn't remember.                                         5   move as well. I don't know if that's later on. But
 6             So after I lost -- had a significant           6   I was seeking a lateral move of which to get off of
 7   family death, had went in and talked. And it was,        7   International because I knew of everything -- you
 8   Hey, you need to go see such and such. I'll tell         8   know, how much more stressful International was
 9   you what you need to say, which is dah, dah. You         9   because you just deal with more there with the
10   need to get -- and ask for accommodation because,       10   passports and everything.
11   you know, I see you going through a lot, which is       11             So I was seeing a lateral move to go back
12   what I did.                                             12   to Domestic for a slower pace. And I actually was
13        Q    And you were having some car problems too,    13   granted that -- that lateral move -- I was granted
14   it looks like as well, on top of that; correct?         14   the lateral move. Everybody started coming
15        A    I was having -- can I --                      15   congratulating me. My name was there. And then
16        Q    Yeah, please do. You can start -- I'm         16   maybe roughly about ten days, nine days later, I was
17   really going to focus on that and that part of          17   told that it had gotten awarded to someone else. I
18   Exhibit No. 7.                                          18   forgot the male counterpart's name. I could get his
19        A    Oh, she asked me if I was there. Uh-huh.      19   name. I know -- but it was given to someone else.
20        Q    Yes?                                          20             And then I was told it wasn't supposed to
21        A    Yes, sir.                                     21   have been taken from me. I didn't make a fuss about
22        Q    That was your -- that's your accommodation    22   it then. I just said, okay, I'll stay where I was,
23   request that you made at Delta; correct?                23   once I had got the call that I was to stay where I
24        A    Uh-huh.                                       24   was at. And then soon after all of the other little
25        Q    You have to say yes.                          25   stuff kind of started coming and everything else.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 24 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 93                                                      Page 95
 1        Q    Let me make sure I understand what you're      1   time that I did it. But it would have -- it would
 2   saying.                                                  2   have fallen right around like when -- like the every
 3             So in this e-mail, it looks like we're         3   six month thing that we get to do.
 4   talking about your request for a shift change;           4        Q    Do you remember if it was 2014, 2015,
 5   correct?                                                 5   remember the year even, or you can't remember?
 6        A    Well, it was --                                6        A    It might have been -- it might have
 7        Q    Temporary, 30 days.                            7   been --
 8        A    Yeah, it was kind of -- yeah, yeah, yeah,      8        Q    2015?
 9   a shift change more so for, you know, later time and     9        A    -- right around 2015. No, it might have
10   account of the -- yeah, shift change.                   10   been 2014 --
11        Q    To address your car situation; correct?       11        Q    Right.
12        A    Yes, just -- that and along with I was        12        A    -- right around in there where I was
13   dealing with grief.                                     13   trying to get off of -- like I said, trying to get
14        Q    Because your mother had died --               14   off of International. It might have -- I'll be
15        A    No.                                           15   accurate, I don't -- it might have been 2014. But I
16        Q    -- or was sick?                               16   was trying to get off of International.
17        A    It was actually -- it was my aunt that had    17             Because I knew just when I had worked at
18   died. But my mother was kind of going through some      18   Domestic, when we're waiting to get badges, the pace
19   things as well, some stuff I had talked over with       19   of it was -- I knew it would work better for my
20   Carole, and I -- they had referred me -- let me see.    20   mental state and everything else. So that's why I
21   I had got --                                            21   went to do the lateral move and try to get it. I
22        Q    Well, let me stop you there.                  22   was awarded it, and then it was taken right -- taken
23        A    Oh, okay.                                     23   back from me.
24        Q    But you got that shift change is what I       24        Q    And you don't know why it was taken back
25   was trying to ask. They granted you the shift           25   from you?


                                                   Page 94                                                      Page 96
 1   change, according to your complaint; correct?            1        A    I was told someone else had put in before
 2        A    Yeah. Well, they didn't actually grant         2   me -- and, again, this is just speculation. I'm
 3   the -- necessarily the shift change. I wasn't            3   just telling you what I was told. That someone had
 4   necessarily granted that. It was just more so I          4   put in before me that were more senior to me, and
 5   talked it over with Carole at the -- you know, at        5   that's why it was taken from me.
 6   the time.                                                6             But then -- then I was told I was -- that
 7             And it was understood that normal -- the       7   I should have been allowed to still make the lateral
 8   normal time that in the system that it showed that I     8   move, because of the time gap that I was told was
 9   would have normally -- people would have -- you          9   not -- didn't fall in within the compliance of like,
10   would have seen me in the briefing, you wouldn't        10   well, if you weren't told that within the three to
11   have necessarily saw me because I was kind of           11   five days, and now you're getting a call like almost
12   allowed to come in, with everything I had going on,     12   two weeks later, that just isn't right.
13   during the later time, which I always made sure that    13             And then it was just the male counterpart
14   I was there. And I still maintained that, as well       14   that it was given to got the situation, complained
15   as working for other people at that time.               15   to some of my fellow coworkers and was actually then
16        Q    But they took care of that situation for      16   upset about -- was upset about me getting awarded
17   you; correct?                                           17   the position over him.
18        A    Yes.                                          18             And everybody in my department at that
19        Q    All right. And then let's talk about this     19   particular time knew. And they were like, Oh, he
20   transfer to International.                              20   pitched a fit about it. They kind of just --
21        A    Well, Domestic.                               21   certain people just kind of was -- people talk.
22        Q    I'm sorry, transfer to Domestic.              22   They just --
23             When did you make that request; do you        23        Q    The person was upset because he had more
24   recall?                                                 24   seniority and --
25        A    I'll be honest, I don't remember the exact    25        A    Yeah.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 25 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                   Page 97                                                      Page 99
 1        Q    I got it.                                      1        Q    Okay. And they -- and we've already
 2        A    And she shouldn't get it, and it became a      2   talked about how they dealt with your shift issue;
 3   big mess and --                                          3   correct?
 4        Q    And Delta concluded it was a mistake           4        A    Yes, sir.
 5   because he had more seniority, and so they gave it       5        Q    Okay. You told me a moment ago -- we're
 6   to him instead of you; correct?                          6   going to -- we were talking -- when we took that
 7        A    Yeah, so that's what they -- that's what       7   detour, we were talking about Delta policies. And
 8   they were saying at the time that's what happened.       8   you told me a moment ago you were familiar with some
 9             Then he ended up per coworker people then      9   of the policies we've looked at already.
10   got there and complained more and was still upset.      10             And I take it you are also familiar with
11   And then didn't want to even be there when I wanted     11   Delta's travel pass policies; correct?
12   to be there and would have been happy with it.          12        A    Yes, sir, absolutely.
13        Q    All right. When you -- how did you seek       13             (Exhibit 8 was marked for identification.)
14   this position? Did you bid for it?                      14   BY MR. STONE:
15        A    I bid, yes.                                   15        Q    Let me show you what's been marked as
16        Q    So you weren't seeking it through the         16   Exhibit 8, and ask if you recognize those as Delta's
17   accommodation process. You just bid for it.             17   travel pass policies.
18        A    I bid for that one.                           18        A    Yes. I'm sure I am very familiar with
19             And like what -- the way -- I'm sure          19   these, yeah. Yes, sir.
20   Sheandra knows, like the way the system goes, which     20        Q    All right. Just because you and I live in
21   is one of the supervisors at the time had told me at    21   the airport world, I'm going to ask you a couple of
22   the time, or one of the coworker people, were saying    22   questions that seem obvious, but just for people who
23   that, to my knowledge, once we get awarded, you         23   don't live in the airline world necessarily.
24   know, through the system, other than, like you say,     24             Delta provides, as a benefit to its
25   going and seek accommodations, they'll tell you --      25   employees, free and reduced rate travel; correct?


                                                   Page 98                                                     Page 100
 1   and I've heard it before myself.                         1        A    Yes, sir.
 2             It's like you can't go then and say, well,     2        Q    And it's provided not only to employees,
 3   hey, the system gave me a 3:00 to 11:00. I don't         3   but also to, for example, travel companions of
 4   want that. The supervisor is going to look at you        4   employees; correct?
 5   like you're crazy and say no.                            5        A    Yes, sir.
 6        Q    Okay. I understand what you're saying.         6        Q    So if it's your spouse, you can take your
 7             To be clear, you bid for that position.        7   spouse on a free flight; correct?
 8        A    I did.                                         8        A    Yes, sir.
 9        Q    The accommodation you sought, however, was     9        Q    All right. And if you don't have a
10   Exhibit 7.                                              10   spouse, you can designate somebody as your travel
11        A    Yes, sir.                                     11   companion.
12        Q    And you sought it because your aunt had       12        A    Yes, sir.
13   been sick --                                            13        Q    Who also is entitled to free flights on
14        A    And my mom --                                 14   Delta; correct?
15        Q    -- and because of your car.                   15        A    The companion is discounted.
16        A    And the car. Yeah, it was just a lot.         16        Q    So if you designate -- you get reduced
17   Everything happened at one time.                        17   rate travel; correct?
18        Q    I'm with you.                                 18        A    Yes, sir.
19             Any other reason you sought it, or those      19        Q    And Delta also provides something called
20   are the reasons?                                        20   buddy passes; correct?
21        A    That. I was heavily depressed. It was         21        A    Yes, sir.
22   just a lot going on, Ben, to answer you honestly.       22        Q    And those are passes you can give to
23   Depression. My mom was going through some stuff.        23   people.
24   What I know I'm dealing with with her, even to this     24        A    Family, friends.
25   day.                                                    25        Q    Correct. All of this, of course, is for


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 26 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 101                                                    Page 103
 1   pleasure travel, not for business travel; correct?       1        A    Yes. Love it.
 2        A    Yes, sir.                                      2        Q    Okay. And you remained as a customer
 3        Q    And that's a hard and fast rule at Delta,      3   service agent your entire career at Delta; correct?
 4   isn't it?                                                4        A    Yes, just -- I just was -- I've been in a
 5        A    That is a strict rule.                         5   lot of different departments at Delta, Sky Club,
 6        Q    Exactly.                                       6   baggage claim. I never should have left baggage
 7        A    I get it. I know it.                           7   claim. That's where I was really thriving. But,
 8        Q    Yep. I get it. Good.                           8   yeah, baggage -- I started on the gates. And then I
 9             You are, of course, responsible for making     9   got to work.
10   sure that you comply with your -- the rules related     10             And a month later my PL -- they called
11   to travel passes; correct?                              11   them PLs at the time. My PL told me, Hey, you've
12        A    Yes, sir.                                     12   been switched, you're going to baggage.
13        Q    Not only for yourself, but for your travel    13             Everybody was like, No, you don't want to
14   companions as well; correct?                            14   go to baggage.
15        A    Yes, sir.                                     15             And I was like, Why?
16        Q    And Delta, of course, had other rules and     16             You're not going to like it.
17   policies that were available on DeltaNet that you       17             Got there, loved it. I was in baggage for
18   could access during your employment; correct?           18   like four years, three and a half years. And then
19        A    Yes, sir.                                     19   ended up -- one of my supervisors -- Sky Club came
20        Q    You don't have access to those now,           20   up. I wanted to learn ticketing. So ended up in
21   because you've left employment. But at the time you     21   the Sky Club. Loved, loved it.
22   had them; correct?                                      22             And the only reason I got out of the Sky
23        A    I did, yes, sir.                              23   Club is because at the time they didn't offer full
24        Q    All right. Let's talk about your job          24   time. So I bidded out and went to -- back to
25   duties and responsibilities for a second while you      25   ticketing so I could learn more ticketing. So,


                                                  Page 102                                                    Page 104
 1   were employed at Delta.                                  1   yeah, gates, baggage, Sky Club, yeah.
 2             You were an airport -- in the airport          2        Q    Worked lots of different areas at the
 3   customer service division; correct?                      3   airport.
 4        A    Yes, ACS125, unless they've changed the        4        A    I worked in lots of different areas.
 5   number.                                                  5        Q    And your performance was good; correct?
 6        Q    I don't believe they have changed the          6        A    Yes.
 7   number.                                                  7        Q    Was there, from your perspective, any
 8             And 125 is what people call above the          8   aspect of the job that you did not perform in a
 9   wings service; correct.                                  9   satisfactory fashion?
10        A    Above wing, yes, absolutely.                  10        A    No. When I performed my job, I did my job
11        Q    And that means basically you're working in    11   above and beyond.
12   the airport; correct?                                   12        Q    And you were able to do everything that
13        A    Yes.                                          13   Delta required of you to Delta's full satisfaction.
14        Q    And, typically, you're working -- I know      14        A    I was.
15   there's some other assignments. But, typically,         15        Q    All right. I recognize, of course, there
16   you're working either at the ticket counter or at       16   were times, including after the time you were hurt,
17   the gates; correct?                                     17   where you had to take some time off; correct?
18        A    Yes, or arrivals.                             18        A    Uh-huh.
19        Q    Arrivals. You might be working arrivals       19        Q    Yes?
20   as well. Fair enough.                                   20        A    Oh, yes, sorry.
21             You worked at the Atlanta airport;            21        Q    And you took some disability leave during
22   correct?                                                22   time that Delta granted you; correct?
23        A    Yes, sir.                                     23        A    Yes. I paid, and they were real clear.
24        Q    And that was true during your entire          24   I'm actually glad I did that because -- yeah.
25   career at Delta; correct?                               25        Q    You got paid during that time.


                                                                         www.GeorgiaReporting.com/Schedule
                                                                                              404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 27 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 105                                                     Page 107
 1        A    Long term, short term. I made sure I           1   BY MR. STONE:
 2   always had that deducted from my check.                  2        Q    And you told me a moment ago, Ms. Kerr, we
 3        Q    Yeah. So you, during the time you took         3   talked about her, she was the one who suggested --
 4   disability leave after your -- after the bag fell on     4        A    Go talk to Kiha, but yeah.
 5   you, you received first short-term and then              5        Q    To go get an accommodation; correct?
 6   long-term disability payments; correct?                  6        A    Yeah, yes.
 7        A    The long term kicked in after a certain        7        Q    All right. Do you remember when Ms. Kerr
 8   point, yes, sir.                                         8   became your performance leader?
 9        Q    But other than the time when you were          9        A    I don't remember like the actual date or
10   absent, either for that reason or because you had       10   date, because I reported, again, to so many
11   the flu or your car broke down or something like        11   various -- I pretty much know most of everybody that
12   that, when you were at work you were able to do         12   I have -- like by name who I had to report to during
13   everything that Delta required to Delta's               13   my whole career there.
14   satisfaction; correct?                                  14             I think I dealt with her more so on the
15        A    Yes, yes, I did.                              15   International side. I think I -- she was on the
16        Q    Okay. And you -- as a customer service        16   Domestic side I think for a short while. But by the
17   agent, you would have reported to a supervisor;         17   time I, I guess, had gotten out of the Sky Club and
18   correct?                                                18   then on into -- over to the International side,
19        A    Uh-huh.                                       19   that's when she had started being the PL at that
20        Q    You have to say yes.                          20   time, over on that side.
21        A    Yes, sir. Yes, sir.                           21        Q    All right. Do you remember what year that
22        Q    All right.                                    22   was?
23        A    Yes, sir.                                     23        A    It might have fallen around the -- '13,
24        Q    Sometimes they call them team leaders         24   '14. Can't say accurately, because I just honestly
25   during the time; correct?                               25   don't remember. But it was maybe right around that


                                                  Page 106                                                     Page 108
 1        A    Performance leaders.                           1   window of time that I was on International, like
 2        Q    Oh, performance leaders.                       2   between -- yes, between '14. Yeah, right around --
 3        A    Yeah, I think they call them OS Sims or        3        Q    Around 2014?
 4   OSS or something now.                                    4        A    -- 2014 maybe, yeah.
 5        Q    And because you were there for a number of     5        Q    All right. We know that during your
 6   years, you reported to a number of different             6   employment you had some counselings and some
 7   performance leaders; correct?                            7   discipline.
 8        A    Yes.                                           8             Do you remember that?
 9        Q    And during the time -- during part of the      9        A    I have had, yes.
10   time you reported to a woman named Carole Kerr;         10        Q    All right. Fair enough.
11   correct?                                                11        A    Yeah, yeah.
12        A    Uh-huh.                                       12        Q    Let's do it this way.
13        Q    Say yes.                                      13             (Exhibit 9 was marked for identification.)
14        A    Yes.                                          14   BY MR. STONE:
15        Q    Okay.                                         15        Q    Let me show you what's been marked as
16        A    Sorry.                                        16   Exhibit No. 9. I don't know if you've seen that
17        Q    That's okay.                                  17   document before or not. It's a document called,
18             Are you okay? Do you need a break or          18   Topics Discussed with Employee.
19   anything?                                               19             Have you seen that document before?
20        A    No, I do not. I'm okay. I'm fine.             20        A    Is this -- oh, okay. These, I --
21             MR. STONE: Let's go off the record for        21        Q    I haven't asked you any questions.
22        one second.                                        22        A    Oh.
23             (Discussion off the record.)                  23        Q    All I've asked is --
24             (Record read.)                                24        A    You just want me to read it.
25                                                           25        Q    -- have you seen this document before?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 28 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 109                                                     Page 111
 1        A    No. I've never seen -- I've seen three         1   date; correct?
 2   things, but it's something that I do see that I had      2        A    Yes.
 3   not seen before.                                         3        Q    And then you were coached on October 11,
 4        Q    All right. Let me start really basic here      4   2012, about coming late to work; correct?
 5   with you, Ms. Stevenson.                                 5        A    Yes.
 6             Each of these entries on Exhibit No. 9         6        Q    All right. And then on February 14, 2013,
 7   reflects a topic that was discussed with you. It         7   you had a conversation with your performance leader.
 8   might have been a one on one. It might have been a       8   That was a verbal warning; correct?
 9   coaching. It might have been a verbal warning, for       9        A    I -- this is one of the ones I'm not clear
10   example.                                                10   completely on.
11             You with me?                                  11        Q    Okay. I understand that you might
12        A    Uh-huh.                                       12   disagree, for example, that a verbal warning was
13        Q    You have to say yes or no.                    13   appropriate here. I'm not asking you that question.
14        A    Yes.                                          14             All I'm asking you is, did Delta give you
15        Q    All right. My first question is, did you,     15   a verbal warning on that day, as best you recall?
16   in fact, if you remember, receive either coachings      16        A    Yes.
17   or verbal warnings on each date reflected on            17        Q    Okay. And this event -- the reason
18   Exhibit No. 9?                                          18   that -- from Delta's perspective a verbal warning
19        A    Could you repeat the question?                19   was warranted, is reflected at the bottom of page 1
20        Q    Sure. I'm just trying to make sure I          20   and most of page 2 of Exhibit 9; correct?
21   understand -- I'm not asking you about the specific     21        A    Oh, you're talking about the one --
22   events right now. I'm just asking whether or not        22        Q    Yes.
23   there were discussions with you about job               23        A    This is the one we're still talking about?
24   performance issues on each date reflected on Exhibit    24        Q    Yes.
25   No. 9?                                                  25        A    Could you say that last part again?


                                                  Page 110                                                     Page 112
 1        A    Not each date.                                 1        Q    Sure. You told me a moment ago that Delta
 2        Q    All right. So let's do it then more            2   gave you a -- did give you a verbal warning on
 3   piecemeal.                                               3   February 14, 2013; correct?
 4             There is -- the first entry on Exhibit         4        A    I don't remember the date. I don't even
 5   No. 9 is dated August 26, 2012; correct?                 5   remember this incident at all but --
 6        A    Yes.                                           6        Q    That's what I was getting at.
 7        Q    All right. And that reflects a one on one      7             So you don't remember whether you received
 8   that was had with you; correct?                          8   this verbal warning on February 14, 2013; correct?
 9        A    Uh-huh --                                      9        A    That's Valentine's Day. No, I do not
10        Q    And --                                        10   remember --
11        A    -- yes.                                       11        Q    All right.
12        Q    -- you were told that you could start work    12        A    -- this one.
13   at 3:00 p.m. for the remainder of your bid --           13        Q    So it -- you might have. You just don't
14        A    Yes.                                          14   recall, as you sit here today; correct?
15        Q    -- correct?                                   15        A    No. And I tend to know pretty much -- I
16             So that occurred; correct?                    16   don't --
17        A    Uh-huh. Yes, that did occur.                  17        Q    Okay.
18        Q    So that entry is accurate; correct?           18        A    -- no.
19        A    That's accurate, yes.                         19        Q    You just can't recall what happened on
20        Q    You also had a discussion on September 30,    20   that day.
21   2012, just a discussion, about your reliability;        21        A    I can't recall.
22   correct?                                                22        Q    All right. So you -- so because you can't
23        A    Yes.                                          23   recall, you can't tell me whether this happened,
24        Q    And so that's -- it's accurate that there     24   didn't happen, what happened.
25   was a discussion with you about reliability on that     25        A    Correctly.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 29 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 113                                                     Page 115
 1        Q    Okay. All right. So then going down on         1        Q    Sure. If you -- you tell me if you -- if
 2   the next entry, February 19, 2013, it looks like you     2   you remember the story, you let me know during the
 3   are coached on that day for swapping with an agent;      3   course of the day. Okay?
 4   correct?                                                 4        A    Yeah, I -- I remember some of it but -- I
 5        A    Who was -- does it say who? I remember         5   remember some -- I remember proving that. Once I
 6   that -- that situation.                                  6   sat there and explained it at the time to the PL, it
 7        Q    All right. So you would swap and agree to      7   was like, I get it. Like it was one of those deals
 8   work for an agent, but then called in and took FMLA      8   like I didn't -- I never bailed on anybody I had to
 9   on that date; correct?                                   9   work for.
10        A    I remember this situation, but that's not     10        Q    But you don't remember what happened in
11   the way the situation was.                              11   this particular situation.
12        Q    Okay. Do you remember what happened?          12        A    Not --
13        A    Let me read this.                             13        Q    Not really?
14        Q    And if you don't, it's okay. I just --        14        A    -- not now. I can't remember. That was
15        A    I -- I remember it, but it definitely was     15   in '13.
16   nothing that I did wrong.                               16        Q    Turning to page 3 of Exhibit No. 9, it
17        Q    Okay.                                         17   looks like there's a series of verbal coachings that
18        A    I just --                                     18   you would have received on -- in December 2013 --
19             Yes. That wasn't the situation. It was        19        A    Uh-huh.
20   a -- and this particular person had a kind of           20        Q    -- on March 9, 2014, on March 22, 2014.
21   altercation.                                            21             Do you see all those?
22             I -- I didn't -- I didn't bail on this        22        A    Uh-huh.
23   person. I never bailed on anybody. And I worked         23        Q    And those are all -- you received those
24   for -- I was one -- I worked for everybody.             24   coachings on those days, as best you recall?
25        Q    Do you remember this particular situation?    25        A    Yeah. I remember speaking with Ron, EMP,


                                                  Page 114                                                     Page 116
 1        A    I kind of do. It's -- I'm being honest,        1   because I was having the issues. Yeah, I remember
 2   this is, like I say, so long ago. I'll touch on it.      2   missing --
 3   I really think -- no, what I know, I do know that        3        Q    And then it looks like you were coached on
 4   that wasn't the case. I did not bail on her.             4   March 23, 2014, correct --
 5             If I remember correctly, it was something      5        A    Uh-huh.
 6   that had already been canceled out. Like I wasn't        6        Q    -- about making sure you complied with
 7   even due to even work for her. But somebody on           7   safety rules; right?
 8   their end did not make the correction. Because when      8        A    Uh-huh.
 9   me and -- when me and this person actually finally       9        Q    Yes?
10   even talked about she's like, I know you already        10        A    Yes.
11   told me you weren't going to be able to do it that      11        Q    Sorry, you have to say yes.
12   day.                                                    12        A    Oh, yes, yes.
13             This is not accurate. This isn't              13        Q    And then it looks like on March 7, 2015,
14   accurate. And I remember -- I think I remember even     14   you were -- Ms. Kerr gave you a coaching about -- or
15   this conversation. I'm not -- it's not showing the      15   at least spoke to you about uniform guidelines and
16   PL that -- which PL? Because maybe that will help       16   making sure you stayed in compliance with those;
17   me remember. I do remember this. I really, really       17   correct?
18   do but --                                               18        A    Could I read that for a second?
19        Q    But you can't give me the details?            19        Q    Sure. Take your time.
20        A    This might have happened when I was in        20        A    I just -- I'll be quick.
21   baggage. It might have been -- what's his name?         21             That 3-7-15, that is totally inaccurate.
22   He's a manager now. I think this was when I was in      22        Q    Well, tell me what -- tell me what
23   baggage. Michael -- is it Cousins? That -- I don't      23   Ms. Kerr --
24   know.                                                   24        A    I was --
25             Can we come back to that?                     25        Q    Stop, I'm sorry, let me ask the question


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 30 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 117                                                     Page 119
 1   again.                                                   1   me that particular day.
 2             It's not inaccurate that Ms. Kerr talked       2        Q    All right. What else did she say to you
 3   to you about your shoes; correct?                        3   that you thought was bothersome or abrupt or
 4        A    It's accurate that something was stated        4   inappropriate on any day?
 5   about them. I was never coached. I was never             5        A    If I'm in the middle of doing my job, and
 6   talked to. I was never walked in the office.             6   somebody is in front of me, and I'm whatever, I've
 7   Because usually the way coaching goes, the reason I      7   been pushed aside by her, physically pushed aside,
 8   know this is because the way I know Ms. Lee and Ron      8   Move, step aside, you're moving too slow. I don't
 9   would always do stuff, like, you know, they -- they      9   say anything.
10   coach you. Sometimes they would even have you sign      10        Q    When did that happen?
11   or something. But this isn't the way of which this      11        A    I'll be honest, it was one of our IROP
12   happened at all.                                        12   nights. I do not know the date or the time. I just
13        Q    Did Ms. Kerr talk to you about your shoes?    13   do know that that particular occurrence, one of my
14        A    She didn't talk to me about my shoes. It      14   counterparts, I don't remember his name, but I'll
15   didn't occur that way. It didn't quite occur that       15   know him if I see him because he still works there,
16   way.                                                    16   he has the locks in his hair. And he was like, Wow,
17        Q    What did she say to you?                      17   like she is very, very rude and -- to you, Q, and
18        A    It was -- it didn't occur in the way          18   treats you kind of horribly.
19   that -- in the way that it's stated, it's on here,      19             I said (indicating). I just kind of
20   it's on here being in the way that -- my other PLs      20   didn't really say much because I didn't want to -- I
21   professionally, like, you know, they did it the way     21   looked at it as my supervisor. I didn't want to be
22   they were supposed to do it. This was not done in       22   in the hot seat or called -- make any waves.
23   the way that it was supposed to have been done.         23             The passenger that was actually -- that I
24        Q    Well, Ms. Kerr coached about your shoes;      24   was initially waiting on stated, Is that your
25   correct?                                                25   supervisor?


                                                  Page 118                                                     Page 120
 1        A    She didn't coach me. We weren't in the         1             I said, Yes.
 2   office. It was nothing like that.                        2             She is very rude to you.
 3        Q    What did she say to you?                       3        Q    Now, this is the night of the IROP
 4        A    It was -- I was -- we had finished up our      4   situation?
 5   briefing. It was very, very -- it was to the point       5        A    This was the IROP night.
 6   where my colleagues actually commented on the            6        Q    So let me stop you and make sure I
 7   abruptness. I was constantly bothered by her. It         7   understand.
 8   was a constant thing.                                    8             So you're working. It's an IROPs night,
 9             But this particular day was very constant      9   which is irregular operations --
10   with, I don't like the shoes. I don't like your         10        A    Irregular operations, yes.
11   shoes. Those aren't the right shoes. Out of             11        Q    So it's chaotic --
12   compliance. These are the same shoes that I started     12        A    Yes.
13   my career at Delta with.                                13        Q    -- at the airport.
14        Q    Other than Ms. Kerr saying, I don't like      14        A    It is chaotic, yes.
15   your shoes, your shoes out of compliance, did she       15             (Discussion off the record.)
16   say anything else to you?                               16   BY MR. STONE:
17        A    On another day --                             17        Q    And Ms. Kerr says to you, You're moving
18        Q    On that day, is that all she said to you,     18   too slowly --
19   as best you can recall?                                 19        A    Oh, yep.
20        A    That's all -- that was all on that            20        Q    -- she pushes you aside and starts working
21   particular day. And that was it. And she walked --      21   the computer?
22   actually, kind of walked away, went to her office.      22        A    I was doing this, and she's -- she -- Step
23   And I walked out the side door to get to my Delta       23   aside. Of course, I didn't give her -- I just -- I
24   Direct where I was working at the time, which was on    24   just -- I stepped aside, and just let her do what
25   E Concourse, Delta Direct. She said nothing else to     25   she did. And she initially moved. And I went back


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 31 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                             June 29, 2017

                                                 Page 121                                                     Page 123
 1   and I just started doing what I was doing after she     1   copy.
 2   was done.                                               2             I said, Well, they -- you all -- they read
 3             Passenger proceeded to say, Is that your      3   it in the -- in the briefing. I just wanted to just
 4   supervisor?                                             4   get a copy of it, just so I could have it for my
 5             I said, like kind of common sense, Yes.       5   files and show my parents a nice -- I just wanted --
 6             She was very rude to you.                     6   I usually keep a copy of my stuff like that.
 7        Q    All right. Other than --                      7             And she's like, I don't have it. You
 8        A    I didn't comment on it. I just kept --        8   know, you can go in the office. I need to shut the
 9   because I know we don't get into that with the          9   door.
10   passenger. I just kept doing what I was doing.         10             And I said, Okay. And I never asked her
11   That was another day.                                  11   about that again. It was just --
12             Another day -- like the stuff in here        12        Q    Anything else, other than -- that you can
13   stated, it's correctly, but it's not put in here       13   tell me about?
14   right. I had a bracelet on. I was in briefing. We      14        A    That's it that I can think of right now.
15   were finishing up briefing. Get ready to get out.      15   That's -- those are like one of the four main
16   I go into the -- we come out of the briefing. I go     16   things.
17   in the side door again. I'm in the middle of my        17        Q    All right. You are aware, I take it, that
18   shift, working, doing what I'm doing. She walks        18   because Delta provides free travel for employees and
19   over to me (indicating), Take that off, take that      19   their travel companions that a potential for abuse
20   off.                                                   20   exists.
21        Q    Tells you to take off your bracelet?         21        A    Yes, it does.
22        A    Yeah. I was literally doing this. She        22        Q    There's a potential that the passes might
23   walks up. She touches it. Take that off.               23   be sold which would violate Delta rules.
24        Q    Okay.                                        24        A    Exactly.
25        A    So I was like, Okay.                         25        Q    There's a possibility that passes would be


                                                 Page 122                                                     Page 124
 1             And, again, coworkers was just, Wow.          1   used for business travel, which would violate
 2             I said nothing. I proceeded to take it        2   Delta's rules; correct?
 3   off. Just very, very aggressive with me. Stuff          3        A    Yes.
 4   that I didn't see with other people. Just very,         4        Q    And you are aware -- let me stop right
 5   very aggressive in the way that I was being talked      5   there. I realize there's two things I wanted to
 6   to.                                                     6   show you very quickly.
 7        Q    Can you give me -- are there any other        7             (Exhibits 10 and 11 were marked for
 8   circumstances that you can think of, other than the     8        identification.)
 9   ones --                                                 9             THE WITNESS: She's my favorite.
10        A    I don't even know if I can even remember     10   BY MR. STONE:
11   them all, Ben, because I was just being                11        Q    I'm going to show you, first of all,
12   constantly -- constantly said things to. It was --     12   Exhibit 10 and then Exhibit 11.
13   it became real constant with her, very, very           13        A    Uh-huh.
14   constant.                                              14        Q    And just ask if these are counselings and
15        Q    Did she do anything else that you can        15   disciplines that you received while you were at
16   specifically remember?                                 16   Delta. That's all I'm going to ask you.
17        A    The bracelet. The shoe. The night of         17        A    Uh-huh.
18   being -- Step aside.                                   18             Oh, you ready for me? Sorry.
19             Well, and I remember an instance where a     19        Q    Yes. Can you answer the question? Did
20   pilot wrote in a good letter about something I did,    20   you receive those?
21   above and beyond. They read it in the briefing. It     21        A    Yes, I did.
22   was sent directly to Carol's e-mail or whatever.       22        Q    And you mentioned, when you were looking
23             And I asked her if I could get a copy of     23   at No. 10, you said, She's my favorite.
24   that. And she proceeded to say, What e-mail are you    24             Who were you speaking of?
25   talking about? I didn't get that. I don't have a       25        A    Velma Edwards.


                                                                         www.GeorgiaReporting.com/Schedule
                                                                                              404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 32 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 125                                                     Page 127
 1        Q    She was your favorite performance leader?      1   Cheryl Taylor actually --
 2        A    Uh-huh.                                        2        Q    Let me -- let's stop because we're way,
 3        Q    You guys --                                    3   way, way off my question here.
 4        A    Yeah.                                          4        A    Okay.
 5        Q    You guys got along well?                       5        Q    Let's do this slowly and a little bit more
 6        A    Very.                                          6   methodically here, Ms. Stevenson.
 7        Q    Other than Ms. Kerr, is there any              7        A    Okay.
 8   performance leader that you ever had any problems        8        Q    First of all, you have in front of you
 9   with or didn't get along with that you can recall?       9   Exhibit No. 11?
10        A    I would say not -- not to -- we're just       10        A    Uh-huh.
11   talking performance leaders, right, because I'll get    11        Q    Yes?
12   to the other later. But I have not had any of           12        A    Yes.
13   the -- any of those kinds of encounters with any        13        Q    I think you told me a moment ago that
14   other performance leader like that, except for          14   other than Ms. Kerr your other performance leaders
15   Carole Kerr.                                            15   treated you fairly.
16        Q    Okay.                                         16             But you do believe that Exhibit No. 11 is
17        A    However -- how do I word it? Not to           17   one instance where you were treated unfairly;
18   the -- not to that level.                               18   correct?
19             Love her. She -- yeah.                        19        A    Yes. I was treated -- yeah. Oh, okay.
20        Q    The other ones treated you fairly, other      20        Q    So let's explore Exhibit No. 11 for a
21   than Ms. Kerr?                                          21   second.
22        A    I'm sorry, say that --                        22             You were getting a probation letter in
23        Q    The other performance leaders, other than     23   November of 2010; correct?
24   Ms. Kerr, you think treated you fairly.                 24        A    Yes.
25        A    They -- yeah, the others treated me           25        Q    All right. And the reason is is because


                                                  Page 126                                                     Page 128
 1   fairly.                                                  1   there's a celebrity in the club room, correct, in
 2             The only thing I want to -- am I allowed       2   Sky Club?
 3   to just comment on one thing. This is fine.              3        A    Yes.
 4   Because -- yeah, that's -- yeah.                         4        Q    Who's the celebrity?
 5             This one here though, I -- I always felt       5        A    It was the Neelys. They're --
 6   this one was not fair.                                   6        Q    I know them.
 7        Q    Okay.                                          7        A    -- from the Food Network. They were
 8        A    It's not that I have an issue with the         8   very -- well, I guess they -- they were extremely
 9   performance leader, Performance Leader Marcus. I         9   nice to me.
10   like him. Taneesha, like her too. I just feel like      10        Q    And they -- one of the things happened,
11   this was very inaccurate to where I worked. And I       11   that you started talking with them; correct?
12   feel like I was treated unfairly, based off of how I    12        A    Yes. They were my -- my passengers that I
13   watched my veteran counterparts, coworkers deal with    13   had to escort. And in escorting them, you're
14   the passengers at the time.                             14   talking to them, they -- you hold conversations.
15             And because I did feel unfairly about         15        Q    All right.
16   this, Ben, I actually did go to HR about this           16        A    Uh-huh.
17   situation, and I did speak with -- she's dead now.      17        Q    And during the conversation, you asked the
18   She worked -- Cheryl Taylor. She spoke with me and      18   Neelys to give you a shout out related to your music
19   Marcus. And based off of some of what I'm even          19   career; is that correct?
20   telling you now, I went over it with her, with some     20        A    No. I never did that. That's why I said.
21   of the things that I went through with -- in the Sky    21   If I -- I never asked them to give me a shout out.
22   Club -- that's one of the other reasons that I did      22   If anything, it was -- my mother is a big fan of
23   get out as well, because they weren't offering -- as    23   their show. And I was like, Oh, gosh, she's just
24   I stated earlier, they weren't offering the full        24   going to be -- well, I'm not -- whatever it says
25   time so I bidded out. But I also bidded out because     25   here, because I don't want to, again, not say


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 33 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                               June 29, 2017

                                                   Page 129                                                     Page 131
 1   nothing that's not accurate. Within here, if I read       1   so, and you just don't recall that, as you sit here
 2   it, that part should be pretty accurate. But I            2   today? Is that possible?
 3   didn't -- I do not recall asking them to give me a        3        A    That's not possible.
 4   shout out. That part is fabricated, yeah.                 4        Q    All right. So --
 5        Q    So you don't know whether or not what was       5        A    And if I remember correctly when I was in
 6   reported to Delta? So you don't know what Delta was       6   the meeting with Taneesha and Marcus, I think I --
 7   told about your conduct; correct?                         7   well, no, not think. I remember saying to them, I
 8        A    Well, other than what I'm seeing right          8   didn't say anything about -- I did say that. I
 9   here.                                                     9   said, I didn't say anything about my music, I said,
10        Q    All right.                                     10   but I'm being honest, I did say about my mom. And
11        A    And that's why I said I went to HR about       11   the reason I know I said, Hey, you know, can you say
12   this situation, and we actually did discuss --           12   hello to my mom, because my mother, at that time --
13        Q    You've got to answer my question.              13   they're not even married anymore.
14        A    Oh, okay.                                      14             But, at that time, my mother watched that
15        Q    Listen to my question and answer my            15   show -- she loved the Neelys. She was a fan. So
16   question, Ms. Stevenson. Here's my question.             16   seeing them, it was like -- and everything I'm
17             You don't -- first of all, you told me a       17   saying to you I said it in this same way, same
18   minute ago, other than what you see here, you don't      18   demeanor with Taneesha and Marcus.
19   know what the passenger reported; correct?               19             And they was like, Well, okay, just don't
20        A    No, I do not. I just know what my              20   do that again, Q. We get it. We get that you all
21   performance leader told me they said.                    21   see celebrities. You get excited. We all have --
22        Q    Okay. And it says here that the Gold           22   that's kind of how that particular meeting went. It
23   Medallion passenger, and by your own admission, you      23   was -- it's just -- it's a little -- it's
24   asked the passenger to give you a shout out.             24   fabricated. I said, Well, yeah, I would never --
25             Do you see that?                               25        Q    Did you ask for -- did you take a picture


                                                   Page 130                                                     Page 132
 1          A   Yes, but I -- those were not my words.         1   with them or ask for a picture?
 2   I --                                                      2        A    I don't -- I might have. I'll be honest,
 3        Q    So you're --                                    3   I don't remember. That was so long ago.
 4        A    I do not recall -- I would never -- I was       4        Q    Did you ask them --
 5   in the Sky Club for a long time, and I saw many           5        A    I might have asked for a picture. I might
 6   celebrities that were -- yeah.                            6   have asked for an autograph. Like I say, most of
 7        Q    You --                                          7   that -- but the music part, that part, I'll be
 8        A    I never said give me a shout out.               8   honest, I think that is -- that part, I don't -- I
 9        Q    Well, you just told me you don't recall         9   don't think I asked them for a shout out with my
10   saying that.                                             10   music, because they're not -- I mean -- yeah, they
11        A    Yeah. Well, I do not recall -- I don't         11   can't help my -- they couldn't help music.
12   think -- I would never ask them to give me a shout       12        Q    So you just told me --
13   out for my music. And they weren't even in that --       13        A    But my mother --
14   they weren't even in that -- they couldn't help a        14        Q    -- everything you can recall about this?
15   music career at all.                                     15        A    Yeah, the mother, all of that is accurate.
16        Q    Are you able to testify with certainty and     16   I talked -- yeah, we talked about the mom. They
17   under oath --                                            17   were talking and laughing with me. I had no idea,
18        A    Yes. I do not recall ever saying -- I          18   Ben, at that time, that they felt the way they felt,
19   asked them to give me a -- they're a cooking             19   meaning -- we're around celebrities a lot in the Sky
20   network. They're not Jay-Z.                              20   Club. And if they don't want to be bothered,
21        Q    You're testifying that you don't recall.       21   they'll say, No, or whatever. They held a whole
22             And I'm going to ask you a different           22   conversation with me, laughed, talked.
23   question --                                              23             So I didn't know any different, other than
24        A    Okay.                                          24   they were -- they were very engaging. The next
25        Q    -- which is, is it possible that you did       25   thing I knew it was, well, no, they didn't want to


                                                                           www.GeorgiaReporting.com/Schedule
                                                                                                404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 34 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 133                                                     Page 135
 1   talk. But they didn't say that they didn't want to       1   friendly. We're supposed to be friendly.
 2   talk. So I didn't know any --                            2        Q    But you understood that you're not
 3        Q    You understand that they complained to         3   supposed to ask for autographs with celebrities or
 4   Delta about what you did.                                4   take pictures with celebrities; correct?
 5        A    Yeah, per my -- per my supervisor at that      5        A    Well, after the fact. I'll be honest, I
 6   time, and I -- yeah, I did.                              6   didn't get that before because I watched the people
 7        Q    All right. You told me that you went to        7   that were training me -- and, again, I'm not going
 8   Cheryl Taylor in HR --                                   8   to get into other people's business. So I thought I
 9        A    I did.                                         9   was just doing what I saw the people that had worked
10        Q    -- and complained about this discipline;      10   there longer than me asking people for autographs.
11   correct?                                                11   They didn't get reprimanded or nothing. So I
12        A    Yes, I did.                                   12   thought when I saw my mom's biggest fans, I thought
13        Q    All right. The discipline remained in the     13   it was okay.
14   file though; correct?                                   14        Q    Who else asked for an autograph that you
15        A    Here's the thing now --                       15   saw?
16        Q    You've got to answer my question.             16        A    Well, there are -- I mean I'm not going --
17   Correct?                                                17   again, I've seen my coworkers at the time when I
18        A    Well, there were some things -- at that       18   worked in there.
19   time, she looked at Marcus, and she said, Well,         19        Q    Who?
20   we're going to have this -- there were certain --       20        A    Who?
21   she said, We're going to have this removed. You         21        Q    Yeah.
22   know, there were -- it was that. And it was             22        A    I don't -- I can't say like names or
23   something else that I had complained about at the       23   nothing because it's various. It's various people
24   time. It all was just so much. It's just that           24   I'm saying that --
25   Cheryl Taylor had said that she would have -- she'd     25        Q    Can you tell me one name?


                                                  Page 134                                                     Page 136
 1   have it removed. Now, I actually --                      1        A    Well, they -- they've asked for pictures.
 2        Q    Wait, wait, wait, stop.                        2        Q    Who?
 3             Are you telling me that Cheryl Taylor told     3        A    I don't want -- I don't, you know, want to
 4   you the letter -- portions of the letter were going      4   bother like --
 5   to change?                                               5        Q    Who?
 6        A    I don't -- I'll be -- I'm up -- to be          6        A    There are various people that --
 7   clear, I don't know -- because I know Marcus would       7        Q    Name one.
 8   remember this whole thing, if he's still there. He       8        A    -- say, Can we get -- can we get a
 9   would remember. I don't know if it was the letter        9   photo --
10   or whatever.                                            10        Q    Name one person.
11             But the way -- how I'm discussing this        11        A    -- have a photo with you?
12   with you, me, Marcus and Cheryl Taylor discussed --     12             Well, that was years ago, Ben.
13   Taneesha wasn't in that particular meeting. It was      13        Q    So you can't.
14   just the three of us, and all of this was discussed.    14        A    No. It's not that I can't. I'm just
15   And I was like -- well, I didn't -- I was like I        15   saying like there are people in there --
16   wasn't -- We get it, Q. We get you didn't -- I get      16        Q    Name one person, Ms. Stevenson.
17   it. It's just, you know, they didn't get that.          17        A    But I mean like social media, like you all
18   That's why they complained. It's not saying that        18   can't see that.
19   you didn't act -- you weren't unprofessional.           19        Q    Name one person, Ms. Stevenson. Answer
20             Because that's my whole thing. I said, I      20   the question.
21   didn't handle them unprofessionally. I handled          21        A    I don't want to get anybody in trouble for
22   them -- I'm very friendly, so I handled them in a       22   asking --
23   friendly way. And that's kind of how we was             23        Q    Ms. Stevenson --
24   discussing. And that's why I was telling her I just     24        A    -- for a picture.
25   didn't understand why I would be wrote up for being     25        Q    -- that's not the question. Please answer


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 35 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                               June 29, 2017

                                                   Page 137                                                     Page 139
 1   my question. Name one person.                             1        Q    Do you know is she older, younger, about
 2        A    She's such a good employee.                     2   your age?
 3        Q    Who is it?                                      3        A    She's -- well, no, I'm in my 40s. She
 4        A    I mean they just asked for a photo, and         4   is -- Lucille may be in her 50s. She might be in
 5   the celebrity give it to them.                            5   her 50s.
 6        Q    Who?                                            6        Q    All right.
 7        A    Lucille.                                        7        A    You know --
 8        Q    Who is Lucille?                                 8        Q    All right. And do you -- why do you think
 9        A    I don't know her last name. She's an            9   they were mean to you and not to Lucille?
10   awesome employee. I don't remember her last name         10        A    She wasn't mean to me.
11   because she's married now. She's a nice person           11        Q    Why do you think they disciplined you and
12   but --                                                   12   not Lucille?
13        Q    What was her last name?                        13        A    No. Here, that's -- let me make that
14        A    I don't -- I don't remember her last name.     14   clear. I'm not saying that they did not discipline
15   But she's one of the people that trained -- she's        15   Lucille. I don't --
16   been in there for years. When I say -- like she's        16        Q    You don't know.
17   very professional. It's not like -- you know, like       17        A    Yes. Oh, I don't know. I've never -- I
18   bombarding the people. But it's like, Oh, she's          18   don't want -- yeah, I didn't say that. No, I'm not
19   just like, can I get a -- when the people walking        19   saying that.
20   out, Can we get a picture? You know, I'm sitting         20        Q    All right.
21   there, and, you know, the celebrity is laughing.         21        A    It's tons of people that work at Delta
22        Q    Ms. Stevenson, I'm begging you, listen to      22   that take pictures with celebrities.
23   my question. Okay?                                       23        Q    Yeah.
24        A    Well, that's just one person I'm saying        24        A    I'm just saying -- yeah, I don't know her
25   that work there.                                         25   business. I'm just saying she's one of the people


                                                   Page 138                                                     Page 140
 1          Q   Name another person, if you can remember       1   that trained me.
 2   any.                                                      2        Q    Okay.
 3        A    I don't have another name.                      3        A    So when I see my veteran people --
 4        Q    All right. And can you tell me anything         4        Q    I haven't asked you this. Stop.
 5   about Lucille, what her last name is, what she looks      5        A    Oh, okay.
 6   like?                                                     6        Q    All right. Do you --
 7        A    I don't know -- like I said -- she's --         7        A    I don't want to get that lady in trouble.
 8   she's maybe -- she's about her height. She's about        8        Q    Do you -- strike that. Let me start
 9   Sheandra's height.                                        9   again.
10        Q    What does she look like?                       10             We've just talked about you going to
11        A    She may be like a -- maybe your complexion     11   Cheryl Taylor and making a complaint about
12   too, maybe a tad darker.                                 12   Exhibit No. 11; correct?
13        Q    She's African American?                        13        A    Yeah, 11. It was 11 and -- and something
14        A    Yeah, she's African American, very sweet,      14   else. I didn't really --
15   very friendly. And I forget what that guy -- it was      15        Q    What was the something else?
16   a tall guy, I just remember. And he's like -- you        16        A    -- review this thing.
17   know, people have gotten -- like I said, like on the     17             Yeah. That's probably --
18   way out, I remember that day. It was just like           18        Q    Okay. And you --
19   standing right by the elevator. I -- again, I don't      19        A    It was this --
20   know what B looks like. Somebody told me B looks --      20        Q    Wait, stop.
21        Q    Ms. Stevenson, I haven't asked you this        21             (Discussion off the record.)
22   question.                                                22   BY MR. STONE:
23             All I've asked you is what she looks like.     23        Q    Let's go back. You said a moment ago,
24   That's all I've asked you.                               24   Ms. Stevenson, that in addition to complaining about
25        A    Well --                                        25   Exhibit 11 that you complained about something else


                                                                           www.GeorgiaReporting.com/Schedule
                                                                                                404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 36 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 141                                                     Page 143
 1   to Ms. Taylor.                                           1   yeah.
 2             What was the something else?                   2        Q    Other than this complaint that you've just
 3        A    The something else was -- it was this, and     3   described, and your complaint about Exhibit 11 --
 4   it was the Red Coat at that time in the Sky Club. I      4        A    Uh-huh.
 5   don't even think he's in there anymore. She had          5        Q    -- did you ever complain to HR about any
 6   that removed from a file too. I remember that            6   other unfair or inappropriate treatment that you
 7   because she said she was going to have that done.        7   thought you were receiving while you were at Delta?
 8   She was going to have that done right -- she was         8        A    The only other thing, with this same --
 9   like, We're going to remove it right now.                9   the Red Coat, was I did -- I did express to Cheryl
10        Q    Ms. Stevenson, stop. What was the             10   that -- and she made me understand some things, so I
11   something else?                                         11   don't want you to think I'm being hostile with this
12        A    It was the Red Coat told a lie on me and      12   part. But I told her that the person had made a
13   Lucille and Stan, I don't remember his last name,       13   couple of advances.
14   they both work in the Sky Club, they were -- they       14             But, again, that was worked out at that
15   vouched for me and told Marcus that it was -- told      15   time, so I don't want to make it like I'm not -- I'm
16   the performance leaders that that Red Coat actually     16   not here to hurt anybody -- hurt anybody. I'm not
17   lied on me.                                             17   here to hurt Delta. I love Delta. But that
18        Q    What lie did the Red Coat say?                18   particular person at the time that did lie on me,
19        A    When we worked in the Sky Club, there was     19   also had constantly kind of made little personal
20   a call that we had to make. That they'd call and        20   references, advances, and I, you know, was not --
21   do -- like we have to do like weekly, I'm trying to     21        Q    Was asking you out on dates?
22   remember because this was so long ago, these little     22        A    Yes. And I -- yeah. And like, Well, we
23   like briefing things. And we all have to call in        23   should do something, this, that and the other. And
24   and say, Hey, it's Q, B25. Hey, it's such and such,     24   I stated that to Ms. Taylor. Marcus was sitting
25   C whatever. We'd call in. And each day they'd give      25   there. And, again, she just had to remove -- she


                                                  Page 142                                                     Page 144
 1   a different person the assignment to call and give       1   was like, you know what, men are men, women are
 2   the report and the reviews of like the liquor count      2   women. When people see something -- so we'll get
 3   and all of that that goes on, the people count, the      3   it -- I'm going to clear it out, and she did.
 4   liquor count, all of that.                               4             So I'm just being honest about that. So I
 5             Well, that particular day, the -- he was       5   went through a lot there. I was going to get to
 6   actually assigned to do it. Failed to do it,             6   that. That was one of the reasons. Along with
 7   forgot, missed the actual call. PL comes in and is       7   wanting full-time benefits, and the couple of things
 8   like, Why weren't you on the call?                       8   that I did go through in there, that was why I
 9             When this all occurred, if I remember          9   bidded it out. And I said, you know, I just want to
10   correctly, it was like Taneesha or Marcus that had      10   go somewhere for some peace and work and enjoy my
11   actually designated him to do it. It didn't get         11   career and be quiet. And that's what I did.
12   done. Stan and Lucille actually witnessed this go       12             When I was done with this also, Ben --
13   down. And I got reprimanded for it and got called       13        Q    All right. Stop, because I've not asked
14   in the office and said, Well, write me up. And when     14   you about that.
15   I came out, they came and they was like, Well, you      15        A    Oh, okay.
16   don't say nothing.                                      16        Q    My question is, you've told me now about
17             So when I come out they were like, What       17   the complaints that you've made to HR about unfair
18   did -- I said, They -- I don't know. I think they       18   treatment.
19   wrote me up or reprimanded me, and I didn't even do     19             Have you told me all of them?
20   anything. They're like, You didn't do that, Q. We       20        A    Yes. That is --
21   know you didn't do that. We'll let them know. But       21        Q    I got it.
22   it ended up on my file.                                 22        A    I can't -- and I never went to HR with the
23        Q    All right. But it was taken out by            23   Carole thing. I didn't go to that because, again, I
24   Ms. Taylor?                                             24   was at the point where I just wanted to be quiet,
25        A    Cheryl -- yeah, per -- I think she's --       25   and I just wanted to -- again, I did what I thought


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 37 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 145                                                     Page 147
 1   I could do in order to keep myself -- my job and         1   it; correct?
 2   everything, which is why I tried to get off of           2        A    Yes, I'm pretty sure.
 3   International to bid for Domestic.                       3        Q    All right.
 4        Q    You never complained to HR -- made any         4             MR. STONE: Let's take a break for
 5   other complaints about discrimination --                 5        everybody. Why don't we take ten minutes here.
 6        A    No --                                          6             (Brief break.)
 7        Q    -- or anything like?                           7   BY MR. STONE:
 8        A    -- I did not. I did not. I just -- I           8        Q    Ms. Stevenson, we're back on the record.
 9   wanted some peace.                                       9             You realize you're still under oath;
10        Q    I got it.                                     10   correct?
11             All right. Back to travel benefits for a      11        A    Yes, I do.
12   minute here. And we talked about a moment ago the       12        Q    All right. Okay. So we were talking
13   potential for abuse, correct, of travel benefits?       13   about travel passes a moment ago. And you I know --
14        A    Could I say something, one last thing?        14   I don't doubt recall that -- you have a recollection
15        Q    Let's keep going here. And then we'll --      15   of being called in in July of 2015 for an interview
16   and then you can come back and correct anything that    16   regarding the use of travel passes by your travel
17   you need to correct.                                    17   companions; correct?
18             (Exhibit 12 was marked for                    18        A    Yes. It wasn't an interview though. It
19        identification.)                                   19   was -- I was just told -- after I had got out of my
20   BY MR. STONE:                                           20   briefing, my PL at the time said, Go put your stuff
21        Q    Let me show you what's been marked as         21   down. And then he was like, Just come back by my
22   Exhibit No. 12. And ask if you recognize that as a      22   office in like 30 minutes.
23   memo that went out to employees at Delta. It's          23             And I was like, Oh, for what?
24   addressed to Delta Colleagues Worldwide.                24             And he was like, he said, Just come back
25        A    I don't know if I remember it. Oh, I          25   in 30 minutes. He was like, Honestly, I don't even


                                                  Page 146                                                     Page 148
 1   don't remember this because -- I said I accessed.        1   know what for. He was just like, We just have to go
 2   But, I'll be honest, I don't remember this, because      2   down to HR.
 3   I was -- if I remember correctly, I was out on my,       3             And I said, Okay. Put my stuff down. Got
 4   what do you call it, Workers' Comp thing. I was out      4   back, 30 minutes, got back down. We walk in.
 5   at this time.                                            5             And then Kiha got up off of -- from her
 6        Q    Okay.                                          6   desk. Came out. She's like, Hi, you know, Quaniah,
 7        A    So if they sent it, like you said, to all      7   I'm Kiha. We shook hands or whatever.
 8   employees, I'm sure it went to my e-mail. But I was      8             And I said, Okay. Nice to meet you face
 9   out at that point, so I probably -- to answer            9   to face finally.
10   honestly, I probably did not read this specific one.    10             And then she's like, Oh, well, your --
11        Q    You would have received it, just not read     11   some travel passes, we're doing some audits, and she
12   it.                                                     12   was like, Your name came up.
13        A    I would have received it, yeah. I'm sure      13             I said, Oh, okay.
14   they sent it to me.                                     14             And she's like, So I'm just going to ask
15             (Exhibit 13 was marked for                    15   some questions.
16        identification.)                                   16             And I was like, Okay. Fine.
17   BY MR. STONE:                                           17             And me and my PL at the time, we sat down.
18        Q    Let me show you Exhibit 13, which is a set    18   And then she announced that somebody was on a
19   of frequently asked questions that went with            19   speakerphone that would be listening in. They
20   Exhibit 12, and see if that refreshes your              20   stated their name. And then we proceeded to go
21   recollection at all.                                    21   through whatever. But she called it like a -- but
22        A    I think I remember this.                      22   she didn't say interview.
23        Q    You do remember that?                         23        Q    But they asked you a series of questions.
24        A    Yeah. I think I remember this.                24        A    Oh, okay. That's what you mean, yeah.
25        Q    So you would have read it and understood      25        Q    And so was your PL, your performance


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 38 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 149                                                     Page 151
 1   leader, at that time was that Francisco Cortes?          1             Okay. So I just was trying to be clear
 2        A    Yes.                                           2   on -- yeah, she asked a couple of questions. But
 3        Q    And Mr. Cortes was somebody you obviously      3   Kiha more so did the majority -- she did most of the
 4   liked, based on that tone of voice. Yes?                 4   line of questioning for that particular --
 5        A    Yes.                                           5        Q    And you -- I think we've established you
 6        Q    And he always treated you fairly.              6   liked Kiha and thought she treated you fairly during
 7        A    Yes, he did.                                   7   your employment. Yes?
 8        Q    And he's the one you said took you down to     8        A    Well, here's the thing, I don't -- I --
 9   HR; correct?                                             9   no, I do -- I have to disagree with that.
10        A    Uh-huh.                                       10        Q    Okay.
11        Q    You have to say yes.                          11        A    I do not know her like that. My encounter
12        A    Yes.                                          12   was not -- it wasn't the nicest encounter. I'll say
13        Q    And when you got there, you said Kiha         13   that. So, yeah, I have to say, yeah, I don't -- I
14   Jones was there; correct?                               14   didn't have dealings with her like I had with other
15        A    Yes, yes.                                     15   people that I spoke on, so I can't really make that
16        Q    And then there was somebody that was on       16   assessment, other than it wasn't the nicest
17   the phone.                                              17   encounter.
18        A    She had them on the speaker phone. They       18        Q    You're talking about the interview --
19   announced --                                            19        A    Well --
20        Q    Do you remember what his name was?            20        Q    -- on the passes. When you talk about
21        A    It was a she. And her name started with       21   encounter, are you talking about this interview
22   an M.                                                   22   we're talking about?
23        Q    Was it --                                     23        A    I'm talking about the interview, and I'm
24        A    And it was -- if I remember correctly, it     24   talking about a couple of e-mails back and forth
25   said Mehret. I don't remember the last name, but        25   that she and I had before I ever even faced -- you


                                                  Page 150                                                     Page 152
 1   Mehret or Mehret.                                        1   know, face to face or whatever, just the tone, and
 2        Q    Yep. Did you -- had you ever met Mehret?       2   I -- yeah, the tone of them.
 3        A    No. All I know is I -- just Mehret. I          3        Q    Okay.
 4   think -- did she even say where she was -- I don't       4        A    Yeah.
 5   even -- yeah, it was just she stated her name. I         5        Q    All right. Do you know who it was that
 6   don't know if she said -- I don't know if she gave       6   made the decision to -- I'm going to call it an
 7   her title, but I just remember that name.                7   interview, to interview you?
 8        Q    Did you have an understanding that she was     8        A    Just based off of what she said, was just
 9   from the pass protection group or the audit group        9   verbatim, I remember her stating, Your name came up.
10   that was responsible for ensuring compliance with       10   It was never like, Oh, such and such said we need to
11   travel pass policies?                                   11   interview you.
12        A    I can't say I remember if that was            12             It was just, Your name came up. You know,
13   properly explained, like in that detail, the way you    13   we're doing audits or whatever, and so I'm going to
14   just stated it. But definitely I was aware that         14   ask you some questions. This is -- do you know why
15   somebody was listening in, and that was her name.       15   you're here?
16        Q    Okay. Was Mehret just listening in, or        16             And I preceded to say, No.
17   did she ask any questions?                              17             Okay. Well -- yeah, no.
18        A    She more so was listening in. She did         18        Q    Do you know -- when she said your name
19   ask -- it was more like when Kiha would say certain     19   came up, do you know who recognized your name coming
20   stuff, she might bounce off of something Kiha might     20   up and said, We need to interview Ms. Stevenson?
21   have said or reiterate. Like so, you know -- it was     21        A    Yeah, that was never made clear to me,
22   more like Kiha would ask the question, and Mehret       22   like this person said we need to -- it was just,
23   may say, So you're saying blah, blah, blah.             23   Your name came up.
24             And I would, you know, give whatever my       24        Q    Okay. Did you ever become aware that the
25   response was.                                           25   reason that your name came up in the investigation


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 39 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 153                                                     Page 155
 1   was that you had given a buddy pass to somebody          1        A    No. I mean not like -- that's not --
 2   named Vendell Bailey.                                    2   that's not a regular friend that I hang out with.
 3        A    You said the reason what? Could you say        3        Q    I'm with you.
 4   that again?                                              4        A    It's friends of the family.
 5        Q    Yeah. That the reason your name came up,       5        Q    How did Mr. Bailey get a travel buddy pass
 6   did anybody ever tell you the reason your name came      6   that belonged to you?
 7   up was because you had given a buddy pass to             7        A    Me.
 8   somebody named Vendell Bailey?                           8        Q    You gave it to him?
 9        A    No.                                            9        A    Uh-huh.
10        Q    Do you know who Mr. Bailey is?                10        Q    When did you give it to him?
11        A    Yeah. Well, the mother, I know the            11        A    I do not recall that. That's the same
12   mother, yeah, I do know. But they never said --         12   thing I said to Kiha. I don't remember dates that I
13   that never -- she never said, Oh, Vendell Bailey is     13   book my -- you know, we get more than one, so I
14   why I'm talking to you. It was -- that was not --       14   don't -- I don't write -- yeah, I don't remember the
15   that wasn't even -- that came up later, but that        15   date.
16   wasn't the -- that wasn't the part -- that wasn't       16        Q    Why did you give Mr. Bailey a buddy pass?
17   the reason for her really saying that she was           17        A    For pleasure travel to come from I
18   talking to me.                                          18   think -- again, I don't -- I think Detroit to
19        Q    Well, she didn't tell you why she was         19   Atlanta, Atlanta to Detroit, which I stated that to
20   talking to you, other than your name came up;           20   Kiha as well. And I actually wrote it down.
21   correct?                                                21        Q    Did he ask you for a buddy pass?
22        A    Well, that, and then throughout the thing     22        A    Yes.
23   they got into my companion, and this is the reason      23        Q    How did he ask you?
24   why. And then she went so and so into other stuff       24        A    Just, I need to fly.
25   that I guess I'll tell you later.                       25        Q    Did he call you? Did he text you? Did he


                                                  Page 154                                                     Page 156
 1        Q    Do you -- you said you do not know Vendell     1   write you?
 2   Bailey personally?                                       2        A    No. It was just a phone call. It was
 3        A    Yeah, I know -- I do. I know that              3   actually a three-way call.
 4   they're -- they're family friends of my family, and      4        Q    Three-way call between who and who and
 5   I stated that with Kiha.                                 5   who?
 6        Q    Tell me who Vendell Bailey is. He's a          6        A    Mom.
 7   family friend?                                           7        Q    His mother Victoria?
 8        A    No. He is the son of the mother.               8        A    Uh-huh.
 9        Q    Okay. And who -- what's his mother's           9        Q    And yourself?
10   name?                                                   10        A    Yeah, yeah. I said, Hey, I'll book it.
11        A    That's Victoria.                              11        Q    All right. Had you given him more than
12        Q    And how do you -- do you know Victoria?       12   one buddy pass?
13        A    Yeah, like --                                 13        A    No.
14        Q    How do you know Victoria?                     14        Q    Did you ever give Victoria any buddy
15        A    We're just friends, family friends.           15   passes?
16        Q    How long have you known her?                  16        A    Uh-huh. I think I gave her like one
17        A    Now, maybe about seven years.                 17   before, like one or two before.
18        Q    But she doesn't work at Delta.                18        Q    All right. Do you know anybody named
19        A    No.                                           19   Ernest Adams?
20        Q    All right. And do you know Vendell as         20        A    Ernest Adams.
21   well?                                                   21        Q    Yes. Does that name mean anything to you?
22        A    Yes, that's her son.                          22        A    No.
23        Q    Have you met him and spoken with him?         23        Q    Do you know anybody named Brady Nicholson?
24        A    Yes.                                          24        A    No.
25        Q    Do you socialize with him?                    25        Q    Do you know anybody named Candice Dubois?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 40 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 157                                                     Page 159
 1        A    That's my coworker -- well, I'm not there      1   this to Kiha. I was like, you know, people -- if
 2   right now. That's my coworker.                           2   we're friends with each other, you're coworkers,
 3        Q    She used to be a coworker of yours?            3   I've had several performance leaders say, Yeah, you
 4        A    No, she works at Delta.                        4   know, if you're friends with the person, you're free
 5        Q    What about Sedarius Johnson?                   5   to give them to -- as long as it's for pleasure.
 6        A    I don't know. I think some of these --         6   And I made that real clear, like --
 7   these people, I think they work at Delta. I think        7        Q    All right.
 8   so. I definitely know Candice, yeah, because she's       8        A    -- pleasure travel.
 9   on my Facebook too.                                      9        Q    Did you -- are you telling me that people
10        Q    Is she friends with you?                      10   gave you passes to give to Vendell Bailey?
11        A    She just sent me a nice little message the    11        A    No. I'm not saying that. I'm just making
12   other day, commented on something. I don't know.        12   that analogy that --
13        Q    Is she friends with Victoria Bailey?          13        Q    So you don't --
14        A    I -- I don't know if --                       14        A    -- I was told that we're allowed to -- as
15        Q    Do you know of any way that she would know    15   long as it's not for purchase, payment, you know,
16   Victoria Bailey?                                        16   that -- you're okay with that, as long as you're
17        A    I -- again, I don't know. I -- some of my     17   not -- it's personal travel, and you are not
18   Facebook people that Delta follow. Some of the          18   receiving any money.
19   people that are my personal friends, that they're       19        Q    All right. Just to be clear, you don't
20   friends on Facebook. I don't know if Candice is         20   know of any reason why any of those people would
21   friends with her. But that's my coworkers.              21   give buddy passes to Vendell Bailey, as you sit
22        Q    Do you know any of the people I just          22   here?
23   listed, Mr. Adams, Mr. Nicholson, Sedarius Johnson      23        A    I don't know. I don't know if they know
24   or Candice Dubois or Dubois, are friends with           24   her or him or whatever.
25   Vendell Bailey?                                         25        Q    All right. You were asked during the --


                                                  Page 158                                                     Page 160
 1        A    No, I do not -- I do not know who else --      1   I'm again calling it an interview?
 2        Q    Do you know if any --                          2        A    Yeah. She asked me that in the interview.
 3        A    I know she has other friends there, but I      3        Q    And you told her what you just told me?
 4   don't -- no, I don't.                                    4        A    Yeah. I told her like -- well, she didn't
 5        Q    Do you know if any of those people would       5   ask me about Candice now. I don't think she --
 6   be friends with Victoria or Vendell Bailey?              6   yeah. I don't remember her asking me about Candice
 7        A    I do not.                                      7   at all.
 8        Q    Okay.                                          8        Q    But you told her that you had given a
 9        A    I am, but I don't know, you know.              9   buddy pass to Vendell -- to Victoria Bailey and
10        Q    Do you know of any reason that any of         10   Vendell Bailey?
11   those people would give buddy passes to Victoria or     11        A    Yeah. I think I actually wrote it out for
12   Vendell Bailey?                                         12   her too.
13        A    No. But I mean Candice like -- what I         13        Q    You also spent considerable time talking
14   will say is like we've given each other passes          14   about Mr. Dais; correct?
15   before, like -- like I've made -- we've stated that.    15        A    Yeah, that -- that's what I was -- that
16   Like I stated that to Kiha and to supervisors           16   was pretty much -- that's why -- that was the whole
17   like -- to my understanding, even per the               17   point of her conversation with me.
18   supervisors, like if your coworker is your -- like      18        Q    And Mr. Dais, as we've established a
19   if we're friends or whatever, and somebody says,        19   moment ago, was your travel companion at the time;
20   Hey, you know, I'm out of mine. You know, my aunt       20   correct?
21   needs to fly tomorrow. Is it okay for my aunt to --     21        A    Uh-huh.
22   you know, if you have an extra one.                     22        Q    You have to say yes.
23             Yeah, you know, I have an extra one.          23        A    Yes.
24             I don't know. Correct me if -- at the         24        Q    And he was also your boyfriend; correct?
25   time, correct me if I'm wrong but -- and I stated       25        A    Yes.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 41 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 161                                                     Page 163
 1        Q    And he was not your travel companion           1   that he was your travel companion?
 2   during the entirety of your employment at Delta, was     2        A    Yes, uh-huh.
 3   he?                                                      3        Q    And when you say a lot of music, tell me
 4        A    No. It was one -- it was one time I had        4   what work you did together.
 5   one other person on there. And I made that clear to      5        A    I mean like I would -- I sing, you know, I
 6   her as well. We --                                       6   just -- I sing. Like if he needed to record
 7        Q    That was Christopher Blanding?                 7   something. We did a lot of singing.
 8        A    Christopher Blanding, uh-huh, for that         8        Q    So he would hire you to record stuff?
 9   short period of time.                                    9        A    Well, it's -- I don't want to say
10        Q    And who was Mr. Blanding?                     10   necessarily hire, Ben, because he's a friend so --
11        A    He actually is a long-time friend that I      11   and he does something that I love, which is music.
12   know for a long, long time and -- I've just known       12   So he could just call me and say, Hey, you know, I'm
13   him for a long time. We worked together. We've          13   going to e-mail you some music. Can you sing it for
14   done music together, yeah.                              14   me? And I -- or can you write it, because I'm a
15        Q    And how long was Mr. Blanding your travel     15   writer too.
16   companion?                                              16             And I'd say, Okay.
17        A    Just that one year.                           17        Q    Well, I assume he'd paid you something for
18        Q    And why did you take Mr. Dais off and make    18   doing that. Yes?
19   Mr. Blanding your travel companion?                     19        A    No, no.
20        A    Because we had -- we broke up for a little    20        Q    He didn't?
21   bit, until we got back together.                        21        A    No. I'm being honest, no, because we go
22        Q    Got you.                                      22   back 20 years. Like we've known each other for a
23             And how did -- how is it that among           23   long time. So I just -- I would just do it for him
24   your -- all your friends and all your family members    24   because that's -- we're cool. We're cool like that.
25   Mr. Blanding was the person who got the benefit of      25        Q    So all the work you did, the singing and


                                                  Page 162                                                     Page 164
 1   that pass?                                               1   the writing was all done for free?
 2        A    Oh, that -- I mean we've been friends for      2        A    Oh, if it wasn't, I probably would be a --
 3   a long time. Like we've just been friends for a          3   it was -- it was done for free. I have not made
 4   very, very, very long time.                              4   anything with him.
 5        Q    And how did you come to choose him? Did        5        Q    So when I ask Mr. Blanding that question,
 6   he ask?                                                  6   he'll testify that he's never paid you any money for
 7        A    No. I just -- I was real clear on he           7   anything that he's done?
 8   wasn't on there no more. We broke up. Hey, you           8        A    Absolute -- you need my mother here on
 9   want to fly?                                             9   that one. Absolutely not.
10             Cool.                                         10        Q    And then what caused you to take
11             Act like you've got some sense, you know,     11   Mr. Blanding off as your travel companion and
12   it's pleasure. And I don't even think he even flew      12   begin --
13   that much so --                                         13        A    We started back talking. We --
14        Q    Mr. Blanding is in the music production       14        Q    You and Mr. Dais?
15   business, like --                                       15        A    Yes, we did --
16        A    Yes, he is.                                   16        Q    Okay.
17        Q    Just like Mr. Dais; correct?                  17        A    -- we did.
18        A    Uh-huh. That is his job.                      18        Q    And during the July 15th interview, you
19        Q    Did you ever work for him?                    19   were asked about the places that Mr. Dais had
20        A    I didn't work for him. We just worked         20   traveled; correct?
21   together. We did a lot of -- a lot of work              21        A    Uh-huh.
22   together.                                               22        Q    And you identified three; correct?
23        Q    What kind of work did you do together?        23        A    Here's the thing. Well, I don't know how
24        A    Just music, a lot of music.                   24   that is in your paperwork. I wouldn't -- I did not
25        Q    Were you working together during the year     25   identify three. I was real clear, Ben, with Kiha


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 42 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 165                                                     Page 167
 1   that -- as she was asking me a lot of questions just     1        A    To be honest, Ben, again, that was two
 2   back to back, you know, unexpected me, I -- I can't      2   years ago, I do not remember all of the line of
 3   clearly say that I could just sit there and just say     3   questioning she asked me. She probably did ask me
 4   every single place that I had ever booked him to.        4   that. If I remember correctly, I might have said, I
 5   And I was honest with her. I said, you know, I -- I      5   don't know, Phoenix or California, you know,
 6   wrote down what I could write down, but I'm in the       6   because -- and then -- well, I guess that will be on
 7   middle of my workday. As a matter of fact, the day       7   the -- because I know all of that, so you probably
 8   that I was there, I was working for somebody.            8   going to get to that in a minute, so I'll just --
 9        Q    How many did you identify for Ms. --           9        Q    Do you remember being asked who booked
10        A    I'll be honest, and I'm not -- I don't        10   Mr. Dais's travel?
11   have that piece of paper, but I know you might have     11        A    Yes, I do. She did ask me that.
12   it. I actually wrote down a number of the places,       12        Q    And what was the answer to that question?
13   and I gave her that before we left out the day. And     13        A    Myself.
14   then she says, Well, I'm going to suspend your --       14        Q    You booked all of his travel.
15   when I came back in, because they had me --             15        A    Yes. I did state that to Kiha, uh-huh.
16        Q    I haven't asked you any of this.              16        Q    Okay. And how did you do all of -- book
17        A    Oh, okay.                                     17   all of his travel?
18        Q    Ms. Stevenson, again, I'm begging you,        18        A    Did I -- I guess from my phone sometime,
19   answer my question.                                     19   you know, if I'm -- like, you know, through e-mails
20        A    Oh, because I think it's pertinent to what    20   or just -- like we go on the TravelNet. You can --
21   you're asking me.                                       21   you have to go on the TravelNet and book the flight.
22        Q    I am asking you -- listen real hard to my     22        Q    So let me be -- let me be perfectly -- let
23   question, and answer my question. I promise you         23   me make sure I understand.
24   this will go faster.                                    24             So Mr. Dais would contact you, and say, I
25             You're in the interview. You were asked       25   need a flight from -- on X day to X place?


                                                  Page 166                                                     Page 168
 1   by Kiha to name the places where Mr. Dais had            1        A    Yeah, or like if he got -- sometimes if he
 2   traveled; correct?                                       2   would get stuck somewhere, I could be in the middle
 3        A    Right.                                         3   of my shift or something. Like I'll say, Hey, I'll
 4        Q    And you identified -- at that meeting you      4   have to check my -- hey, I'm at work right now. I
 5   identified three places; correct?                        5   can't talk. Call you on a break.
 6        A    I can't say that I can remember if it was      6             You know, I'm stuck in the airport. I
 7   three. I really -- I think that I remember it might      7   need to be booked blah, blah, blah, or I need a --
 8   have been more. It could have been less than that.       8   to get out of California, to get back.
 9             But as I stated to her, I said, I don't        9             So then I'd say, Hey, let me hit you back
10   remember back in '07.                                   10   on a break. I'm in the middle of my shift. And on
11             And then she correct me, she said, I don't    11   a break I would sometimes go and say, hey, look at
12   need to -- you don't even have to go that far back.     12   the flights on my break, like you could. And I
13   I don't -- I know you probably don't -- I don't. I      13   stated all this to Kiha. And I'd say, Hey, I just
14   don't remember even -- at the spur of the moment        14   booked from the Atlanta connecting in Phoenix,
15   like that she was asking me. And I stated it to her     15   Phoenix to -- I'm just throwing something out there,
16   like that.                                              16   like wherever, Philadelphia back through Orlando,
17             And she agreed. She said, I don't             17   Orlando, however. And I'd tell him you've got to
18   expect -- I don't expect you to remember every place    18   take that route now. And I'd just send to him and
19   back from 2010-07.                                      19   send his confirmation.
20             I said, I'm in '15 -- well, at the time,      20        Q    And this would be by text? Is that how
21   yeah, '15. I don't remember. I just feel like I         21   this would typically take place?
22   was blindsided, again, wrongly. I just -- I feel        22        A    Sometimes, yes, text message. I still
23   like it was very unfair.                                23   would have to go on --
24        Q    Do you remember being asked the last place    24        Q    On the DeltaNet.
25   that Mr. Dais had traveled?                             25        A    Yeah, go into the -- into my DeltaNet.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 43 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                                June 29, 2017

                                                  Page 169                                                      Page 171
 1        Q    So when I check the text records and when      1               I said, Yes, he does. He's a resident.
 2   I check the cell phone records, I'll see                 2        Q      You're answering much more than my
 3   confirmation of all of them. Yes?                        3   question.
 4        A    Yes, yeah.                                     4             My question is, did the topic of a funeral
 5        Q    All right. Did he -- strike that.              5   come up?
 6             You were asked during the interview            6        A    Yes, the funeral came up. And she asked
 7   whether you and Mr. Dais had ever traveled together;     7   me, she said, So he went to the funeral with your --
 8   correct?                                                 8   with you and your aunt.
 9        A    I'm so glad you asked me that. Yes.            9             I said, Absolutely not. He was there
10        Q    And you said -- the answer to that            10   doing something else. I said, I was at my aunt's
11   question was yes; correct?                              11   funeral. We've never traveled together. I said
12        A    No.                                           12   that like two or three time. I said, Kiha --
13        Q    So you did not tell Delta you had traveled    13        Q    How did the topic of a funeral first come
14   together.                                               14   up, Ms. Stevenson?
15        A    I was really clear to Kiha that we had not    15        A    I'll be honest, I don't even remember how
16   traveled. There was a moment right in that section      16   that came up. I might have said it myself because
17   where Mehret, whatever her name is, I think it's --     17   that was my aunt.
18   Mehret and her were kind of overlapping each other      18        Q    So you said that you -- so you were asked
19   talking. And Kiha was like, Wait a minute, let me       19   whether or not you had traveled with Mr. Dais, and
20   ask you again. And she said something. She's like,      20   you raised the topic of the funeral?
21   So which one is it? Are you trying to --                21        A    I'll be honest, I don't remember what the
22             And I said --                                 22   line of questioning was. But I do remember stating
23             So yes you took --                            23   to her, My father -- I mean we had never traveled
24             No. I'm not saying that we traveled           24   together. That was me and my father.
25   together. We were just there around that same time,     25        Q    So you and Mr. Dais are --


                                                  Page 170                                                      Page 172
 1   which was in California at the time.                     1        A    But they did --
 2             And she asked me again. I said, I'm being      2        Q    -- boyfriend and girlfriend; correct?
 3   clear. We have never traveled together.                  3        A    Uh-huh, uh-huh.
 4        Q    Did you tell Delta and those interviewers      4        Q    And Mr. Dais is your travel companion;
 5   that you and Mr. Dais had gone to a funeral?             5   correct?
 6        A    No.                                            6        A    Uh-huh, uh-huh.
 7        Q    You never -- did the word funeral ever         7        Q    And Mr. Dais does a great deal of travel;
 8   come up?                                                 8   correct?
 9        A    Funeral did come up. I was real clear          9        A    Yes.
10   about that.                                             10        Q    And you guys have never once, even though
11        Q    What did you say?                             11   he's your travel companion --
12        A    That he was out there for -- he's a dual      12        A    (No response, indicating.)
13   resident. At the time, the Mehret person is like,       13        Q    Can you explain why?
14   Well, because I kind of know everything because I       14        A    Why? I mean --
15   follow him.                                             15        Q    Why have you never traveled together?
16             And I said, Okay.                             16        A    We just have not. And I -- Kiha, she
17             I follow him all the time on Twitter and      17   asked me, and I said we didn't. And we've dated for
18   his Instagram. I see everything that he does.           18   a very long time.
19             And I -- again, I don't know what's going     19        Q    You were asked, were you not, about
20   on here, Ben. I wasn't prepared for it. I said,         20   Mr. Dais's trip that he took in early June of 2015
21   Okay. So, you know, what are you saying?                21   to --
22             Well, you know, I see he goes for shows.      22        A    I was asked what?
23             I said, Well, that's pleasure. I said,        23        Q    About Mr. Dais's trip to California in
24   But he lives there.                                     24   early June of 2015.
25             No, he doesn't live there.                    25        A    Yeah. I think she asked me that. That


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155                YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 44 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 173                                                     Page 175
 1   was the one where Mehret was like she follows him,       1   career. That I take and I took seriously, and this
 2   she follows my boyfriend --                              2   was my livelihood. And I --
 3        Q    Okay.                                          3        Q    How do you know?
 4        A    -- on Twitter.                                 4        A    Well, it's kind of like -- like I think I
 5        Q    And why did you --                             5   might have said to Kiha then it's like, Do you know
 6        A    And I was real clear about something with      6   where your husband is every five minutes, like --
 7   that.                                                    7   because, you know, I'm not married yet, but I would
 8        Q    Why did Mr. Dais go out to California in       8   like to know somebody who knows where their spouse
 9   early June of 2015?                                      9   is 24 hours a day. Most people don't these days.
10        A    Here's the thing, I do not know because I     10        Q    You --
11   didn't -- as I stated to her, I said, I don't know      11        A    I said that. I'm just saying, I don't
12   because I don't keep --                                 12   know.
13             Well, I'm going to tell you. This is what     13        Q    Okay.
14   the Mehret lady said. Well, I'm telling you, well,      14        A    And I was honest with her. She was like,
15   he went for some shows.                                 15   Okay.
16             Well, he goes for fun. People -- he goes      16             And then I asked her a question, I said,
17   to shows. He goes to concerts. I did state that to      17   so am I supposed to know --
18   her.                                                    18             Well, yeah, you're supposed to know when
19        Q    All right. You don't know why he went in      19   they leave the airport. I remember that being --
20   June of 2015.                                           20             I said, How am I supposed to know, you
21        A    I only know what Kiha and Mehret told me.     21   know, that they went and got a hamburger when they
22        Q    You've never asked Jovan that question?       22   left the airport. I mean I didn't say that -- that
23        A    No. I'm being honest with you, I -- as I      23   part. I'm just --
24   said to Kiha, and I even sent her an e-mail, I said,    24        Q    Well, you understand you were responsible
25   I cannot account for -- I was -- because I'm going      25   for ensuring --


                                                  Page 174                                                     Page 176
 1   real personal, and I didn't even want to go              1        A    Right.
 2   personally. Like I told her, I -- our                    2        Q    -- they complied with Delta policy;
 3   relationship -- like we just -- I don't -- I told        3   correct?
 4   her -- we don't -- I don't -- he's a different kind      4        A    I did. And, like I said --
 5   of guy. Musicians are -- like I don't really get         5        Q    And --
 6   into where you at, what -- I'm just -- and               6        A    -- whenever I book it, and I said this to
 7   everything I'm saying to you right now, Ben, I said      7   her, I said, I'm booking it, and it's for pleasure.
 8   it the way -- that I said it to Kiha, I'm saying it      8   Well, I didn't have to say that to my people because
 9   to you.                                                  9   they understand. My friends and family know. When
10        Q    You have no --                                10   my parents flew they know, hey, you're flying for
11        A    I don't question him and say -- all I know    11   pleasure.
12   is act like you got -- everybody act like you have      12        Q    But you don't know whether Jovan was doing
13   some sense. This is pleasure. Enjoy this. It's a        13   that or not. He might have been going for business.
14   benefit, key word benefit. Don't give the gate          14   You don't know.
15   agent any problems, which that has never occurred or    15        A    No, he was not going for business.
16   anything.                                               16        Q    How do you know? You don't know what he
17        Q    So you don't --                               17   was doing there.
18        A    I just never -- I didn't -- and I told        18        A    He wasn't. He --
19   Kiha, I said, I know that I booked his travel for       19        Q    How do you know?
20   pleasure. I said that maybe six times during the --     20        A    He -- he was going for business -- I mean
21        Q    How do you know that, if you don't know       21   he was going for pleasure, I'm sorry, correct me.
22   why he was going?                                       22   He was going for --
23        A    Because I know he was going for pleasure.     23        Q    How do you know --
24        Q    How do you know?                              24        A    -- pleasure.
25        A    Because he knows -- he knows this is my       25        Q    You don't know what he was doing there?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 45 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 177                                                     Page 179
 1        A    I was really clear with Kiha that he's         1   trip?
 2   always going for pleasure.                               2        A    He was there for pleasure and to see his
 3        Q    How do you know that he wasn't traveling       3   daughter. I made -- I said that to Kiha.
 4   for business in June of 2015?                            4        Q    So he saw his daughter out there?
 5        A    Ben, I --                                      5        A    Yes. And --
 6        Q    You don't.                                     6        Q    How long was he out there?
 7        A    Ben. I don't know what nobody is doing         7        A    I mean he goes back and forth. I'll be
 8   for -- I'm just saying when they -- I don't know         8   honest, I don't calculate, oh, he came back in five
 9   what anybody is doing, let's just be clear, if I'm       9   day, four days. He's a dual resident there, and his
10   not with him 24 hours a day. I said that to Kiha.       10   daughter -- his little girl lives there.
11   But I know he was traveling for pleasure when I         11        Q    How long was he out there on this
12   booked the trip. And I said that to Kiha.               12   particular trip?
13        Q    Well, how do you know -- you don't know       13        A    I do not know. I could ask him how long
14   what he was doing in California; right?                 14   he was there.
15        A    Well, I know he has a daughter there, and     15        Q    But you never asked.
16   he's a dual resident. And I made that clear. And,       16        A    Because Kiha didn't ask me that. She
17   at the time, Mehret said, No, he doesn't --             17   didn't ask me. I don't think she asked me -- she
18        Q    Ms. --                                        18   never asked me how long. But, yeah, I mean it's
19        A    -- but he does.                               19   emotional because that's his little girl.
20        Q    Ms. Stevenson, stop.                          20        Q    You don't know what he was -- how many
21        A    It's not for business.                        21   days he was out there or what he was doing, do you?
22        Q    You don't know what --                        22        A    Well, I never ask him how long he's
23        A    No. I do know he has a daughter.              23   staying or nothing like that, Ben. I mean I'm just
24        Q    Stop. You don't know on this particular       24   being honest, I don't. Because he has a little girl
25   trip --                                                 25   out there. I'm not the child's mother.


                                                  Page 178                                                     Page 180
 1        A    Oh, you're talking about that trip.            1       Q     Okay. I want to be perfectly clear.
 2        Q    Right. You don't know what he was doing        2             You don't have any personal knowledge of
 3   out there, do you?                                       3   what he was doing --
 4        A    He was out there for pleasure.                 4        A    I do now.
 5        Q    How do you know?                               5        Q    -- on that trip.
 6        A    According to Mehret, and whatever she          6        A    I'm saying based off of -- I'm being
 7   stated that she saw, it clearly shows pleasure.          7   clear. I have -- the only knowledge I have is -- of
 8        Q    What do you -- what was he doing out           8   course we talked about it after all of the charades.
 9   there?                                                   9   But based off of what Mehret and Kiha stated to me,
10        A    She says a show. He wasn't doing a show.      10   a bunch of bologna. Like I know why he was there.
11   People go to concerts for pleasure. I mean I go to      11        Q    Stop.
12   other states and go to a concert for pleasure. Like     12        A    I don't, other than what they told me. I
13   you can't go to a concert for pleasure?                 13   know what --
14        Q    Ms. Stevenson, let me ask you a question.     14        Q    You don't --
15             You've never talked to him about what he      15        A    I'm saying all I -- what I know -- what I
16   was doing in California; right?                         16   know is what Kiha and Mehret told me. That's all I
17        A    I mean after all of this happened or          17   know. Because they gave me the reason. Because
18   whatever, and he thought -- he was like, What do you    18   that part of the question came up. They said, You
19   mean? I always travel for pleasure. And he's a          19   know what, we're going to tell you why he was there.
20   dual resident.                                          20   He was there for a show. But it wasn't his show. I
21        Q    Stop. You never talked to him -- listen       21   made that clear. And she's like, Okay. Well, we're
22   to my --                                                22   telling you --
23        A    Yes, I said afterwards. Yes, we had -- we     23        Q    How do you know it wasn't his show?
24   did talk about it.                                      24        A    I'm saying that's what they -- they said
25        Q    What was he doing in California on this       25   to me a show. So I'm saying when I think show,


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 46 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 181                                                     Page 183
 1   people go to shows. I know they go to shows and          1   do you know -- how can you show us -- you know,
 2   concerts.                                                2   well, you need to provide something for that, which
 3        Q    Ms. Stevenson, we've gone around and           3   eventually that came up, and I had to provide that.
 4   around on this.                                          4        Q    Did he spend much time with his daughter
 5        A    Because when he's on tour --                   5   on that trip; do you know?
 6        Q    Let me be perfectly clear.                     6        A    I'll be honest, when he's out there,
 7        A    -- he's on a bus.                              7   according to what -- you know, what I can see, as
 8        Q    All you know is what Kiha --                   8   far as like a picture in his phone, he -- he tends
 9        A    What they told me.                             9   to -- when he's there, he spends a lot of time
10        Q    -- and Mehret told you.                       10   with --
11        A    Uh-huh.                                       11        Q    And that would have been true in this June
12        Q    You don't know any -- you don't have any      12   trip? He spent a lot of time with her?
13   other information as to what he was doing out there     13        A    I mean -- again, I would hope he did. I
14   in California on that trip.                             14   would hope he saw her. That's what I -- that's the
15        A    Well, other than what they told. She said     15   thing I told you I wrote --
16   she saw --                                              16        Q    So you don't know whether he actually saw
17        Q    Other than what they told you, you don't      17   her or not.
18   have any other knowledge.                               18        A    No. He saw his daughter. I'm sure he --
19        A    Other than what she also said to me           19        Q    For how long?
20   online, because they sent me something online.          20        A    I didn't ask him, Ben.
21   That's what I'm saying. I know that part.               21        Q    How do you know he saw his daughter?
22             And it's all what Kiha and Mehret -- she      22        A    He saw his -- no. I mean he saw his
23   says she follows -- I follow your boyfriend.            23   daughter. You're asking me the time. That's not
24             I said, Okay.                                 24   fair.
25        Q    Other than what they told you --              25        Q    All he told is he --


                                                  Page 182                                                     Page 184
 1        A    Uh-huh.                                        1        A    It's not fair. It's not fair. Yeah, he
 2        Q    -- and what you saw online, and we'll look     2   saw -- believe me, he's not -- he's a good father.
 3   at that in a minute --                                   3   I'd like to have a baby. He's not -- he's not not
 4        A    Uh-huh.                                        4   going to go to California and not see -- that's his
 5        Q    -- you don't have any other source of          5   baby girl. That's his baby girl.
 6   knowledge of what he was doing there.                    6        Q    How old is his daughter?
 7        A    No, other than what he's told me.              7        A    Imari is -- I think she's 14. She should
 8        Q    Okay. What specifically did he tell you?       8   be about 14 now.
 9        A    He was out there for pleasure and to see       9        Q    But other than him telling you that, you
10   his daughter.                                           10   don't know if he was telling you the truth or not.
11        Q    Okay. That's what he told you?                11        A    No. I know he was telling the truth. But
12        A    Yeah. I told Kiha that.                       12   I know Mehret wasn't aware that he had a third
13        Q    What pleasure was he out there for?           13   daughter, but she was aware that he had two other
14        A    I mean I don't -- again, I don't -- I         14   daughters.
15   don't -- I don't ask him, Oh, did you and your          15        Q    How do you know he was telling you the
16   friends go to the bar? Where was you at? I'm            16   truth?
17   not -- I never -- I'm not that type of woman. I         17        A    What, that he saw his daughter?
18   don't -- where you at, why --                           18        Q    (No response, indicating.)
19        Q    So he only told you two things. He was        19        A    He saw his daughter.
20   out there for pleasure, and he saw his daughter.        20        Q    How do you know he told you the truth?
21             Is that all he told you?                      21        A    I'm not a psychic.
22        A    Yeah. He was out there for -- yeah, I         22        Q    You don't know.
23   told Kiha that. Pleasure, he saw his daughter.          23        A    I'll just say I'm not psychic.
24   He's a dual resident. I said that as well.              24        Q    So you don't know. He might have --
25             And Mehret at the time was like, Well, how    25        A    He tells me he sees -- he sees his


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 47 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 185                                                     Page 187
 1   daughter.                                                1        Q    Mr. Dais is a producer, and Mr. Boyette is
 2        Q    All right.                                     2   an artist; correct?
 3        A    He better.                                     3        A    Yes, he is an artist.
 4             (Exhibit 14 was marked for                     4        Q    All right. And Mr. Dais also goes online
 5        identification.)                                    5   by a name -- by the name -- I'm sorry -- strike
 6   BY MR. STONE:                                            6   that.
 7        Q    Let me show you what's been marked as          7        A    Yeah, Jino. You said --
 8   Exhibit 14.                                              8        Q    Yeah. Mr. Boyette also goes by the name
 9             You mentioned that you --                      9   Jino, J-I-N-O.
10        A    Yeah, I wrote this.                           10        A    Uh-huh.
11        Q    That's your written statement that you        11        Q    Yes?
12   provided.                                               12        A    Yes. That's his rap name.
13        A    Uh-huh. This is my handwriting.               13        Q    All right. And you're aware that on the
14        Q    Okay. Did you --                              14   particular trip we've been talking about, the
15        A    I was asked to write that like right then     15   June 2015 trip, that the reason for the trip was
16   and there. So, again, I wrote as fast as I could.       16   that Mr. Boyette was performing?
17        Q    Did you provide any written statement         17        A    Wait a minute. Who said what? Can you
18   other than Exhibit 14?                                  18   say that again?
19        A    No, this is all. This is all that I gave      19        Q    Sure. That the reason for the trip that
20   that particular -- like I said, while I was in there    20   Mr. Dais and Mr. Boyette took to California in June
21   with Frank Cortes.                                      21   of 2015 was because Mr. Boyette was performing.
22             (Exhibit 15 was marked for                    22        A    Okay. You're asking me that, or you're
23        identification.)                                   23   telling me that.
24   BY MR. STONE:                                           24        Q    I'm asking if you're aware of that fact.
25        Q    And then let me show you Exhibit 15, and      25        A    Like I said to Kiha, when I -- when I


                                                  Page 186                                                     Page 188
 1   ask you if that's an e-mail that you sent. And it's      1   booked the trip, it is for pleasure. It is not for
 2   an e-mail you would have sent to --                      2   anybody to go make money or anything like that. I
 3        A    Yeah. I think --                               3   was real clear on that.
 4        Q    -- Kiha Jones?                                 4        Q    That's not -- that doesn't answer my
 5        A    Yeah, I think. I'll just reread it. Just       5   question.
 6   looking at the top of it, I think I remember. Yeah,      6             Are you aware that the reason for the trip
 7   that's what I was saying. I did send this. I do          7   is that Mr. Boyette was performing in a concert?
 8   not have -- yep, uh-huh.                                 8        A    No. And, like I said -- no. Like I
 9        Q    All right.                                     9   stated, Ben, you asked me the question, I'm giving
10        A    Yeah.                                         10   the answer that I gave to Kiha. It was for
11        Q    You're aware that on this particular trip     11   pleasure. They go to shows. They go to concerts.
12   that we've been talking about, this June 2015           12   There's no compensation. Clearly, there's no
13   trip --                                                 13   compensation --
14        A    Uh-huh.                                       14        Q    So Mr. Boyette --
15        Q    -- that Mr. Dais traveled with a gentleman    15        A    -- because I know their financial.
16   named Caleb Boyette; correct?                           16   There's no compensation.
17        A    Yes, she told me.                             17        Q    Well, Mr. Boyette was performing in this
18        Q    And Mr. Boyette is a client of Mr. Dais;      18   show; correct?
19   correct?                                                19        A    Like I stated to Kiha, it's for pleasure.
20        A    No, not a client. Actually, a friend.         20   They --
21   They're friends. And they work together -- they         21        Q    Ms. Stevenson --
22   work together, and they're friends. Yeah, they do.      22        A    -- go to the club.
23        Q    He helps -- Mr. Dais helps Mr. Boyette        23        Q    -- enough. You're playing a game here.
24   with his music business; correct?                       24        A    I'm not --
25        A    They do music together, yes.                  25        Q    I'm asking you a very simple question.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 48 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 189                                                     Page 191
 1        A    Ben, I'm not --                                1        Q    Ms. Boyette --
 2        Q    Stop.                                          2        A    It's for --
 3        A    Ben, I'm not --                                3        Q    -- Ms. Stevenson --
 4        Q    I'm asking you --                              4        A    I don't think it's funny. This has been
 5        A    You're telling me how to answer.               5   my life and my career that's been turned back upside
 6        Q    -- a very simple question.                     6   down.
 7        A    You can't tell me how to answer. I'm           7        Q    Ms. Stevenson --
 8   hearing your question. But I'm saying I've giving        8        A    And I was -- I've been a very -- a great
 9   you the same -- it's the truth. This is the same         9   employee above and beyond when I was there.
10   thing that --                                           10        Q    Ms. Stevenson, the judge is going to read
11        Q    No, it's --                                   11   this transcript, and she's going to be very troubled
12        A    -- I said to Kiha. This is not a game for     12   by it.
13   me. This has been my life and my career. And I          13        A    Well, why is she going to be troubled --
14   don't play with that. I may look like I'm 21 --         14        Q    Because you're --
15        Q    Ms. Stevenson --                              15        A    -- when I'm giving you an honest answer.
16        A    -- or 20 --                                   16        Q    No, you're not. You're not answering --
17        Q    -- stop.                                      17        A    I'm giving you the same answer I gave
18        A    -- but I'm a grown woman.                     18   Kiha.
19        Q    Stop.                                         19        Q    But it's --
20        A    And this is my life. I'm not playing with     20        A    It's the truth.
21   my career --                                            21        Q    It's not.
22        Q    Ms. Stevenson --                              22        A    It's consistent, and it's the truth.
23        A    -- to be blindsided.                          23        Q    Ms. Stevenson --
24        Q    -- we're going to get the judge on the        24        A    I was not there in California.
25   phone in a minute.                                      25        Q    Was Mr. Boyette performing, yes or no?


                                                  Page 190                                                     Page 192
 1        A    Oh, that's fine.                               1        A    I was not there.
 2        Q    You have an obligation to answer the           2        Q    You don't know.
 3   questions.                                               3        A    I was not there.
 4        A    I'm answering you.                             4        Q    Was Mr. Boyette --
 5        Q    Listen --                                      5        A    I was in Atlanta.
 6        A    But that's the answer I gave Kiha. It          6        Q    Was Mr. Boyette paid?
 7   doesn't change. It's the truth.                          7        A    I was not there. I don't -- I don't know
 8        Q    You haven't answered my question.              8   that.
 9        A    I did.                                         9        Q    You would agree with --
10        Q    Did Mr. Boyette --                            10        A    That's not a fair question --
11        A    I'm answering you.                            11        Q    But you would --
12        Q    Listen to my question.                        12        A    -- because I don't know that.
13        A    I told her when I booked the trip, it is      13        Q    You would agree --
14   for pleasure. That is all I said to Kiha.               14        A    Kiha didn't even ask me that.
15        Q    Yeah. Ms. Stevenson --                        15        Q    You would agree with me, Ms. Stevenson,
16        A    I'm not booking --                            16   that if Mr. -- listen to me.
17        Q    -- we can do this all day.                    17        A    Uh-huh.
18        A    -- nothing for business.                      18        Q    If Mr. Dais and Mr. Boyette were traveling
19        Q    Was Mr. Boyette performing in that concert    19   to a show so that Mr. Boyette could get paid --
20   or not?                                                 20        A    Oh, no.
21        A    Like I said to -- I was not there. And I      21        Q    -- then it would be --
22   said all this to --                                     22        A    No.
23        Q    So you don't know.                            23        Q    -- business; correct?
24        A    I know when I -- when I booked the trip it    24        A    No. They don't get paid. They don't get
25   is for pleasure.                                        25   paid.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 49 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 193                                                     Page 195
 1        Q    How do you know? You just said you didn't      1        A    Yes.
 2   know.                                                    2        Q    And when Mr. Dais and Mr. Boyette was
 3        A    No. You're trying to put words in my           3   traveling together, Mr. Boyette, because he was
 4   mouth, Ben. That is not the way of it. No, no, no,       4   having to use buddy passes, was -- had to pay some
 5   no, no, no.                                              5   taxes and fees; correct?
 6             Do you know how many shows I've done free?     6        A    Yeah, yeah.
 7   All of them.                                             7        Q    And Mr. Dais paid all those taxes and fees
 8        Q    Yeah. Ms. Stevenson, you just                  8   for Mr. Boyette; correct?
 9   testified --                                             9        A    I -- I mean you're asking me a question --
10        A    No, all of them.                              10   no. I mean I don't -- to my understanding, I think
11        Q    -- you didn't know.                           11   his mom manages him or whatever too. So I -- again,
12        A    I don't know. I said I wasn't there. But      12   I don't know. I can't answer that question. I
13   I know that they don't get paid. They're not --         13   don't know. I'll be honest now, I do not know who
14   they don't get paid for that.                           14   pays for -- for this kid's stuff. Now that I don't
15        Q    How do you know?                              15   know.
16        A    I wasn't there. That was my -- that's         16        Q    All right.
17   my -- that was my boyfriend. If anybody knows the       17        A    Because he is not -- yeah. He don't --
18   financial situational state, believe me, I do.          18   that's not his kid. They do shows, but that's not
19        Q    How do you know that Mr. Boyette --           19   his kid.
20        A    Believe me, I know.                           20             (Exhibit 16 was marked for
21        Q    -- did not get paid?                          21        identification.)
22        A    If anybody knows the struggle, I do.          22   BY MR. STONE:
23   That's the fact. That's the truth.                      23        Q    Let me show you what I'm going to mark as
24        Q    How do you know that Mr. Boyette didn't       24   Exhibit 16.
25   get paid for this show?                                 25        A    I saw that. I think they sent that to me


                                                  Page 194                                                     Page 196
 1        A    I was not there.                               1   in the mail.
 2        Q    So you don't know.                             2        Q    So you've seen that before?
 3        A    I was -- I was -- you're asking -- I said      3        A    Yeah. They sent that to me.
 4   I wasn't there.                                          4        Q    And you recognize that as something that
 5        Q    So you don't know.                             5   Delta had that reflected social media
 6        A    I wasn't there.                                6   communications --
 7        Q    Do you know?                                   7        A    Right, she told me about that.
 8        A    I was not there. No, I do not know. I          8        Q    -- both by Mr. Dais and --
 9   wasn't there. Exactly.                                   9             You've got to let me finish my question,
10        Q    All right.                                    10   Ms. Stevenson.
11        A    But I -- we're not talking about that.        11        A    I'm sorry. Go ahead.
12   We're talking about travel. This is why I lost --       12        Q    You recognize that, Exhibit No. 16, as a
13   well, I don't know. We'll get to that in a minute.      13   document that Delta had that reflected social media
14   But I wasn't there.                                     14   communications by Mr. Dais and Mr. Boyette about the
15        Q    Okay. Mr. Boyette and Mr. Dais traveled       15   reason for the trip on June 15th; correct?
16   together frequently when Mr. Dais was using your        16        A    Uh-huh.
17   travel passes; correct?                                 17        Q    Yes?
18        A    Say what?                                     18        A    Yeah. I saw this. Yeah, they sent this
19        Q    Mr. Boyette and Mr. Dais traveled together    19   to me.
20   on repeated vacations.                                  20        Q    Okay. And because you were not in
21        A    Uh-huh. I guess -- I guess they have --       21   California, you don't know what time, for example,
22        Q    Yes.                                          22   Mr. Boyette went on to the show --
23        A    -- when they traveled together.               23        A    Yeah. Like I said, I don't know --
24        Q    When Mr. Dais was using your travel           24        Q    -- or what time --
25   passes; correct?                                        25        A    -- what time their stuff is. I don't. I


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 50 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 197                                                     Page 199
 1   was at work, I'm sure.                                   1   Cole the whole -- for the most part of that -- for
 2        Q    Okay. Where else did Mr. Dais and              2   that most part of that tour all over the place,
 3   Mr. Boyette travel together?                             3   America, he -- I don't even -- I think he might have
 4        A    Again, like I -- as I stated to Kiha, I        4   flown maybe one time. The entire tour, they were on
 5   can't say that I remember every single place,            5   a bus.
 6   especially now even at this point. Even at that          6             And so she was like, she said, Okay.
 7   time, which was now about two years ago, it's -- I       7             So I said, So on that tour, he didn't --
 8   wrote out as much I could, as fast as I could            8   he didn't fly. You know, like he didn't use my
 9   because I was on the spot, like write it all out, so     9   benefits, even though it was for pleasure. That
10   I -- it's here. I mean Phoenix. I don't even think      10   whole time he was on a bus. I mean but here's the
11   Phoenix is on here.                                     11   thing. They were on a bus. They didn't use -- and
12             But, again, I wasn't given that -- I          12   if he had to call me for something, I -- of course,
13   wasn't -- I was only given a set time to write this,    13   I would book it, like if he got stuck somewhere.
14   which was less than five minutes or so. And I wrote     14             But, again, a pleasure trip. If they got
15   out what I could write out as fast as I could. So,      15   a break. Hey, we're going to go down to Miami for
16   clearly, I do not have everything, you know, as far     16   two days. Keesha is giving us a break, that's how
17   as -- yeah.                                             17   the particular conversation would go. Keesha is
18        Q    Okay.                                         18   giving us a break for two days. Hey, I'm going to
19        A    But I'll reiterate, it's always for           19   come back to the Atlanta, blah, blah, blah. That's
20   pleasure, which is what I said to Kiha.                 20   how that went. He was on a bus for that tour.
21        Q    Yeah. I know you say that, Ms.                21        Q    So let me make sure --
22   Stevenson --                                            22        A    So he wasn't flying on Keesha Cole to
23        A    It is true.                                   23   different places. They were on a bus.
24        Q    -- but you don't know.                        24        Q    So what's the name of this artist you're
25        A    I wouldn't live a life like that. I           25   talking about, Keesha Cole?


                                                  Page 198                                                     Page 200
 1   wouldn't.                                                1        A    Yeah, Keesha Cole.
 2        Q    Yeah. Why was Mr. Boyette traveling to         2        Q    What kind of artist is she?
 3   Houston for pleasure?                                    3        A    She's an R&B artist. I like her. She
 4        A    I'm sorry, say that again.                     4   makes good music.
 5        Q    Why was Mr. -- I'm sorry -- strike that.       5        Q    Does he represent her?
 6             Why was Mr. Dais traveling to Houston for      6        A    No. He doesn't -- he doesn't --
 7   pleasure?                                                7        Q    Why is he touring --
 8        A    They do travel for pleasure to Houston. I      8        A    Well, that was, again, some years ago.
 9   think I remember Kiha asking me that. That's one of      9   But just --
10   the hangout spots when -- him and his boys hang out     10        Q    Helping her out?
11   there. Miami, I stated that to her, they go             11        A    Yeah, he knows -- it's all -- he knows the
12   clubbing. That's one of the places that they really     12   people that tour her. And so they just let him --
13   like to party.                                          13   I'll put it to you like they let him hop on the bus.
14        Q    Okay. What about St. Louis?                   14   And he just ended up going state to state. People
15        A    Same thing.                                   15   try to get their foot in the door. I guess
16        Q    Okay. So every place he went, he would go     16   he's trying to --
17   party?                                                  17        Q    Yeah, I'm with you. So he's riding -- so
18        A    I think I did St. Louis --                    18   he's trying to build his career.
19             Yes, they do. And as I -- I made real         19        A    Yeah, because clearly he didn't -- he
20   clear to her, like even when he did a tour, because     20   didn't get paid for that, and he was on a bus.
21   the Mehret lady, she vouched for what I said when I     21        Q    Okay. So he's -- and then if he gets --
22   said, Well, if you see something -- since you say --    22   if he's traveling with her, and he gets stuck
23   you say you follow my boyfriend.                        23   somewhere and he wants to get home, he'll call you,
24             Yes, I do follow your boyfriend.              24   and you'll get him home.
25             Okay. I said, He was on tour with Keesha      25        A    Well, I wouldn't -- let me -- I


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 51 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 201                                                     Page 203
 1   wouldn't -- I wouldn't want you to put the words in      1             (Exhibit 17 was marked for
 2   my mouth like that again. If she lets them off for       2        identification.)
 3   like two or three days, him and his buddies, they        3   BY MR. STONE:
 4   love Houston, they love Miami. Hey, I want to fly        4        Q    Let me show you Exhibit No. 17.
 5   down -- I want to go meet Dunn down in Miami. Okay,      5        A    Because that's what I was telling Kiha. I
 6   cool, something like that, but not for business.         6   was like I know you all -- you all can see
 7        Q    And then they would fly back and meet the      7   everything.
 8   tour up again?                                           8             THE WITNESS: Sheandra, you all got the
 9        A    Sometimes if she -- if her bus was coming      9        record, you know, so you all can see where we
10   through there, he would just -- you know, just get      10        can fly.
11   back on the bus.                                        11             So that's what I'm saying. It's a
12        Q    Or otherwise he would fly back and get        12        record -- you can see everywhere we fly.
13   her?                                                    13        That's why I was like --
14        A    Not -- again, not for business, Ben, not      14   BY MR. STONE:
15   for business.                                           15        Q    I haven't counted them. It's certainly
16        Q    Well, I'm trying to understand what you're    16   well over 100 trips here.
17   telling me.                                             17        A    Yeah, because he's been my -- I mean I've
18             He's on tour with this woman; correct?        18   been with Delta almost ten years, yeah.
19        A    Yeah. When he's on --                         19        Q    Well, I'm just talking --
20        Q    And he's flying there and flying back.        20        A    Oh, okay.
21        A    Right. What I was making clear to Kiha is     21        Q    I'm just talking in 18 months.
22   if you want to try to make it like -- at the time I     22        A    Oh, okay. Yeah.
23   was telling her you want to try to make it like         23        Q    And can you tell me on any one of -- for
24   business. It's not business.                            24   instance, I'll pick one at random. If I look at a
25             Because when he does that kind of             25   flight in -- in June of 2014, for example, I see


                                                  Page 202                                                     Page 204
 1   business, if he's on a bus -- anybody that knows         1   flights to Richmond.
 2   anything about the entertainment business, most of       2             Do you have any idea what he's doing in
 3   the time most artists are on buses. They're not in       3   Richmond?
 4   the air. They got to hit those cities. They're           4        A    Huh-uh.
 5   hitting -- he's on a bus.                                5        Q    No?
 6             So he's not -- he's not flying for             6        A    Virginia.
 7   business. He's just not. They're on a bus. That's        7        Q    Yeah.
 8   what -- they make their money with buses. But he's       8        A    Pleasure.
 9   not the one making the money. That's what I want to      9        Q    What is it? What's he doing; do you know?
10   make clear to you. Clearly, Keesha wasn't even          10        A    Again, I have to go back to what I said, I
11   making all of the money.                                11   mean I'm not with him on there. So, yeah, I can't
12             So, yeah, he's not -- he's just trying --     12   say, you know --
13   was trying to build himself up, and he happened to      13        Q    So you think it's for pleasure, but you
14   know somebody that rolls with her, and they let him     14   don't know what he's doing; correct?
15   get on because he knows a little bit about music.       15        A    I will say I know it's for pleasure but --
16             No. The money would have been nice. But,      16        Q    But you don't know what he's doing.
17   huh-uh, he didn't get paid for that.                    17        A    But I don't -- yeah, I'm not there with
18        Q    If I were to show you Mr. Dais's travel,      18   him. And I did state that to Kiha. I don't know.
19   and it's -- as you know, it's extensive.                19   I know -- well, he could have been up there with his
20        A    Yeah. I think I --                            20   father. His father is up in that area, you know.
21        Q    Would you be able to tell me on any given     21        Q    Are you aware of anybody else, other than
22   trip what it is he's doing?                             22   you, where Delta concluded --
23        A    Oh, I never -- can I see it, or is that       23        A    I just know --
24   something I can't see?                                  24        Q    You've got to let me finish my question,
25        Q    I'll show it to you.                          25   Ms. Stevenson.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 52 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 205                                                     Page 207
 1        A    Oh, okay. No. I wasn't trying to cut you       1   still working, and I don't have my job.
 2   off. I was venting, I'm sorry.                           2        Q    Anybody get written up for what you did,
 3        Q    Do you know of anybody else, other than        3   using travel passes for business purposes?
 4   you, Ms. Stevenson, who Delta found to have misused      4        A    Well, I didn't use my travel pass for
 5   their travel passes for business purposes?               5   business purposes.
 6        A    You said do I know anybody else?               6        Q    Did anybody get written up for misuse of
 7        Q    Do you know anybody else where Delta has       7   travel passes for business purposes that you know?
 8   made that determination?                                 8        A    I didn't -- like I said, I -- not that
 9        A    I mean I can't necessarily say like I know     9   I -- not that I can say I know right now.
10   I know. I mean people talk. Just to answer you          10        Q    Okay. Do you -- we talked a little bit
11   honestly, you know, people talk in conversations.       11   ago about your shoulder injury, that you hurt
12   You overhear stuff from people that you know, you       12   your -- or your shoulder and cervical injury from
13   work with, used to work with, say, Oh, this             13   the bag fall; correct?
14   person -- something about their companion. I don't      14        A    Yeah, my -- it's my neck and my shoulder
15   get off in the, you know, conversation and say, Oh,     15   and my back, but it's all -- yeah.
16   well, who is this or who is that? You know, you         16        Q    And you were on -- you were on leave as a
17   just hear people talking. I wouldn't say -- no, not     17   result of that, it looks to me, from roughly March
18   directly. I can't say, you know.                        18   of 2014 to roughly November 2014?
19        Q    Can you indirectly -- can you give me a       19        A    November 10. I think I remember the exact
20   name of anybody else that Delta --                      20   time, because it was the day after my birthday, I
21        A    No. I'm saying like I -- yeah, I --           21   think.
22        Q    So --                                         22        Q    All right.
23        A    I don't know.                                 23             (Discussion off the record.)
24        Q    -- if there is any such person --             24             (Brief break.)
25        A    I hear talks of it. But, like I said, I       25


                                                  Page 206                                                     Page 208
 1   here talks, Oh, this person got wrote up or -- I         1   BY MR. STONE:
 2   know one coworker had told me one time, I was still      2        Q    Ms. Stevenson, we're back on the record
 3   working there though, They saw frequent travelers,       3   here.
 4   saw my companion. Because he came out of the office      4        A    Yes, sir.
 5   upset. He's like, Well, they just wrote me up.           5        Q    Let me backtrack for just ten seconds
 6             He still works there to this day. But          6   here.
 7   they just wrote me up or whatever. Told me you need      7             We were, a moment ago, talking about the
 8   to tell your companion -- how did he say -- you need     8   interview that you had about the travel pass --
 9   to tell your companion to calm down all the flying       9        A    Uh-huh.
10   or whatever. That was it. I didn't ask him nothing      10        Q    -- events. And we looked at -- we talked
11   else. I just left it at that, whatever.                 11   about that interview, and we looked at your written
12        Q    Who are we talking about? What's the name     12   statements.
13   of this person?                                         13        A    Uh-huh.
14        A    He got wrote up or something for the          14        Q    Was there anything else that happened,
15   person.                                                 15   first of all, in the interview that we have not
16             Huh?                                          16   talked about? Is there anything they said to you or
17        Q    What's the name of this person?               17   you said to them that you have not told me about
18        A    I don't -- I'll be honest, this was some      18   today?
19   years ago, and I just do remember something like        19        A    With Kiha, right, that one?
20   that happened. But I do not know anybody directly       20        Q    (No response, indicating.)
21   like you said. I don't.                                 21        A    Oh, gosh, let me think. I want to be
22        Q    Okay.                                         22   accurate. That's been so long. I think we covered
23        A    I don't.                                      23   most of everything.
24        Q    All right.                                    24             I just wanted to be clear on -- that I
25        A    People get wrote up all the time, and they    25   made sure that I was real clear about he wasn't with


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 53 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 209                                                     Page 211
 1   me, you know, at my aunt's funeral. I was real           1       Q    -- the baggage --
 2   clear about we had not traveled together. I made         2            Something else that happened in that
 3   that clear to Kiha. And, yeah, that -- yeah,             3   meeting?
 4   that -- yeah, she -- yeah, she didn't -- because,        4        A    Yeah. Well, my PL, I kind of looked over
 5   like I said, most of the focus of that particular        5   at him. He looked at me. And I mean I don't -- I
 6   was -- it wasn't even focused on like -- but it          6   just -- I was like this -- I don't know. He kind of
 7   was -- it was more really, really focused on the         7   agreed with me on a lot of stuff. He just didn't
 8   companion thing. That's what most of that was            8   think some stuff was done quite right but --
 9   about.                                                   9        Q    What did he say to you?
10        Q    And you've told me everything that you can    10        A    Well, he just said he kind of just didn't
11   recall happening and being said in that meeting?        11   agree with some of the way that that kind of
12        A    I can't say I've said everything, Ben, but    12   occurred and went down. And, you know, he told
13   mostly I think I have covered -- it always              13   me -- he was like, You answered the questions -- he
14   happens -- maybe I might think of something a little    14   was like, You did a really good job. You answered
15   later. But right this second, I can't think of          15   the questions honestly. I just don't agree with the
16   anything else that I honestly can think of and say,     16   way that that kind of occurred for you.
17   okay, Kiha said this or Mehret said this or             17        Q    When did he say that to you?
18   whatever. I can't think of nothing else. Because        18        A    He said that to me -- her and Mehret was
19   you kind of were very thorough on most of it, which     19   kind of finishing up some stuff. He -- I kind of
20   was about --                                            20   looked over, and I was like, What -- I'm a good
21             And then, like I said, it ended up with,      21   employee.
22   you know, she came back in there and was like the --    22             And he was just like, I don't really -- in
23   she was going to suspend my flight privileges until     23   his little raspy voice, I don't really agree with
24   further notice. And then -- I can't think -- no. I      24   that. And we walked out. And we were walking back,
25   don't think --                                          25   and he was like, You just go on and go back. He was


                                                  Page 210                                                     Page 212
 1        Q    That's as much --                              1   like, But don't worry about that. You answered
 2        A    Yeah, because she said -- yeah, because        2   honestly. You were concise. I know you didn't know
 3   she was like she didn't feel like I couldn't             3   what was that all --
 4   remember every -- everywhere that my companion had       4             I was like, I don't. I was honest.
 5   flown to. And I was clear on -- again, it had been       5             And he was like, you know, But never
 6   so long, and I booked so many trips for him, there       6   have -- in all the time I've been here ever seen
 7   was no way that I -- that I could just remember all      7   anything -- I don't agree with the way that that
 8   of that like in that short period of time. And this      8   happened for you.
 9   was something that I wasn't even aware of. That I        9             And that was it. And I worked the rest of
10   was even, what do you call it, being interviewed or     10   my shift that day. And then when I got off that
11   investigated for because I didn't know that there       11   evening --
12   was a problem. I made that clear to her.                12        Q    All right.
13        Q    Okay. Anything else that you can recall       13        A    -- my supervisor --
14   that was said in that meeting that you recall?          14        Q    I didn't ask --
15        A    No, nothing else. And, like I said,           15        A    Oh.
16   because I was never -- I was never counseled or         16        Q    I didn't ask you anything about that.
17   anything on anything about the companion before her,    17        A    He talked to me again.
18   or nothing was ever -- like no -- nothing. I was        18        Q    Anything --
19   never coached, nothing.                                 19        A    That was it. That was it. I'm just -- as
20        Q    Listen to my question.                        20   I'm talking, I'm trying to think of, as I was
21             Was there anything else that was said in      21   talking to you, if that was it. That was it. And
22   that meeting that you haven't told me about?            22   then --
23        A    Nothing that I can think of at this time.     23        Q    Did Mr. -- did your performance leader say
24        Q    All right. We talked earlier about the --     24   something to you later about the meeting, other than
25        A    Can I say one last thing?                     25   what you've told me already?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 54 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 213                                                     Page 215
 1        A    When I -- at the end of my shift that          1   Released as of August of 2014. You were released to
 2   night, yeah -- well, he -- yeah, he just -- again,       2   work on regular duty; correct?
 3   he just -- he didn't -- he knows I'm a good              3        A    You know what, no -- well, I guess, I -- I
 4   employee. And he's just like, you know, Just stay        4   don't know if that's accurate because I didn't go
 5   on your Ps and Qs. You're a good employee. I don't       5   back to work until November.
 6   like the way that occurred, but you'll be fine.          6        Q    Okay. Fair enough.
 7   And, you know, just --                                   7             But you -- you see here that as of -- and
 8        Q    Anything else?                                 8   I realize it --
 9        A    You'll be fine. I got your back. Because       9        A    That might have been if --
10   he was in -- and that was it. And he said, Have a       10        Q    -- may have taken you some time. But you
11   good night. And I walked out of my thing, and I got     11   were released to full duty as of August of 2014, is
12   on my employee bus and --                               12   that correct, according to these notes?
13        Q    Okay. We were talking earlier about           13        A    Yeah. I guess that's what it said. But
14   your -- when the bag fell on you; correct? You had      14   that must be an error because -- yeah. I would have
15   an OJI?                                                 15   went back to work then. I don't think I even went
16        A    Yes, sir.                                     16   back to work then. I don't think I went back until
17             (Exhibit 18 was marked for                    17   November. This might be -- I'm pretty sure this is
18        identification.)                                   18   an error because I wouldn't have had no job after
19   BY MR. STONE:                                           19   this. I'm saying like if I -- if I didn't comply
20        Q    And I've put in front of you what I've        20   with that I was supposed to do. So I think this is
21   marked at Exhibit 18. Let me start here.                21   an error because maybe -- I don't know. I should
22             Does this, first of all, refresh your         22   have one for the November.
23   recollection that the injury that you suffered          23             (Exhibit 19 was marked for
24   occurred in 2014? (Indicating.)                         24        identification.)
25        A    Uh-huh.                                       25


                                                  Page 214                                                     Page 216
 1        Q    Yes?                                           1   BY MR. STONE:
 2        A    Oh, you said does this what?                   2        Q    All right. I have one that's right before
 3        Q    Refresh your recollection that your injury     3   then in October of 2014.
 4   occurred in 2014?                                        4        A    That might be when they was getting me
 5        A    Yes, yes.                                      5   ready to go back in November.
 6        Q    And you were out from March of 2014 until      6        Q    And you were released to full-duty work as
 7   November 10th of 2014; correct?                          7   of -- according to the Exhibit 19, as of October 17,
 8        A    Uh-huh, uh-huh.                                8   2014?
 9        Q    Yes?                                           9        A    Yeah. So this might be the one -- yeah,
10        A    Yes, sir.                                     10   this -- yeah. I don't think this one is the right
11        Q    And you weren't out of work for your          11   one. I think this one is more accurate.
12   injury after that; correct?                             12        Q    All right.
13        A    After -- you mean when I went back in         13        A    Yeah. He kept me in therapy.
14   November?                                               14        Q    He kept you in therapy, but he didn't
15        Q    Correct.                                      15   restrict your work; right?
16        A    No. I was just getting ready to go --         16        A    Right, at that point, until the
17   Dr. Kelley wanted to keep me on what you call           17   following -- the following year when I started kind
18   ongoing kind of therapy or whatever. So even though     18   of having issues again.
19   I went back, he still wanted to try to keep me like     19        Q    Well, tell me about that because I'm not
20   in therapy or whatever.                                 20   aware of that.
21        Q    But you were -- if you look at Exhibit        21        A    When was that -- oh, I thought I had
22   No. 18 --                                               22   said -- that was -- I was trying to -- what it was
23        A    I'm trying to make sure I understand.         23   is I was trying to get another appointment to see
24        Q    -- for a minute, you were released            24   him, like I think sometime in April or whatever.
25   actually a little earlier. And then you came back.      25   And I was having trouble getting in then.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 55 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                                June 29, 2017

                                                  Page 217                                                        Page 219
 1             I think they put me back on -- was it -- I     1        A    No, because they didn't -- they didn't
 2   think -- did he put me back -- he put me back on         2   offer that or whatever so --
 3   light duty, because then they wanted to see if they      3        Q    So what --
 4   needed to do some kind of procedure or something.        4        A    And I didn't have a job at that point
 5   And I think that was around -- that was probably in      5   anymore.
 6   July. I think it was July. Because I tried to -- I       6        Q    So you took a -- I'm confused.
 7   tried to get back with them in April and May.            7             So this was after your termination from
 8             They had me in the system. But then the        8   Delta that he put you on light duty?
 9   assistant person called me and was like, Sorry,          9        A    No, my -- here's the thing. I think I saw
10   Ms. Stevenson, I know we've been trying to get you      10   him. My appointment was -- I think it was -- no,
11   in. They didn't get me in until July. He assessed       11   that was the thing. My appointment was scheduled
12   me again. Then he wanted to do something else. I'm      12   before that with the May thing that you're looking
13   sorry, I've been seeing him for so many years. It's     13   at. But then I ended up being on light duty.
14   a lot of paperwork. I don't remember all of it.         14             I was suspended. I was suspended. I
15        Q    I am aware that you saw -- you went to        15   wasn't told I was terminated or anything like that.
16   Peachtree Orthopaedics in May of 2015?                  16   I was just -- I was told, You'll get a call back
17        A    Uh-huh.                                       17   within like a week to let -- and by seven days to
18        Q    And this may be what you're remembering.      18   let you know when you can return back to work.
19        A    Oh, maybe that's what I --                    19             And the person that kind of relayed it to
20             (Exhibit 20 was marked for                    20   me, I was like, Okay, am I being suspended with pay
21        identification.)                                   21   or without.
22   BY MR. STONE:                                           22             I don't know.
23        Q    And you saw him -- and you're right, he       23             And then the last thing they said to me
24   did some additional treatment, but he also, you'll      24   verbatim was, I'll never forget that, he said, I'm
25   see from Exhibit 20 --                                  25   just here to relay a message. I don't know what's


                                                  Page 218                                                        Page 220
 1        A    Uh-huh.                                        1   going on.
 2        Q    -- released you to full duty work in May       2               I said, This is my job. Like am I
 3   of 2015.                                                 3   being --
 4             Is that consistent with your recollection?     4             No, they -- they didn't tell me if I was
 5        A    Yeah, he sent me -- he sent me back.           5   being paid. I didn't sign off on it. It was
 6        Q    Okay.                                          6   nothing. It was just suspended. They didn't know.
 7        A    But then he took me back out again. Yeah,      7   They just said they didn't know anything. They just
 8   he's -- that's right. I need to -- he took me back       8   relayed the message to me.
 9   out again in July, yeah, in July, yeah, in July.         9             And I was walked out for suspension. I
10        Q    Were you on -- when you say he took you       10   would hear from them in seven days, but I didn't
11   out, you took leave from work during that period of     11   hear anything for almost a month.
12   time?                                                   12        Q    Before you were terminated?
13        A    No, I didn't take a leave. I just -- like     13        A    Yeah.
14   I said, I went to see him again, and I was in --        14        Q    What I'm trying to figure out is from
15   from what he assessed, I was in so much pain, he put    15   Exhibit No. 20 we know that you were released to
16   me back on light duty again. I was still working.       16   full duty in May of 2015.
17   Put me on light duty.                                   17        A    Right.
18             But then like right after that I think        18        Q    And based on what I'm looking at, you were
19   that's when everything -- all the -- the interview      19   able to work full duty from the time you came back
20   and craziness started happening, and he put me on       20   all the way at least until after May.
21   light duty. I was on light duty or something.           21        A    Yeah.
22        Q    You were put on light duty at Delta?          22        Q    Was there some point that changed?
23        A    Uh-huh.                                       23        A    Yeah. Well, that's the thing, I -- around
24        Q    So you started working the light duty         24   this time is when I was doing my accommodation --
25   temporary assignment?                                   25   when I got my accommodations -- well, I actually


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155                  YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 56 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 221                                                     Page 223
 1   asked for accommodations even before this right          1        A    Yes.
 2   here.                                                    2        Q    We talked about the bid that you made?
 3        Q    We looked at that earlier; correct?            3        A    Uh-huh.
 4        A    Right, yeah, that's what we looked at that     4        Q    Okay.
 5   earlier.                                                 5        A    Yes.
 6             So, again, like I say, on the job, I was       6        Q    Was there any other accommodation that you
 7   going through all the stuff I was going through with     7   made through the accommodation process that you can
 8   my PL, which was Carole at the time, with certain        8   recall?
 9   stuff, oh, I couldn't stand this long, or I couldn't     9        A    No, it didn't, because all of it, to my
10   do whatever. And that became more and more hostile      10   knowledge, I thought would have just fallen under
11   too with all kinds of stuff.                            11   that. But the thing was while I was there if there
12             So, again, I had made an appointment to       12   was somewhere -- they need me to purge a line, or I
13   try to go back to the doctor. They couldn't -- they     13   have to stand here or stand there, and it's like,
14   didn't get me in when I needed to. So I didn't end      14   Hey, I can't stand for too long, whatever, which
15   up getting back to the doctor until July. And then      15   I -- but, to be honest, I really didn't even
16   he put me on -- put me on light duty.                   16   complain about it. That kind of -- was going on.
17             And then I was I -- I was suspended before    17        Q    Got it.
18   that, I'm sorry, I was suspended. And then I was        18             Okay. And you said --
19   terminated, like I said, almost a month later, like     19        A    Because they was like you have to go to --
20   three weeks later --                                    20   if you're still having issues, then you just need to
21        Q    Let me go back --                             21   go to the doctor about that or whatever. Otherwise
22        A    -- while I was on light duty.                 22   you're going to have to whatever, because they
23        Q    -- to make sure.                              23   didn't -- that was kind of the thing.
24             So we know that you were released to full     24        Q    And do you remember the date that you were
25   duty as of May.                                         25   put on light duty? It was after -- it was after you


                                                  Page 222                                                     Page 224
 1        A    Right.                                         1   were suspended?
 2        Q    You had mentioned earlier, and we had          2        A    Yeah. But, remember, I had already seen
 3   looked at your accommodation request. That was           3   the doctor. I don't remember the actual date, but
 4   related to something. That was related to your car       4   it was right around that time. To be honest with
 5   and your aunt and that stuff.                            5   you, it might have been -- yeah, it was -- yeah. I
 6        A    Well, that -- but all of that was -- all       6   can find that out for you.
 7   of that was related -- all of that was kind of in        7        Q    Okay. And you said -- you told me already
 8   there. With everything that I was dealing with, it       8   about your suspension, right, the call in which you
 9   was all of that. It was the death. It was                9   were told they were --
10   everything that I was dealing with. I still -- the      10        A    Well, she told me in -- when I was in the
11   injury was still there.                                 11   meeting with Kiha she suspended the benefits. Then
12             Because according to a couple of -- him       12   two days later I came in to work for my coworker.
13   and a couple of doctors at the time it was like         13   So when I -- when I got there to work for the
14   that's not -- you're old -- you may look old, but       14   coworker, that is when I was -- when it went from my
15   your body really is what it is. And as you get          15   benefits were suspended. I came in to work for
16   older, it might get worse.                              16   somebody. Then it was, Oh, now, you're suspended.
17        Q    Listen to my question real quick here.        17   That's the order. It wasn't a call. I wasn't told
18             We talked about your accommodation            18   in person.
19   request --                                              19             And then that's when I asked the person, I
20        A    Uh-huh.                                       20   said, Well, am I being paid? Can I -- when do I
21        Q    -- which was the shift change.                21   come --
22        A    Uh-huh.                                       22             Well, you're going to get a call within
23        Q    And you were granted that; correct?           23   seven days, and we'll let you know if you can go
24        A    Uh-huh, uh-huh.                               24   ahead and come back.
25        Q    You have to say yes.                          25             And I was like, Oh, okay. And I tried to


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 57 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 225                                                     Page 227
 1   ask, I said, Anything else --                            1   until like five days later.
 2             And then he -- well, I don't know if I'm       2             And then I got a message that -- he had
 3   supposed to say all of that. He, you know, again,        3   apologized to me about -- he apologized for not
 4   Go get her things. And, again, I didn't know -- it       4   giving me that -- the information that he was
 5   was a whirlwind. And, you know, he was just              5   supposed to have given me on the initial
 6   relaying a message.                                      6   conversation or something so and that stuff.
 7             I said, From who?                              7        Q    All right. And then did anything else
 8             He didn't say from who. He said, I'm just      8   happen, other than what you've just described in the
 9   relaying a message. I don't know what's going on.        9   termination call?
10   Other people came in. They took me out. And I was       10        A    No, no, nothing that I can -- I think that
11   on the parking lot.                                     11   was it. It was, I'm going to put you on no rehire
12             And the one supervisor said -- he             12   and terminate you.
13   whispered in my ear, Give me a call. And went to my     13        Q    I know that you appealed, and I'm going to
14   car. They took my thing off the car. And was like,      14   ask you that in a moment.
15   You'll get a call in about seven days, but I didn't     15             But before I do that, let me ask you
16   hear anything for -- it was like three weeks.           16   whether or not -- we've now done a pretty thorough
17        Q    And then how did you find out you were        17   discussion of the events that occurred all leading
18   terminated?                                             18   up to your termination. And those are the
19        A    I got a call on the 29th. And it was a        19   complaints you're complaining -- the events that
20   message left. So then I called back. And when I         20   you're complaining about in this lawsuit.
21   finally called -- when I finally had called back,       21        A    Uh-huh.
22   I -- my PL was telling me about everything, about       22        Q    Is there anything that happened that
23   the findings for the past -- of course, I don't         23   during -- anytime in your employment, up until the
24   remember verbatim how he worded it.                     24   time you were terminated, that you believe supports
25             But I remember most of -- you know,           25   the claims that you're asserting in this lawsuit?


                                                  Page 226                                                     Page 228
 1   password, come back in and investigation. So we're       1   Is there any fact that occurred, any statement or
 2   going to go ahead and -- the findings are just have      2   conversation that you had, anything else that you
 3   you resign. He was asking me if I wanted to resign.      3   think supports your case that you haven't told me
 4             And I was clear, I said, No, I don't want      4   about?
 5   to resign because I didn't do anything wrong.            5        A    I think a lot of -- a lot of -- how do I
 6             Okay. Well, in that case, I'm going to         6   say it? Some of a lot of what I've said I think
 7   have to go ahead and -- so you're sure. I'm giving       7   that it does.
 8   you the option.                                          8             Do I -- do you want me to restate those?
 9             I said, If I resign it's like -- I did         9        Q    No. You've told me -- I'm not asking you
10   nothing wrong so I don't want to resign.                10   to restate anything.
11             He said, Okay, well, I'll tell you what,      11        A    Oh, okay.
12   I'm going to have to -- I'm going to put you on the     12        Q    I just want to know whether there's
13   not rehire list, and I'm going to terminate you.        13   anything that you haven't told me about --
14             I said, Okay.                                 14        A    Oh.
15             And then he hung up. And I wasn't like        15        Q    -- that you think supports your case that
16   given no information or nothing. And then I just        16   we haven't talked about today.
17   kind of had to call -- oh, he did state in that         17        A    No. I -- yeah, I think some of a lot, but
18   conversation that I was -- he had -- I was              18   not everything, just some.
19   terminated the day before. But it was late in the       19        Q    Well, I realize not everything we've
20   day, it was late in the evening, I got busy, so I       20   talked about is supportive of your case.
21   just figured I would just call you the next morning.    21        A    Right.
22             Huh, okay, my career. So really it was        22        Q    But I just want to make sure that there's
23   the 28th. But he called me the next day, which was      23   not something that you haven't told me about that
24   the 29th when I got the call from him. And then         24   you think supports.
25   didn't give me all the information that I needed        25             And there isn't?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 58 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 229                                                     Page 231
 1        A    No.                                            1        A    -- pretty clear on everything that we've
 2        Q    So nobody -- nothing you said to anybody,      2   discussed here but -- for the most part, yeah.
 3   nothing that anybody said to you that you think          3        Q    Is there anything in there that's
 4   supports your case.                                      4   inaccurate that you can identify?
 5        A    No, sir.                                       5        A    Well, that part back there. But in this
 6             (Exhibit 21 was marked for                     6   part, the beginning to -- just this little section,
 7        identification.)                                    7   it is -- it's pretty clear. It's pretty clear.
 8   BY MR. STONE:                                            8        Q    Let me make sure what you're saying.
 9        Q    Take a look at Exhibit 21. And Exhibit 21      9             You're looking at an entry, it's a lengthy
10   is a log of your appeal and, among other things, it     10   entry --
11   reflects an October 7, 2015, call --                    11        A    Yeah, this one to --
12        A    Yes.                                          12        Q    Stop. You've got to let me finish my
13        Q    -- that you would have had with EO,           13   question.
14   particularly Barbara Shaw --                            14             You're looking at an entry labeled
15        A    Uh-huh.                                       15   October 7, 2015, that starts on page 1 of Exhibit 21
16        Q    -- about your termination and your appeal     16   and continues on to page 2.
17   of that.                                                17        A    Right. All of this I think pretty much is
18        A    Uh-huh, uh-huh.                               18   accurate.
19        Q    And I'm going to ask you to read the big,     19        Q    All the way --
20   long entry on Exhibit 21.                               20        A    All the way down to that, yeah.
21        A    Read this?                                    21        Q    All the way to the end of the October 7,
22        Q    Yeah, on October 7th.                         22   2015; correct?
23        A    Out loud?                                     23        A    Uh-huh.
24        Q    No, not out loud, to yourself.                24        Q    Yes?
25             And I'm going to ask you whether or not       25        A    Uh-huh.


                                                  Page 230                                                     Page 232
 1   that's an accurate summary of the conversation.          1        Q    Yes?
 2        A    Okay.                                          2        A    Yes, I'm sorry.
 3        Q    Take your time.                                3        Q    And there's nothing in there that you can
 4        A    (Witness complying.)                           4   identify as inaccurate; correct?
 5             Okay. So the name is right, Mehret.            5        A    No. I think this is pretty much how the
 6        Q    Yeah.                                          6   conversation went, yes --
 7        A    Okay. I was just -- like I said --             7        Q    All right. And then --
 8             (Discussion off the record.)                   8        A    -- except she spelled the name wrong.
 9             THE WITNESS: Okay.                             9        Q    And on October 24, 2015, you say that that
10   BY MR. STONE:                                           10   entry is inaccurate.
11        Q    All right.                                    11        A    That is.
12        A    I don't know what this last one is.           12        Q    What way is that inaccurate?
13        Q    Yeah, you're welcome to read that. I was      13        A    This is all inaccurate, because I sent
14   really going to focus on the one that's labeled         14   her -- I sent her -- her main thing was, If anybody
15   October 7, 2015.                                        15   can get your job back, I'm going, verbatim, I'm
16        A    Yes, this -- oh, yeah, because -- oh, the     16   going to be that person -- well, she didn't even put
17   first one first. You don't want to address this         17   that in here. That's the thing. She didn't put
18   yet?                                                    18   that in here at all. You know, I'm going to be the
19        Q    Well, I'm --                                  19   person that can go and talk to who I need to talk
20        A    Because that's not accurate at all.           20   to.
21        Q    Well, I'm going to -- let me ask you,         21             If I -- her main thing that she wanted me
22   first of all, October 7, 2015, does that -- you         22   to produce was the license. It was the -- and, you
23   recognize that's a recount of a conversation.           23   know, to prove the dual residency, which is what
24        A    Uh-huh. That's --                             24   Kiha and Mehret did not ask me for at all.
25        Q    Is it accurate?                               25             And so once I got that, I sent that. You


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 59 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 233                                                     Page 235
 1   know, she didn't -- it wasn't really a time limit on     1   her the license, yes, sir.
 2   that. It was just, If you can get that in there,         2        Q    All right. So you never sent her any
 3   and I can just kind of look it over and see that he      3   information that suggested that Mr. Dais was out
 4   is a dual resident, I'm going to the person that can     4   there for a graduation.
 5   possibly talk to get you reinstated. That's kind of      5        A    No, I didn't -- yeah. That was the point
 6   how that conversation went.                              6   of the letter, him saying like he wasn't going to
 7             As far as like the graduation thing, I         7   send that part but --
 8   told her I would try to see about getting that, as       8        Q    Did you --
 9   far as, I guess, I don't know, a program or              9        A    -- her main thing was she wanted -- she
10   something like that. But that's where I think I         10   said, Get me that license. I need to see that he is
11   faxed to you the letter from Jovan per him saying       11   a resident there.
12   like he's not giving out his minor child's school       12        Q    Anything else?
13   information, blah, blah, blah, this, that and the       13        A    No. That was it. And I never talked back
14   other, information.                                     14   to that lady again.
15             But I made sure that I did fax over that,     15        Q    All right. Is there anything that you
16   as well as I faxed the license. And I'm seeing that     16   talked about with Ms. Shaw, other than what you've
17   said she didn't receive it. But I know that I did       17   already told me or that's reflected in Exhibit 21?
18   send -- I did send that to her so --                    18        A    No. I never spoke to her ever again after
19        Q    So you sent her a driver's license, did       19   that.
20   you?                                                    20        Q    All right.
21        A    I sent her the driver's license, as well      21        A    I didn't even hear back after I sent her
22   as the letter. Because her -- and she was real          22   what I sent her, other than the letter that came
23   adamant on that part, because that was towards the      23   telling me that they up -- that she upheld it,
24   end of the conversation. If you can by some chance      24   because she thought she didn't, I guess, get that.
25   at least -- you know, because her thing was she         25   But now I'm seeing I did send that to her.


                                                  Page 234                                                     Page 236
 1   recognized with Kiha that was the biggest thing          1        Q    Well, you sent her what you told me you
 2   like -- because that was the thing that they didn't      2   sent her; correct?
 3   know, that he had a minor child in California, which     3        A    Yeah. I sent her what she asked for, but
 4   is the coparenting thing. Like that's why -- that's      4   she said I didn't send it.
 5   what we kind of zeroed in towards the end with me        5        Q    You didn't send her anything about the
 6   and Kiha, I'm like, He goes -- because her main          6   graduation.
 7   thing was that's another reason why she was              7        A    Yeah, but she didn't -- that was the
 8   suspending it, Ben, because she was like if he --        8   thing. Her main thing was she wanted -- she wanted
 9        Q    You've got to stop.                            9   the license.
10             The question is, there's a simple             10        Q    That was your understanding?
11   question, you sent to Ms. Shaw --                       11        A    That was my -- well, that was my
12        A    Yes, I did. I sent her the copy --            12   understanding. Because that's what I said, towards
13        Q    Stop. You sent to her a driver's license.     13   the end of the conversation she was very adamant on,
14        A    Uh-huh, I did.                                14   You get me that, then I could do -- try to do some
15        Q    And you sent to her a letter from Mr. Dais    15   talking for you. And then she ended it with,
16   that says, I'm not giving any information about my      16   Getting you reinstated. But I need to be able to
17   minor child.                                            17   verify that he is a resident there.
18        A    Yeah, about the school. It was -- because     18        Q    She asked you to provide documentation to
19   she was asking for -- like wanting the -- like a        19   support the claim that he was there for the
20   school address or whatever. And, of course, that        20   daughter's graduation; correct?
21   was a thing of him asking her mom. And the mother       21        A    Yeah, but that --
22   is like, No, who's asking about my kid.                 22        Q    And you didn't do that.
23        Q    I didn't ask you any of those questions.      23        A    No, but that -- no, that -- that's what
24   I just asked you what you sent her.                     24   I'm saying, that's not accurate. That's not -- that
25        A    Yeah. I sent her that letter, and I sent      25   part is not accurate. She wanted the license, Ben.


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 60 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 237                                                     Page 239
 1   I sent her what she asked for.                           1             (Exhibit 23 was marked for
 2        Q    Ms. Stevenson, you're kind of making this      2        identification.)
 3   up as you go along. Because a moment ago I asked         3   BY MR. STONE:
 4   you if there was anything inaccurate in that             4        Q    And let me show you -- all right. Let me
 5   statement, and you said no, it was all accurate.         5   show you what's been marked as Exhibit No. 23.
 6             And now are you telling me it's                6        A    Uh-huh.
 7   inaccurate?                                              7        Q    And ask if this is the right to sue letter
 8        A    It is all accurate. But I'm saying that        8   that you received from the EEOC?
 9   what her thing was, she asked for a license. I'm         9        A    Is this the one -- is this the -- oh,
10   not making anything up, Ben. This is my life and my     10   okay. The right to -- yes, I think I -- yeah.
11   career being toyed with. So I'm not playing any         11        Q    And you understood this was a -- what's
12   games with my life and my career. This has been         12   called a no cause determination. That the EEOC
13   really rough for me. And I was very, very clear         13   found no reason to believe anything unlawful that
14   on -- she was adamant on -- her main thing was if       14   happened?
15   she got the license. In this it's stating that she      15        A    No. I mean that's not the way that -- you
16   received nothing from me, when I did send her           16   know, as far as like Mr. Pernice -- like that's not
17   something.                                              17   the way it was explained to me, I guess, in you
18        Q    Ms. Stevenson, who got -- after you were      18   all's terms, law. I just --
19   terminated, who was hired to replace you; do you        19        Q    Explained to you by who?
20   know?                                                   20        A    Like just when I've just asked people.
21        A    Who was hired to replace me?                  21   Like I have a girlfriend that's an attorney. And my
22        Q    Yeah. Who took your job over?                 22   person that doesn't say it like that. I mean --
23        A    What do you mean?                             23        Q    You understand that they checked the box
24        Q    After you were fired from Delta.              24   that said, The EEOC is unable to conclude that the
25        A    I wasn't there, so how would I know that?     25   information obtained establishes a violation of the


                                                  Page 238                                                     Page 240
 1        Q    All right. So you don't know anything          1   statutes.
 2   about that person.                                       2        A    But they gave me -- what's that, the right
 3        A    What? I -- I don't --                          3   to sue? The right to sue.
 4        Q    Okay.                                          4        Q    You understand everybody gets that no
 5        A    Delta hire people all the time, don't          5   matter what.
 6   they? They never -- I don't think they tell you who      6        A    I'm not an attorney, so I mean --
 7   they're going to hire next. I've never heard of          7        Q    All right.
 8   that before.                                             8        A    And I didn't ask my attorney friend.
 9        Q    All right. Let me show you --                  9        Q    You were terminated from Delta in July of
10        A    That's new to me. I didn't know they          10   2015; correct?
11   hired somebody.                                         11        A    July 28th.
12             (Exhibit 22 was marked for                    12        Q    All right. And when did you start looking
13        identification.)                                   13   for new work after that date? How long did you
14   BY MR. STONE:                                           14   wait?
15        Q    All right. Let me show you what's been        15        A    I'm going to be honest, I don't know, Ben.
16   marked as Exhibit 22.                                   16   My life was turned upside down. I lost everything.
17        A    Uh-huh.                                       17   I have no clue -- I can't -- I can only go --
18        Q    And just ask you if this is the charge you    18   nobody -- I wasn't -- again, I was almost ten years
19   filed with the EEOC?                                    19   in, and I was loving my career. I have no -- I
20        A    Uh-huh. Yes.                                  20   really don't know. My mind was -- I don't remember
21        Q    All right. That's your signature at the       21   the day, if it was a week later, it was a -- I don't
22   bottom?                                                 22   know. I just -- nothing was clear for me.
23        A    That is my signature.                         23        Q    When did you get a new job?
24        Q    All right.                                    24        A    Right after that?
25                                                           25        Q    Yeah. When was the next time you worked?


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 61 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 241                                                     Page 243
 1        A    I'm going to be honest, I probably -- I        1   both. Sometimes she would give me cash. Sometimes
 2   didn't. I was -- I was in pain. I was going              2   she would just write a check out to me.
 3   through -- I was going through a lot, so I --            3        Q    Do you have a bank account?
 4   mental, physical, homelessness, living in my car.        4        A    I do.
 5   I -- I don't know. I --                                  5        Q    Where is your bank account?
 6        Q    Have you gotten any job since you left         6        A    Regions, and I have a Wells Fargo.
 7   Delta?                                                   7        Q    Okay. Which account do you use as your
 8        A    I have no idea or clue.                        8   regular checking account?
 9             Huh?                                           9        A    I use Regions more.
10        Q    Have you gotten any job since you left        10        Q    But you use both actively?
11   Delta?                                                  11        A    Yeah. I can use both. It's just --
12        A    Yes.                                          12        Q    So when Dr. Thrasher would write you a
13        Q    What job -- what's the first job you got      13   check, where would you deposit it?
14   after you left Delta?                                   14        A    Actually, what I would do is -- like she
15        A    I do work now -- well, I mean I worked --     15   has a Wells Fargo. So if she like wrote me a check,
16   I worked as a nanny and, you know, took -- helped to    16   I would sometimes -- just sometimes cash it because
17   take care of -- you know, a doctor, I helped to take    17   it was -- they'd charge me the $7, and they'd give
18   care of her kids, her autistic child.                   18   me the money.
19        Q    When was that?                                19        Q    So we now know that you were working as a
20        A    That was probably -- I started -- I did       20   nanny from May of 2016 forward and still do
21   that like -- I think I started that -- I did that       21   occasionally now.
22   May of last year, from -- from May until about March    22        A    Yeah, I still help her out.
23   of this year. I occasionally still help her take        23        Q    Between July of 2015 and May of 2016, when
24   care of her kids, because she is a doctor, and she      24   you started as a nanny, did you work any job?
25   don't have -- she always in surgery so --               25        A    No, I -- I helped out -- I went and did my


                                                  Page 242                                                     Page 244
 1        Q    What's her name?                               1   community service. I did polling. I worked -- they
 2        A    Dr. Melinda Miller-Thrasher.                   2   paid me to work the vote -- I worked the polls.
 3        Q    Is that the same Melinda Miller-Thrasher       3        Q    Anything else?
 4   who's your OB/GYN?                                       4        A    They pay you -- they pay you 250, yeah,
 5        A    Yes. Well, she's -- she's my doctor, when      5   250. That's it, just the voting. I -- there was --
 6   I go to her, but I have other doctors too, yeah.         6   yeah, just the nanny stuff. That kind of helped me
 7        Q    So you are a nanny for your OB/GYN.            7   out a little.
 8        A    Yes. I have -- I have been.                    8        Q    Did you apply for any jobs?
 9        Q    All right. And was that a full-time job        9        A    I was applying. I applied -- I applied at
10   from May of 2016 to March of 2017?                      10   Southwest. I applied at American. I did get an
11        A    It was just kind of -- you know, she knew     11   e-mail back -- very competitive for the in flight,
12   I was down on my luck, and she just kind of -- she      12   which is where I've always wanted to be. It was --
13   knew I was homeless and stuff. She just kind of         13   they -- I heard back from American.
14   helped me out. You know, it was like as -- like as      14             I applied at United. They told me they
15   she needed me. It became regularly, like every --       15   still was looking at me, but they had a furlough or
16   she used me like every -- every weekend. Sometimes      16   something, and they had so many people just waiting.
17   it would be four days. Sometimes it would be for        17   So I just got to just wait to get a call. Still
18   the whole week.                                         18   haven't gotten a call.
19        Q    How much did she pay you?                     19             I was going to try to substitute teach
20        A    I would -- that varied, because sometimes     20   since I have a biology degree. I mean I inquired at
21   I would get paid like 350. Sometimes it was 250.        21   Cobb County, but I didn't -- I mean I didn't --
22   No more than 350 for the week.                          22        Q    You didn't formally apply?
23        Q    Did she pay you cash, or did she write you    23        A    Yeah, I didn't -- I worked for them
24   a check?                                                24   before, and I didn't -- I just didn't go back by the
25        A    She did both. She did a little bit of         25   office thing. Because, like I said, I was just


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 62 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                              June 29, 2017

                                                  Page 245                                                     Page 247
 1   going through a lot. I didn't go back by and go          1   an e-mail. And I'm working there now, just -- yeah.
 2   back through the little certification for that.          2   He sent me an e-mail back. He sent me an e-mail
 3        Q    Other than Southwest, American and United,     3   back. There's a little happiness there. He sent me
 4   did you apply for any other jobs?                        4   an e-mail back. And then he said, We are -- we
 5        A    I applied at a restaurant, actually right      5   presently opened it back up. We're now hiring,
 6   up the street here, to be a waitress. What -- oh,        6   Quaniah. Are you still interested?
 7   my gosh, it's a -- Cocina, La Cocina, just to be a       7             I said, Absolutely, and then so on and so
 8   waitress because I know they make money every day        8   on.
 9   when they waitress. La Cocina. Sorry, this is            9        Q    So what are you doing for them?
10   really emotionally difficult for me because I had a     10        A    Security officer.
11   career. La Cocina. What else? What else? I think        11        Q    Where?
12   I -- I think I was just -- I was doing like             12        A    Like Camp Creek Airport.
13   waitressing. Trying to get back on with the airline     13        Q    How many days a week?
14   industry. That was pretty much it and --                14        A    Four -- four days on, three days off.
15        Q    Anyplace else that you applied that you       15   That's the way they had it scheduled. Some people
16   can tell me?                                            16   are three days on. Some people are four days on. I
17        A    Gosh, did I apply at the -- no, I didn't      17   need to work as much as possible so I'm four days,
18   apply at the post office yet. Somebody gave me          18   and three days off.
19   information, but I don't think I ever did that. I       19        Q    And what are you earning?
20   know I applied a couple of other places, Ben, but I     20        A    How much is it? Oh, $10.
21   honestly do not remember.                               21        Q    $10 an hour?
22             I do know that by being the nanny, when       22        A    Uh-huh.
23   you take the kids to places where other nannies be      23        Q    All right. And how many hours a week?
24   at, you get to talking. And I was being referred,       24        A    32.
25   like, Oh, I think you would be good taking care of      25        Q    Okay. All right. Any other job that


                                                  Page 246                                                     Page 248
 1   their kids or whatever. So people was referring me.      1   you've held, other than the three jobs that you've
 2   Like, Hey, I got to take off -- they go out of the       2   identified, since you lost your employment at Delta?
 3   country for a month. And I'll probably see if they       3        A    No, sir, no, not just -- no, just the
 4   can hire you, Quaniah, to take care of kids for two      4   nanny stuff and working the voting stuff.
 5   months, that little stuff. So other nannies was          5        Q    Is there any period of time since you left
 6   referring me to help them out with their kids so --      6   Delta that you've been unable to work for any
 7        Q    Okay. Any other job applications?              7   reason?
 8        A    Not that I can think of right now.             8        A    No, no, just --
 9        Q    Anyplace else that you've worked, other        9        Q    All right. You told me a moment or a
10   than the polling place and as a nanny for that --       10   little bit ago about Mr. Pernice and his -- and the
11        A    Oh, you know what, duh, light bulb, DGS.      11   advice.
12        Q    Uh-huh.                                       12             Have you hired any other lawyer to
13        A    I'm sorry. I guess that's how much I got      13   represent you in this matter?
14   on my mind.                                             14        A    Not at this present time. I do have one
15        Q    Okay. When did you apply to DGS?              15   that, actually, I -- well, the -- what do you call
16        A    I'll be honest, I don't remember              16   it, secretary assistant had called me back. I
17   accurately when I applied. I just know I was            17   actually was supposed to talk to that person. Was
18   referred by another girl that worked there that gave    18   it Thursday of last week for today. My phone got
19   me the information. I applied -- I reached out to       19   disconnected. I had no contact for like three days,
20   the person -- I applied. And then at the time that      20   and I missed out on that. So right now I don't know
21   I initially applied, which probably was almost a        21   if I'm -- I don't -- not right this second.
22   year ago, the supervisor e-mailed me back and said,     22        Q    All right.
23   We're not hiring at this time. When we open back        23             MR. STONE: We are -- at this time, I'm
24   up, we will let you know.                               24        going to suspend, but not end the deposition,
25             And then they opened it back up. Sent me      25        Ms. Stevenson. And the reason is is because,


                                                                          www.GeorgiaReporting.com/Schedule
                                                                                               404.389.1155               YVer1f
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 63 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                             June 29, 2017

                                                 Page 249                                                     Page 251
 1   candidly, you have a lot of documents that you          1   just taken your deposition, or at least part of
 2   had an obligation to provide for months that            2   your deposition here.
 3   you haven't provided, including all the                 3        The way this works, of course, is that the
 4   documents in the storage area.                          4   court reporter has been here and has been
 5        THE WITNESS: I think most of those are --          5   taking down my questions to you and your
 6   honestly, Ben, there may be a couple, but I             6   answers.
 7   think most of them might be a lot -- may just           7        THE WITNESS: Yes, sir.
 8   be duplicates.                                          8        MR. STONE: In a matter of a couple or
 9        MR. STONE: But you don't know that,                9   three weeks probably she will have prepared a
10   Ms. Stevenson --                                       10   transcript that is a -- looks like a booklet of
11        THE WITNESS: Oh, okay.                            11   everything that was on the record asked and
12        MR. STONE: -- because you haven't looked          12   answered.
13   for them.                                              13        THE WITNESS: Even the uh-huhs.
14        THE WITNESS: Okay.                                14        MR. STONE: Even the uh-huhs. Correct.
15        MR. STONE: And so we're going to reserve          15        THE WITNESS: Got you.
16   the right to reconvene this deposition at some         16        MR. STONE: You have a right, if you so
17   point in the future after you've done what the         17   choose, to what's called reserve reading and
18   court has repeatedly ordered you to do.                18   signing. That is before the deposition is made
19        THE WITNESS: And, again, like I say, you          19   final, to read it over and see if there's any
20   would have had. It's just I -- until my father         20   mistakes that are made in the deposition
21   just, you know, helped me out with that, I             21   transcript, for example.
22   have -- I've been locked out and had no way to         22        You don't have to do that, but you have a
23   go in there and look in other book bags and            23   right to do that. And so the question is, do
24   see.                                                   24   you want to reserve that right, or do you want
25        But I really think most of the stuff is           25   to waive that right?


                                                 Page 250                                                     Page 252
 1   more than likely probably duplicate. Like it            1        THE WITNESS: Reserving it --
 2   probably is a duplicate of this, duplicate --           2        MR. STONE: Reserving it --
 3   it may be -- I really don't think it's                  3        THE WITNESS: -- means I can make
 4   anything. So I really honestly think at this            4   corrections if I want to?
 5   point I've given you everything.                        5        MR. STONE: -- means you'll get it and
 6        MR. STONE: Well, Ms. Stevenson, I don't            6   you'll -- yes.
 7   have any idea what's in there because you               7        THE WITNESS: Yeah, I'll reserve the
 8   haven't looked yet.                                     8   right, if I need to.
 9        So we'll reserve, after you've done what           9        MR. STONE: That will be fine. And the
10   you're required to do, which is to get us              10   court reporter will -- you'll need to arrange a
11   additional tax returns and the additional              11   way for the court reporter to get you a copy of
12   documents that are subject to production.              12   the deposition.
13        THE WITNESS: The '12? Because did you             13        (Discussion off the record.)
14   get my fax with the others I sent?                     14        THE REPORTER: Paper, electronic or both?
15        MR. STONE: I've gotten some, but I have           15        MR. STONE: I want an E-file, whatever you
16   not gotten 2012.                                       16   all call them, and a Minuscript, please.
17        THE WITNESS: No, I'll get that.                   17        (Pursuant to Rule 30(e) of the Federal
18        MR. STONE: So and then we'll reserve the          18   Rules of Civil Procedure and/or O.C.G.A.
19   right to continue this deposition and to ask           19   9-11-30(e) signature of the witness has been
20   further questions at the appropriate time, if          20   reserved.)
21   we so choose. But subject to that, I have no           21        (Deposition was concluded at 2:50 p.m.)
22   further questions at this time. I appreciate           22
23   it.                                                    23
24        (Discussion off the record.)                      24
25        MR. STONE: Ms. Stevenson, you -- we've            25


                                                                         www.GeorgiaReporting.com/Schedule
                                                                                              404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 64 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                                           June 29, 2017

                                                     Page 253                                                                 Page 255
 1                COURT REPORTER CERTIFICATE                     1     CASE:   Quaniah R. Stevenson vs Delta Air Lines, Inc.
 2                                                               2     NAME OF WITNESS:        Quaniah Renetra Stevenson
     STATE OF GEORGIA:                                           3                 The preceding deposition was taken
 3
                                                                 4    in the matter, on the date and at the time and
     COUNTY OF FULTON:
                                                                 5    place set out on the title page hereof.
 4
 5                                                               6
 6             I hereby certify that the foregoing               7                 It was requested that the deposition
 7   transcript was reported, as stated in the caption,          8    be taken by the reporter and that same be
 8   and the questions and answers thereto were reduced          9    reduced to typewritten form.
 9   to typewriting under my direction; that the
                                                                10
10   foregoing pages represent a true, complete and
                                                                11                 It was agreed by and between counsel
11   correct transcript of the evidence given upon said
12   deposition, and I further certify that I am not of         12    and the parties that the deponent will read and
13   kin or counsel to the parties in the case; am not in       13    sign the transcript of said deposition.
14   the employ of counsel for any of said parties; nor         14
15   am I in any way interested in the result of said           15                 Said jurat is to be returned within
16   case.
                                                                16    30 days following receipt of the transcript to
17
                                                                17    the following address:
18
19                         _____________________________        18

                           Mari B. Temple, RPR, CMRS            19                 Elizabeth Gallo Court Reporting, LLC
20                         Certified Court Reporter             20                 2900 Chamblee Tucker Road
                           Certificate Number 2844              21                 Building 13, First Floor
21                                                              22                 Atlanta, Georgia 30341
22
                                                                23
23
                                                                24
24
25                                                              25




                                                     Page 254                                                                 Page 256
 1                 DISCLOSURE OF NO CONTRACT                    1    NAME OF CASE:       Quaniah R. Stevenson vs Delta Air Lines, Inc.
 2                                                                   DATE OF DEPOSITION: 06/29/2017
 3             I, Mari B. Temple, RPR, Certified Court
     Reporter, do hereby disclose, pursuant to Article          2    NAME OF WITNESS:    Quaniah Renetra Stevenson
 4   10.B. of the Rules and Regulations of the Board of         3    EGCR Job No.:       39485
     Court Reporting of the Judicial Council of Georgia,        4                     CERTIFICATE
 5   that I am a Georgia Certified Court Reporter; I was
                                                                5              Before me this day personally
     contacted by the party taking the deposition to
 6   provide court reporting services for this                       appeared QUANIAH RENETRA STEVENSON, who, being duly
     deposition; I will not be taking this deposition           6    sworn, states that the foregoing transcript of
 7   under any contract that is prohibited by O.C.G.A.               his/her deposition, taken in the matter, on
     15-14-37(a) and (b) or Article 7.C. of the Rules and
 8   Regulations of the Board; and I am not disqualified        7    the date and at the time and place set out on
     for a relationship of interest under O.C.G.A.                   the title page hereof, constitutes a true and
 9   9-11-28(c).                                                 8   accurate transcript of said deposition.
10
                                                                 9                        __________________________
               There is no contract to provide services
11   between myself or any person with whom I have a            10                          QUANIAH RENETRA STEVENSON
     principal and agency relationship, nor any attorney        11             SUBSCRIBED and SWORN to before me
12   at law in this action, party to this action, party         12   this ___________ day of ______________ 20____.
     having a financial interest in this action, or agent
13   for an attorney at law in this action, party to this       13   in the jurisdiction aforesaid.
     action, or party having a financial interest in this       14
14   action. Any and all financial arrangements beyond               _____________________       ____________________
     my usual and customary rates have been disclosed and
15   offered to all parties.                                    15   My Commission Expires       Notary Public
16                                                              16       STATE OF ____________________________
               This 6th day of July, 2017.                      17       COUNTY/CITY OF _______________________
17
                                                                18
18
19                                                              19        [] No changes made to the Errata Sheet;
                          _____________________________         20   therefore, I am returning only this signed,
20                        Mari B. Temple, RPR, CMRS             21   notarized certificate.
                          Certified Court Reporter
21                        Certificate Number 2844               22        [] I am returning this signed,
22                                                              23   notarized certificate and Errata Sheet with
23                                                              24   changes noted.
24
25                                                              25


                                                                                www.GeorgiaReporting.com/Schedule
                                                                                                     404.389.1155
           Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 65 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

                                                                Page 257
1                    Errata Sheet
2    NAME OF CASE:        Quaniah R. Stevenson vs Delta Air Lines, Inc.
3    DATE OF DEPOSITION: 06/29/2017
4    NAME OF WITNESS:      Quaniah Renetra Stevenson
5    Reason Codes: 1. To clarify the record
6                     2. To correct transcription errors
7                     3. Other
     ______________________________________________
8    ______________________________________________
9     Page _____ Line ______ Reason ______
10    From _______________________ to _______________________
11    Page _____ Line ______ Reason ______
12    From _______________________ to _______________________
13    Page _____ Line ______ Reason ______
14    From _______________________ to _______________________
15    Page _____ Line ______ Reason ______
16    From _______________________ to _______________________
17    Page _____ Line ______ Reason ______
18    From _______________________ to _______________________
19    Page _____ Line ______ Reason ______
20    From _______________________ to _______________________
21    Page _____ Line ______ Reason ______
22    From _______________________ to _______________________
23
24     SIGNATURE:_______________________DATE:_______
25                   Quaniah Renetra Stevenson




                                                                Page 258
1                    Errata Sheet
2    NAME OF CASE:         Quaniah R. Stevenson vs Delta Air Lines, Inc.
3    DATE OF DEPOSITION: 06/29/2017
4    NAME OF WITNESS:      Quaniah Renetra Stevenson
5    Reason Codes: 1. To clarify the record
6                     2. To correct transcription errors
7                     3. Other
     ______________________________________________
8    ______________________________________________
9     Page _____ Line ______ Reason ______
10    From _______________________ to _______________________
11    Page _____ Line ______ Reason ______
12    From _______________________ to _______________________
13    Page _____ Line ______ Reason ______
14    From _______________________ to _______________________
15    Page _____ Line ______ Reason ______
16    From _______________________ to _______________________
17    Page _____ Line ______ Reason ______
18    From _______________________ to _______________________
19    Page _____ Line ______ Reason ______
20    From _______________________ to _______________________
21    Page _____ Line ______ Reason ______
22    From _______________________ to _______________________
23
24     SIGNATURE:_______________________DATE:_______
25                   Quaniah Renetra Stevenson



                                                                           www.GeorgiaReporting.com/Schedule
                                                                                                404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 66 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                        June 29, 2017

                            Defendant'
        Exhibits            s Exhibit 14 4:1 185:4,                    1                         2
                             8,18
 Defendant'                 Defendant'                    1 19:12,20,22 20:11       2 20:23 21:3 111:20
 s Exhibit 01 3:9 19:12,                                   39:7 70:25 111:19         231:16
                            s Exhibit 15 4:2
  22                                                       231:15
                             185:22,25                                              20 75:24 163:22 189:16
 Defendant'                                               10 88:14,16,19 124:7,      217:20,25 220:15
                            Defendant'
 s Exhibit 02 3:10                                         12,23 207:19
                            s Exhibit 16 4:3                                        2001 80:21
  20:23 21:3                 195:20,24 196:12             100 203:16
                                                                                    2002 76:23
 Defendant'                 Defendant'                    10th 214:7
 s Exhibit 03 3:11                                                                  2007 67:20 69:9,14,20
                            s Exhibit 17 4:4 203:1,       11 89:3 111:3 124:7,12     70:7,17,22 71:7,15,22
  23:14,17 24:22 34:19       4
                                                           127:9,16,20 140:12,13,    72:7,12,20 78:6
 Defendant'                 Defendant'                     25 143:3
 s Exhibit 04 3:12 34:6,                                                            2010 15:10 127:23
                            s Exhibit 18 4:5              11-09-1973 65:4
  9,12,20 38:22 39:8         213:17,21 214:21,22                                    2010-07 166:19
 Defendant'                                               11:00 98:3
                            Defendant'                                              2012 41:3,4,7 42:4,23
 s Exhibit 05 3:14          s Exhibit 19 4:6              12 145:18,22 146:20        110:5,21 111:4 250:16
  67:14 68:7,12,13,15,16     215:23 216:7                  250:13
  69:8 70:19                                                                        2013 26:7 41:10 111:6
                            Defendant'                    125 102:8                  112:3,8 113:2 115:18
 Defendant'
                            s Exhibit 20 4:7              13 20:2,9,13 21:11,13,    2014 41:10 95:4,10,15
 s Exhibit 06 3:15           217:20,25 220:15              19,21 26:8,9 89:8         108:3,4 115:20 116:4
  87:10,13,23 88:14 91:6,
                            Defendant'                     107:23 115:15 146:15,     203:25 207:18 213:24
  21
                                                           18                        214:4,6,7 215:1,11
                            s Exhibit 21 4:8 229:6,
 Defendant'                                                                          216:3,8
                             9,20 231:15 235:17           14 26:8,9 107:24 108:2
 s Exhibit 07 3:16
                                                           111:6 112:3,8 184:7,8    2015 18:16 21:23 41:10
  89:22,24 90:18 98:10      Defendant'
                                                           185:4,8,18                86:23 87:1 95:4,8,9
                            s Exhibit 22 4:9
 Defendant'                                                                          116:13 147:15 172:20,
                             238:12,16                    15 65:13 166:20,21
 s Exhibit 08 3:17                                                                   24 173:9,20 177:4
                                                           185:22,25
  99:13,16                  Defendant'                                               186:12 187:15,21
                            s Exhibit 23 4:10             150 19:3                   217:16 218:3 220:16
 Defendant'                                                                          229:11 230:15,22
                             239:1,5
 s Exhibit 09 3:19                                        153 19:3                   231:15,22 232:9 240:10
  108:13,16 109:6,18,24,    Stevenson Exhibit Bi          15th 164:18 196:15         243:23
  25 110:4,5 111:20         nder 3:6
  115:16                                                  16 195:20,24 196:12       2016 29:3 33:15,25
                                                                                     41:10 242:10 243:20,23
 Defendant'                              $                17 203:1,4 216:7
 s Exhibit 10 3:20                                                                  2017 5:2 242:10
                                                          1744 63:3,4
  124:7,12                  $10 247:20,21                                           20s 75:23
                                                          18 203:21 213:17,21
 Defendant'                 $7 243:17                      214:22                   20th 26:10,11
 s Exhibit 11 3:21
  124:7,12 127:9,16,20                                    19 113:2 215:23 216:7     21 189:14 229:6,9,20
                                         0                                           231:15 235:17
  140:12,25 143:3                                         1997 70:7,17,22 71:6,
 Defendant'                                                15,22 72:7,12            211 63:25
                            01 79:1
 s Exhibit 12 3:22                                        1998 76:23                21st 26:11
  145:18,22 146:20          07 14:16 15:5 60:16
                             68:2 166:10                  1st 67:25                 22 115:20 238:12,16
 Defendant'
                            08 14:16 15:5,9 60:16                                   23 116:4 239:1,5
 s Exhibit 13 3:24
  146:15,18                  78:8                                                   24 9:16 11:16 175:9
                                                                                     177:10 232:9



                                                      1                www.GeorgiaReporting.com/Schedule
                                                                                            404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 67 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 250 242:21 244:4,5                                      accommodations             advisement 89:14
                                        7                 97:25 220:25 221:1
 26 110:5                                                                           affairs 21:4 22:4,9
                                                         account 48:5 67:8 86:8
 28th 87:3 226:23          7 20:6,8,9 21:12 89:22,                                  affecting 9:18
                                                          93:10 173:25 243:3,5,7,
  240:11                    24 90:18 98:10 116:13         8                         African 138:13,14
 29 5:2 87:1                229:11 230:15,22
                            231:15,21                    accurate 9:9 24:16         age 139:2
 29th 225:19 226:24                                       26:9 68:22 69:2,4,21
                           770 572-2878 65:16                                       agent 103:3 105:17
                                                          71:18 73:4,8 87:18
 2:50 252:21                                              95:15 110:18,19,24
                                                                                     113:3,8 174:15
                           7th 229:22
                                                          114:13,14 117:4 129:1,    aggressive 122:3,5
              3                                           2 132:15 208:22 215:4
                                        8                 216:11 230:1,20,25        agree 113:7 192:9,13,
                                                          231:18 236:24,25           15 211:11,15,23 212:7
 3 23:14,17 24:22 34:19,
  23 115:16                8 99:13,16                     237:5,8                   agreeance 30:9
 3-7-15 116:21                                           accurately 14:9 27:21      agreed 166:17 211:7
                                        9                 29:16 32:4 80:17
 30 12:22 24:14 85:7                                      107:24 246:17             ahead 196:11 224:24
  91:20 93:7 110:20                                                                  226:2,7
                           9 67:1 108:13,16 109:6,       ACS125 102:4
  147:22,25 148:4           18,25 110:5 111:20                                      air 202:4
 30(e) 252:17               115:16,20                    act 134:19 162:11
                                                          174:12                    airline 75:2 99:23
 30337 63:4                9-11-30(e) 252:19                                         245:13
                                                         active 66:13
 30344 64:1,23             97 72:20 73:2,14                                         airport 99:21 102:2,12,
                                                         actively 243:10             21 104:3 120:13 168:6
 32 85:7,20 247:24         98 73:15                                                  175:19,22 247:12
                                                         actual 18:8 107:9 142:7
 350 242:21,22                                            224:3                     Alabama 66:7
                                        A
 3871 64:21                                              adamant 233:23             alcohol 11:12,15
 3:00 98:3 110:13                                         236:13 237:14
                           A-S-I-A 83:7                                             all's 239:18
                           ability 9:5,21                Adams 156:19,20
                                                          157:23                    allowed 34:24,25 35:3,
              4                                                                      4,5 63:16 94:12 96:7
                           abrupt 119:3
                                                         addition 140:24             126:2 159:14
 4 34:6,9,12,20,23 38:22   abruptness 118:7
                                                         additional 217:24          altercation 113:21
  39:8 68:13,15 70:19      absent 105:10                  250:11
  83:12                                                                             America 199:3
                           Absolute 164:8                address 62:24 63:20,
 40s 139:3                                                                          American 138:13,14
                                                          23 93:11 230:17 234:20
                           absolutely 12:17 73:25                                    244:10,13 245:3
                            74:16,19 99:12 102:10        addressed 145:24
              5             164:9 171:9 247:7                                       amitriptyline 10:1
                                                         addresses 48:10             28:23 29:8
 5 67:14 68:7,12,13,16     abuse 123:19 145:13
                                                         Administration 22:25       amitryptyline 11:5
  69:8 70:19               access 49:19 50:11
                            52:2 55:22 59:13 88:7
                                                         admission 129:23           amount 18:21,25 19:1
 50s 139:4,5
                            101:18,20                    advances 143:13,20         analogy 159:12
              6            accessed 146:1                advertise 81:7             and/or 252:18
                           accommodation 89:9,           advertising 83:20          announced 148:18
 6 24:24 31:14 87:10,13,    13,25 90:10,22 91:7,19                                   149:19
  23 88:14,21 91:6,21       97:17 98:9 107:5             advice 37:6,7,14,25
                            220:24 222:3,18 223:6,        38:4 248:11               answering 40:10 171:2
                            7                            advised 20:4                190:4,11 191:16




                                                     2              www.GeorgiaReporting.com/Schedule
                                                                                         404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 68 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 answers 7:12 251:6        arrests 14:1,4 17:3          autistic 241:18             207:13 213:14
 anticipated 45:14         arrivals 102:18,19           autograph 132:6            baggage 103:6,8,12,
                                                         135:14                     14,17 104:1 114:21,23
 anxiety 32:14,17 33:14    artist 187:2,3 199:24
                                                                                    211:1
                            200:2,3                     autographs 135:3,10
 anymore 48:13 60:25
                                                                                   bags 49:12 50:22
  62:7 78:15 131:13        artists 81:13 202:3          Avenue 63:4
                                                                                    249:23
  141:5 219:5
                           Asia 83:4,6,7                awarded 92:17 95:22
                                                                                   bail 113:22 114:4
 anyplace 57:7 70:18                                     96:16 97:23
                           asks 70:24
  71:11 245:15 246:9                                                               bailed 113:23 115:8
                                                        awards 47:5
                           aspect 104:8
 anytime 57:6 227:23                                                               Bailey 153:2,8,10,13
                                                        aware 89:1,3,7 123:17
                           asserting 227:25                                         154:2,6 155:5,16
 apologized 227:3                                        124:4 150:14 152:24
                                                                                    157:13,16,25 158:6,12
                           assessed 217:11               184:12,13 186:11
 apologizes 36:25                                                                   159:10,21 160:9,10
                            218:15                       187:13,24 188:6 204:21
 appeal 229:10,16                                        210:9 216:20 217:15       balance 17:19
                           assessment 151:16
 appealed 227:13                                        awesome 137:10             bank 243:3,5
                           assigned 142:6
 application 68:9 69:9                                                             bankruptcy 13:5,7
                           assignment 142:1                        B
  70:8 72:14,18 74:9,14                                                             17:6 19:15,24 20:14,22
                            218:25
  76:22 77:8 83:12                                                                  21:19 22:15 36:7
                           assignments 102:15           B-R-A-T-T-O-N 83:1
 applications 53:7,16                                                              bar 182:16
  246:7                    assistant 217:9 248:16       B25 141:24                 Barbara 229:14
 applied 17:23,24,25       assists 37:11                baby 184:3,5               based 30:9 37:9 47:2
  53:9,11 69:23 70:14
                           assume 8:24 22:13            back 25:23 29:4 36:9        74:2 126:12,19 149:4
  83:14 244:9,10,14
                            39:5 163:17                  53:18,25 60:6,14 61:5,     152:8 180:6,9 220:18
  245:5,15,20 246:17,19,
  20,21                    Atlanta 16:8 35:22            25 62:2 64:18 86:9        basic 109:4
                            37:11 63:4,25 64:23          91:6,13,21 92:11 95:23,
 applies 13:21                                           24 103:24 114:25          basically 83:18 84:12
                            72:15,19,23 74:21
                                                         120:25 140:23 145:11,      102:11
 apply 18:4,7 53:10         75:10 84:13 102:21
  70:13 244:8,22 245:4,     155:19 168:14 192:5          16 147:8,21,24 148:4      basis 10:25 84:4
  17,18 246:15              199:19                       151:24 161:21 163:22
                                                         164:13 165:2,15           begging 137:22 165:18
 applying 77:10 244:9      attack 32:17                  166:10,12,19 168:8,9,     begin 164:12
 appointment 216:23                                      16 179:7,8 191:5
                           attorney 20:1,3,17
                                                         199:19 201:7,11,12,20     beginning 231:6
  219:10,11 221:12          21:10,11 37:8,23 39:5
                                                         204:10 207:15 208:2
                            51:22 239:21 240:6,8                                   behalf 20:17 21:5 22:12
 approximately 29:24                                     209:22 211:24,25 213:9
                                                                                    23:24
  73:14                    attorneys 21:12 35:21,        214:13,19,25 215:5,15,
                            25 37:12                     16 216:5 217:1,2,7        belonged 155:6
 April 69:9,13,20 216:24
                                                         218:5,7,8,16 219:16,18
  217:7                    auction 50:14                                           Ben 42:11 92:2 98:22
                                                         220:19 221:13,15,21
                                                                                    122:11 126:16 132:18
 area 16:17 35:22          audit 150:9                   224:24 225:20,21 226:1
                                                                                    136:12 144:12 163:10
  204:20 249:4                                           231:5 232:15 235:13,21
                           audits 148:11 152:13                                     164:25 167:1 170:20
                                                         244:11,13,24 245:1,2,
 areas 104:2,4                                                                      174:7 177:5,7 179:23
                           August 18:14 67:20,25         13 246:22,23,25 247:2,
                                                                                    183:20 188:9 189:1,3
 arise 5:11                 110:5 215:1,11               3,4,5 248:16
                                                                                    193:4 201:14 209:12
 arrange 252:10            aunt 93:17 98:12             background 81:3             234:8 236:25 237:10
                            158:20,21 171:8,17                                      240:15 245:20 249:6
 arrest 14:21,22 15:4                                   backtrack 208:5
                            222:5
                                                                                   bench 16:21
 arrested 14:6,8,22                                     badges 95:18
                           aunt's 171:10 209:1                                     benefit 99:24 161:25
  15:6,15,25 16:5
                                                        bag 25:21 26:5 105:4        174:14



                                                    3              www.GeorgiaReporting.com/Schedule
                                                                                        404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 69 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 benefits 17:24 18:1        bothered 118:7 132:20          bunch 180:10               Cambridge 63:4
  22:24 23:10 54:17,22,
                            bothersome 119:3               bus 181:7 199:5,10,11,     Camp 247:12
  23 55:3,5,7 56:6,17,23
                                                            20,23 200:13,20 201:9,
  57:17 144:7 145:11,13     bottom 111:19 238:22                                      canceled 114:6
                                                            11 202:1,5,7 213:12
  199:9 224:11,15
                            bounce 150:20                                             Candice 156:25 157:8,
                                                           buses 202:3,8
 bid 97:14,15,17,18 98:7                                                               20,24 158:13 160:5,6
                            box 239:23
  110:13 145:3 223:2                                       business 63:16 81:24
                                                                                      candidly 249:1
                            Boyette 186:16,18,23            82:4,5,11 101:1 124:1
 bidded 103:24 126:25
  144:9
                             187:1,8,16,20,21 188:7,        135:8 139:25 162:15       car 20:7 90:13 93:11
                             14,17 190:10,19 191:1,         176:13,15,20 177:4,21      98:15,16 105:11 222:4
 big 97:3 128:22 229:19      25 192:4,6,18,19               186:24 190:18 192:23       225:14 241:4
                             193:19,24 194:15,19            201:6,14,15,24 202:1,2,
 biggest 135:12 234:1                                                                 cardiologist 33:12
                             195:2,3,8 196:14,22            7 205:5 207:3,5,7
 bill 49:14,15,16,20         197:3 198:2                                              care 23:7 94:16 241:17,
                                                           businesses 82:6
  50:11,12,24 51:2,12,13,                                                              18,24 245:25 246:4
                            boyfriend 57:22 77:4
  14                                                       busy 36:19 226:20
                             78:1,11,16,18 79:12                                      career 45:14 102:25
 biology 66:12 244:20        160:24 172:2 173:2                                        103:3 107:13 118:13
                             181:23 193:17 198:23,                      C              128:19 130:15 144:11
 birth 65:3
                             24                                                        175:1 189:13,21 191:5
 birthday 207:20                                           calculate 179:8             200:18 226:22 237:11,
                            boys 198:10
                                                                                       12 240:19 245:11
 bit 73:3 84:5,6 127:5                                     Caleb 186:16
                            bracelet 121:14,21
  161:21 202:15 207:10                                                                careful 22:19
                             122:17                        California 167:5 168:8
  242:25 248:10
                                                            170:1 172:23 173:8        Carol's 122:22
                            Brady 156:23
 blah 59:11 150:23                                          177:14 178:16,25          Carole 89:15,16 91:3
  168:7 199:19 233:13       branding 81:7 83:20             181:14 184:4 187:20        93:20 94:5 106:10
                             84:9,17                        191:24 196:21 234:3
 Blanding 161:7,8,10,                                                                  125:15 144:23 221:8
  15,19,25 162:14 164:5,    Bratton 82:23,25               call 5:22 10:9 28:4        carpenter 82:12
  11                                                        41:14 42:25 47:5 50:13
                            break 67:11,13 106:18
                                                            53:3 81:13 84:2 92:23     carpentry 82:8
 blank 63:3                  147:4,6 168:5,10,11,12
                             199:15,16,18 207:24            96:11 102:8 105:24        case 19:15 34:15 36:15
 blindsided 166:22                                          106:3 141:20,23,25         37:2,6 38:1,10 39:15
  189:23                    briefing 94:10 118:5            142:1,7,8 146:4 152:6      114:4 226:6 228:3,15,
                             121:14,15,16 122:21            155:25 156:2,3,4
 body 222:15                                                                           20 229:4
                             123:3 141:23 147:20            163:12 168:5 199:12
 bologna 180:10                                             200:23 210:10 214:17      cases 36:1 37:13
                            broadest 55:4
                                                            219:16 224:8,17,22
 bombarding 137:18                                                                    cash 85:22,23,24
                            broke 105:11 161:20             225:13,15,19 226:17,
                                                                                       242:23 243:1,16
 book 49:12 50:22 55:16      162:8                          21,24 227:9 229:11
  57:25 59:4,7 61:5                                         244:17,18 248:15          Castle 83:13,16 85:8
                            Brown 63:18
  155:13 156:10 167:16,                                     252:16
                                                                                      catches 37:3
  21 176:6 199:13 249:23    buddies 201:3
                                                           called 25:9 64:13 83:13
                                                                                      caused 164:10
 booked 58:6,13 59:4,       buddy 100:20 153:1,7            100:19 103:10 108:17
  11 60:5 61:6 165:4         155:5,16,21 156:12,14          113:8 119:22 142:13       celebrities 84:18 85:3
  167:9,14 168:7,14          158:11 159:21 160:9            147:15 148:21 217:9        130:6 131:21 132:19
  174:19 177:12 188:1        195:4                          225:20,21 226:23           135:3,4 139:22
  190:13,24 210:6                                           239:12 248:16 251:17
                            build 82:10 200:18                                        celebrity 128:1,4
 booking 176:7 190:16        202:13                        calling 86:15 160:1         137:5,21
 booklet 251:10             builder 82:8 83:18             calls 5:24                 cell 65:6,7,14 169:2
 bother 136:4               bulb 246:11                    calm 206:9                 Center 72:24 74:22
                                                                                       75:10




                                                       4                www.GeorgiaReporting.com/Schedule
                                                                                             404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 70 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 CEO 86:8                   civil 17:7,10 252:18           college 16:15,18 66:4,7   complete 9:9 24:16
                                                                                      69:18 70:21,23,25 71:1
 certainty 130:16           claim 103:6,7 236:19           color 64:22
                                                                                     completely 7:17
 certification 245:2        claims 227:25                  comment 22:5 47:19
                                                                                      111:10
                                                            54:9 68:3 121:8 126:3
 cervical 207:12            clarification 9:2
                                                                                     complexion 138:11
                                                           commented 118:6
 chance 41:21 233:24        clarify 26:15
                                                            157:12                   compliance 96:9
 change 31:24 91:19,20      Clavo 30:5,23,24 31:6,                                    116:16 118:12,15
                                                           common 121:5
  92:1 93:4,9,10,24 94:1,    11,15                                                    150:10
  3 134:5 190:7 222:21                                     communicated 57:9
                            clear 24:2 50:2,23 58:1,                                 complied 116:6 176:2
                                                            58:19
 changed 6:5 58:25           5 71:19 74:19 98:7
                                                                                     comply 101:10 215:19
  65:6,7 67:23,24 87:22      104:23 111:9 134:7            communication 60:1
  102:4,6 220:22             139:14 144:3 151:1             61:1                     complying 230:4
                             152:21 159:6,19 161:5
 chaotic 120:11,14                                         communications            computer 41:16
                             162:7 164:25 169:15
                                                            42:13 43:12 44:23 45:8    120:21
 Chapter 20:2,13 21:11,      170:3,9 173:6 177:1,9,
                                                            56:5,10,15,20 57:8,12,
  19,21                      16 180:1,7,21 181:6                                     concert 178:12,13
                                                            24 58:12,21 59:15
                             188:3 198:20 201:21                                      188:7 190:19
 charades 180:8              202:10 208:24,25
                                                            196:6,14
                                                                                     concerts 173:17
 charge 238:18 243:17        209:2,3 210:5,12 226:4        community 244:1
                                                                                      178:11 181:2 188:11
                             231:1,7 237:13 240:22
 check 105:2 168:4                                         Comp 146:4
                            client 186:18,20                                         concise 212:2
  169:1,2 242:24 243:2,
                                                           companies 53:18
  13,15
                            close 84:1 87:21                                         conclude 239:24
                                                           companion 56:12
 checked 43:17 239:23       closed 83:22,24                                          concluded 97:4
                                                            100:11,15 153:23
                                                                                      204:22 252:21
 checking 243:8             club 84:13,17 103:5,19,
                                                            160:19 161:1,16,19
                             21,23 104:1 107:17
                                                            163:1 164:11 172:4,11    Concourse 118:25
 checks 85:6                                                205:14 206:4,8,9 209:8
                             126:22 128:1,2 130:5                                    condition 30:12,20,25
 Cherukupally 10:15,                                        210:4,17
                             132:20 141:4,14,19                                       31:16
  19 26:23 27:19 30:3,7      188:22                        companions 56:5
  31:8,15
                                                            100:3 101:14 123:19
                                                                                     conditions 30:4
                            clubbing 198:12
 Cheryl 126:18 127:1                                        147:17                   conduct 129:7
  133:8,25 134:3,12         clue 240:17 241:8
                                                           company 77:1 80:6,13,     confirm 20:18
  140:11 142:25 143:9
                            coach 117:10 118:1              16,22 81:9 84:11
                                                                                     confirmation 168:19
 chest 32:13,14 33:14       coached 111:3 113:3            compensation               169:3
 Chicago 74:6                116:3 117:5,24 210:19          188:12,13,16
                                                                                     confused 60:25 219:6
 child 234:3,17 241:18      coaching 109:9 116:14          competitive 244:11
                             117:7                                                   congratulating 92:15
 child's 179:25 233:12                                     complain 143:5 223:16
                            coachings 109:16                                         connecting 168:14
 choose 162:5 250:21                                       complained 96:14
                             115:17,24                                               considerable 160:13
  251:17                                                    97:10 133:3,10,23
                            Coat 141:4,12,16,18             134:18 140:25 145:4      consistent 22:14
 Christopher 161:7,8         143:9
                                                           complaining 140:24         191:22 218:4
 cigarette 84:17            Cobb 50:1 244:21                227:19,20                constant 118:8,9
 cigarettes 84:15           Cocina 245:7,9,11              complaint 39:15,18,19      122:13,14
 circumstances 122:8                                        40:12 94:1 140:11        constantly 118:7
                            Cole 199:1,22,25 200:1
                                                            143:2,3                   122:12 143:19
 cities 202:4               colleagues 36:19
                                                           complaints 12:9           contact 36:2 167:24
 city 16:8                   118:6 145:24
                                                            144:17 145:5 227:19       248:19




                                                       5                www.GeorgiaReporting.com/Schedule
                                                                                             404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 71 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 continue 77:13 78:13        172:2,5,8 176:3,21           coworker 97:9,22           dates 143:21 155:12
  250:19                     186:16,19,24 187:2            157:1,2,3 158:18 206:2
                                                                                     dating 79:1,3,6,17
                             188:18 192:23 194:17,         224:12,14
 continues 231:16                                                                     80:21
                             25 195:5,8 196:15
                                                          coworkers 96:15
 conversation 41:25          201:18 204:14 207:13                                    daughter 177:15,23
                                                           122:1 126:13 135:17
  111:7 114:15 128:17        213:14 214:7,12,15                                       179:3,4,10 182:10,20,
                                                           157:21 159:2
  132:22 160:17 199:17       215:2,12 221:3 222:23                                    23 183:4,18,21,23
  205:15 226:18 227:6        231:22 232:4 236:2,20        Crawford 32:10              184:6,13,17,19 185:1
  228:2 230:1,23 232:6       240:10 251:14
                                                          craziness 218:20           daughter's 236:20
  233:6,24 236:13
                            correction 114:8
                                                          crazy 41:5 98:5            daughters 184:14
 conversations 30:6
                            corrections 252:4
  128:14 205:11                                           credit 17:10               day 6:15 7:15 8:17
                            correctly 112:25 114:5                                    16:23,24 36:5 52:5,8
 cooking 130:19                                           Creek 247:12
                             121:13 131:5 142:10                                      98:25 111:15 112:9,20
 cool 162:10 163:24          146:3 149:24 167:4           Crestridge 63:25            113:3 114:12 115:3
  201:6                                                                               118:9,17,18,21 119:1,4
                            correspond 45:15              criminal 7:1 17:7,9         121:11,12 138:18
 coparenting 234:4
                            Cortes 149:1,3 185:21         current 62:24               141:25 142:5 157:12
 copied 43:2                                                                          165:7,13 167:25 175:9
                            counseled 210:16              customer 102:3 103:2        177:10 179:9 190:17
 copy 41:9,10 43:4                                         105:16
                            counselings 108:6                                         206:6 207:20 212:10
  48:22 49:3 122:23
                             124:14                       cut 19:1 205:1              226:19,20,23 240:21
  123:1,4,6 234:12
                                                                                      245:8
  252:11                    count 13:15 36:23
                             142:2,3,4                                 D             days 33:9,12 91:20
 correct 5:18 6:19 7:5,9,                                                             92:16 93:7 96:11
  12 13:5 16:9 22:16,20     counted 29:17 36:16                                       115:24 175:9 179:9,21
  23:1 24:7,13,18 25:4,17    203:15                       dah 90:9
                                                                                      199:16,18 201:3 219:17
  26:5,7,19 37:21 38:5,22                                 Dais 56:11,16,21 57:13
                            counter 102:16                                            220:10 224:12,23
  39:6,7,20 44:23 45:1,5,                                  58:12 59:7 60:1 61:6       225:15 227:1 242:17
  24 47:8 51:1 54:13        counterpart 96:13              76:24 77:2,4,11,14,24      247:13,14,16,17,18
  56:14 60:1 62:18 65:8,                                   78:18 79:17 80:4,13,24
                            counterpart's 92:18                                       248:19
  20,25 66:5,14 67:17,20                                   81:8,22 82:4,5,15,18
  68:9,17,24 69:9,14        counterparts 119:14            160:14,18 161:18          dead 126:17
  76:24 77:2,4 78:6 80:4     126:13                        162:17 164:14,19          deal 28:9 50:15 51:25
  81:9 86:21,23 87:6,14,                                   166:1,25 167:24 169:7
                            country 246:3                                             84:1 92:9 126:13 172:7
  24 88:9,20 89:1,4,9,13,                                  170:5 171:19,25 172:4,
  25 90:14,23 91:14,18,     County 244:21                  7 173:8 186:15,18,23      dealing 15:12 28:8
  22 93:5,11 94:1,17 97:6                                  187:1,4,20 192:18          42:11 93:13 98:24
  99:3,11,25 100:4,7,14,    couple 6:14 7:14 19:9                                     222:8,10
                             82:19 99:21 143:13            194:15,16,19,24 195:2,
  17,20,25 101:1,11,14,                                    7 196:8,14 197:2 198:6
                             144:7 151:2,24 222:12,                                  dealings 151:14
  18,22 102:3,9,12,17,22,                                  234:15 235:3
  25 103:3 104:5,17,22       13 245:20 249:6 251:8                                   deals 115:7
  105:6,14,18,25 106:7,     court 6:19,23 7:23 8:5        Dais's 167:10 172:20,
  11 107:5 110:5,8,15,16,                                  23 202:18                 dealt 15:18 99:2 107:14
                             12:6 14:18 15:19,23
  18,22 111:1,4,8,20         17:18 19:25 20:18            darker 138:12              death 90:7 222:9
  112:3,8,14 113:4,9         22:16 43:5 249:18
  116:4,17 117:3,25                                       date 18:8 28:24,25 65:3    December 21:20,23
                             251:4 252:10,11
  124:2 127:18,23 128:1,                                   68:1 79:14 86:25 107:9,    115:18
  11,19 129:7,19 133:11,    courthouse 16:17,19            10 109:17,24 110:1        decided 28:21 75:1,8
  14,17 135:4 140:12        courts 11:22                   111:1 112:4 113:9
  145:13,16,17 147:1,10,                                   119:12 155:15 223:24      decision 85:13 152:6
  17 149:9,14 153:21        Cousins 114:23                 224:3 240:13              deduct 51:21
  158:24,25 160:14,20,24    covered 208:22 209:13         dated 110:5 172:17         deducted 17:14 105:2
  162:17 164:20,22
  166:2,5,11 169:8,11



                                                      6                www.GeorgiaReporting.com/Schedule
                                                                                            404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 72 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 degree 65:25 66:10         depression 10:6 31:4          discussions 109:23         due 114:7
  244:20                     98:23
                                                          dismissed 17:18            duh 246:11
 Delta 18:11 23:20,21,24    designate 100:10,16
                                                          district 20:18             duly 5:5
  42:14 43:12,14,15,18,
                            designated 142:11
  20,24,25 44:6,13,19,23                                  division 102:3             Dunn 82:23 201:5
  45:9,19 46:2,8,17,25      desk 148:6
  47:15 48:1,3,4,6,18,22
                                                          divorce 13:9               duplicate 250:1,2
  49:4,10,24 50:3,6
                            detail 150:13
                                                          doctor 30:11 31:9          duplicates 249:8
  52:13,18 54:18,22 55:9    details 114:19                 32:15 75:3 76:9 221:13,
  58:14 59:3,8,13 60:25                                                              duties 101:25
                                                           15 223:21 224:3
  62:2,10 65:8 67:19        determination 205:8
                                                           241:17,24 242:5           duty 215:2,11 217:3
  68:8,16 69:23 76:10,11,    239:12
                                                                                      218:2,16,17,21,22,24
  14 77:10,18,25 83:14                                    doctors 31:13,24
                            detour 99:7                                               219:8,13 220:16,19
  86:9,10,19,20 87:5,13                                    222:13 242:6
                                                                                      221:16,22,25 223:25
  88:17,23 89:5,8,13        Detroit 155:18,19
                                                          doctors' 31:23
  90:23 97:4 99:7,24        developer 83:17,18
  100:14,19 101:3,16                                      document 19:18 20:22                    E
  102:1,25 103:3,5          DGS 246:11,15                  24:20 34:14 39:6
  104:13,22 105:13                                         108:17,19,25 196:13       E-FILE 252:15
                            diary 42:13,15
  111:14 112:1 118:13,                                    documentation
                            died 93:14,18                                            e-mail 43:9,23,25 44:1,
  23,25 123:18,23 124:16                                   236:18                     2,25 45:19 46:15 47:8,
  129:6 133:4 139:21        difficult 245:10              documents 11:21             10 48:5,10,13 53:18,20,
  143:7,17 145:23,24
                            Direct 118:24,25               12:2,4,11,21,23 19:10,     22,23,25 54:13,14
  154:18 157:4,7,18
                                                           17 26:15 40:16 44:12       55:15,24 59:10 60:7
  161:2 169:13 170:4        directly 43:15 122:22          48:22 49:4,9,18 50:3,7,    61:3,10 91:5,21 93:3
  176:2 196:5,13 203:18      205:18 206:20                 16,18,25 52:11,14,19,      122:22,24 146:8 163:13
  204:22 205:4,7,20
                                                           23 54:16 55:2,4 57:24      173:24 186:1,2 244:11
  218:22 219:8 237:24       disability 22:24 104:21
                                                           60:21 62:8 249:1,4         247:1,2,4
  238:5 240:9 241:7,11,      105:4,6
  14 248:2,6                                               250:12                    e-mailed 40:2,3,6,7
                            disagree 111:12 151:9
                                                          Domestic 92:12 94:21,       41:4 46:13 48:24
 Delta's 24:9 34:14         discipline 74:15 75:9                                     246:22
  55:11 56:6 87:6,24 88:8                                  22 95:18 107:16 145:3
                             108:7 133:10,13 139:14
  99:11,16 104:13 105:13                                  door 89:4 118:23           e-mails 43:9,10,11,15,
  111:18 124:2              disciplined 139:11             121:17 123:9 200:15        18,20 44:6,9,12 45:12,
                                                                                      16,24 46:1,8,16,21
 Deltanet 55:6 101:17       disciplines 124:15            dot 48:15                   47:7,15,17,24 48:2,6,
  168:24,25
                            disconnected 248:19           double-check 11:10          17,18 56:25 57:23
 demeanor 131:18                                                                      58:22 59:6,25 61:24
                            discounted 100:15             doubt 9:1 147:14            151:24 167:19
 department 52:21 81:6      discovery 43:6                draft 38:23
  96:18                                                                              ear 225:13
                            discrimination 145:5          drafted 38:22
 departments 103:5                                                                   earlier 126:24 210:24
                            discuss 59:21 129:12          drink 11:12,14              213:13 214:25 221:3,5
 depending 85:2 86:5                                                                  222:2
                            discussed 108:18              Drive 50:1 63:25
 deposit 243:13                                                                      early 172:20,24 173:9
                             109:7 134:12,14 231:2
 deposition 5:1,12 6:12                                   driver's 233:19,21
                            discussing 134:11,24           234:13                    earning 247:19
  7:2 11:19 12:3 78:22
  248:24 249:16 250:19      discussion 20:24 22:6         dropped 18:18              easier 7:15,21 8:4
  251:1,2,18,20 252:12,      34:10 47:20 54:10 68:4
                                                          dual 170:12 177:16         easily 41:20
  21                         106:23 110:20,21,25
                             120:15 140:21 207:23          178:20 179:9 182:24       East 16:13,15,18
 depressed 29:21                                           232:23 233:4
                             227:17 230:8 250:24
  98:21                                                                              easy 41:18
                             252:13                       Dubois 156:25 157:24



                                                      7               www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 73 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 educational 38:19          engaging 132:24               exception 42:23            faced 151:25
 Edwards 124:25             enjoy 144:10 174:13           excited 131:21             fact 109:16 135:5 165:7
                                                                                      187:24 193:23 228:1
 EEOC 50:18 238:19          ensuring 150:10               exhibit 19:12,22 20:23
  239:8,12,24                175:25                        21:3 23:14,17 24:22       facts 38:24
                                                           34:6,9,12,19,20 38:22
 effect 41:13               entertainment 202:2                                      Failed 142:6
                                                           39:8 67:14 68:7,12,13,
 effectively 55:8 58:17     entire 43:2 55:18              15 69:8 70:19 87:10,13,   fair 23:13 39:9,11,12,13
                             102:24 103:3 199:4            23 88:14 89:22,24          71:5 88:6 102:20
 efforts 52:12,17                                          90:18 91:6,21 98:10        108:10 126:6 183:24
                            entirety 161:2                 99:13,16 108:13,16
 elderly 23:8                                                                         184:1 192:10 215:6
                            entitled 100:13                109:6,18,24 110:4
 electronic 53:9 252:14                                    111:20 115:16 124:12
                                                                                     fairly 66:13 125:20,24
                            entries 109:6                  127:9,16,20 140:12,25
                                                                                      126:1 127:15 149:6
 elevator 138:19                                                                      151:6
                            entry 110:4,18 113:2           143:3 145:18,22
 else's 64:3                                               146:15,18,20 185:4,8,     fall 26:5 71:13 96:9
                             229:20 231:9,10,14
 Emory 32:10 33:12           232:10                        18,22,25 195:20,24         207:13
                                                           196:12 203:1,4 213:17,
 emotional 179:19           EO 229:13                      21 214:21 215:23 216:7    fallen 95:2 107:23
                                                           217:20,25 220:15           223:10
 emotionally 245:10         ER 31:22 32:3,8,11 33:4
                             34:2 75:2                     229:6,9,20 231:15         false 7:2
 EMP 115:25                                                235:17 238:12,16
                            erase 53:21 54:15              239:1,5                   familiar 87:5,12,24
 emphasized 31:9                                                                      99:8,10,18
                            Ernest 156:19,20              exhibits 124:7
 employed 57:3,5,10,                                                                 family 5:24 90:7 100:24
  11,15,20,22 58:14         error 215:14,18,21            exists 123:20               154:4,7,15 155:4
  102:1                                                                               161:24 176:9
                            escort 128:13                 expect 22:2 166:18
 employee 55:15                                                                      fan 128:22 131:15
                            escorting 128:13              expecting 55:20
  108:18 137:2,10 191:9
  211:21 213:4,5,12         established 151:5             explain 172:13             fans 135:12
                             160:18
 employees 81:11,22                                       explained 115:6            Fargo 243:6,15
  82:1 99:25 100:2,4        establishes 239:25             150:13 239:17,19          fashion 104:9
  123:18 145:23 146:8
                            establishment 52:25           explaining 32:16           fast 101:3 185:16
 employers 62:11                                                                      197:8,15
                            estimate 14:15 29:1,18        explore 127:20
  69:13 70:18
                             33:21 73:1,5 78:5
                                                          express 143:9              faster 61:18 165:24
 employment 45:9
                            evening 33:1 212:11                                      father 52:5 171:23,24
  50:4,5 68:1,9,23 69:12,                                 extensive 33:13
                             226:20
  19 70:22 72:14,18                                        202:19                     184:2 204:20 249:20
  77:17,19 83:11 86:10      event 88:7 111:17                                        favorite 124:9,23 125:1
  101:18,21 108:6 151:7                                   extra 158:22,23
  161:2 227:23 248:2
                            events 109:22 208:10                                     fax 233:15 250:14
                             227:17,19                    extremely 36:18,19
 encounter 151:11,12,                                      128:8                     faxed 46:6,13 48:24
  17,21
                            eventually 183:3                                          233:11,16
                                                          eyes 76:10
 encounters 125:13          evicted 64:7                                             February 111:6 112:3,
                            eviction 13:12 14:3                      F                8 113:2
 end 79:1 114:8 213:1
                             17:3
  221:14 231:21 233:24                                                               federal 6:23 252:17
  234:5 236:13 248:24       exact 15:9 94:25              fabricated 129:4           feel 29:21 126:10,12,15
                             207:19                        131:24
 ended 16:23 41:8 67:22                                                               166:21,22 210:3
  97:9 103:19,20 142:22     EXAMINATION 5:7               face 148:8,9 152:1         feeling 10:10 38:15
  200:14 209:21 219:13
  236:15                    examined 5:5                  Facebook 66:16 157:9,      fees 51:21 195:5,7
                                                           18,20



                                                      8              www.GeorgiaReporting.com/Schedule
                                                                                          404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 74 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 fell 25:21 71:2,14 105:4    209:23 244:11                friend 63:8,11,17 154:7     112:2 116:14 150:6
  213:14                                                   155:2 161:11 163:10        155:8 156:16 159:10
                            flights 100:13 168:12
                                                           186:20 240:8               165:13 180:17 185:19
 fellow 96:15                204:1
                                                                                      188:10 190:6 191:17
                                                          friendly 134:22,23
 felt 74:2 126:5 132:18     flown 55:10 199:4                                         240:2 245:18 246:18
                                                           135:1 138:15
                             210:5
 figure 60:21 61:21 75:5                                                             general 7:7 39:5
                                                          friends 81:20 82:20
  220:14                    flu 105:11
                                                           87:21 100:24 154:4,15     generally 87:5,24
 figured 226:21             fluctuate 82:3                 155:4 157:10,13,19,20,
                                                                                     generate 41:17
                                                           21,24 158:3,6,19 159:2,
 file 22:18 40:8 133:14     fluctuates 81:24               4 161:24 162:2,3 176:9    gentleman 186:15
  141:6 142:22
                            fly 62:6,7 87:13,25            182:16 186:21,22
                                                                                     Georgia 19:25
 filed 12:6 19:24 20:14      155:24 158:21 162:9
                                                          front 68:6 119:6 127:8
  21:4,11,16,18,23 22:10,    199:8 201:4,7,12
                                                           213:20
                                                                                     get along 125:9
  23 23:2 39:16 41:1         203:10,12
                                                          full 9:9 51:20 84:22       giddy 86:17
  238:19
                            flying 176:10 199:22           85:11,17,18 86:19         girl 83:5 179:10,19,24
 files 123:5                 201:20 202:6 206:9
                                                           103:23 104:13 126:24       184:5 246:18
 filing 23:3                FMLA 113:8                     215:11 218:2 220:16,19
                                                           221:24                    girlfriend 172:2 239:21
 filings 22:15 37:25        focus 90:17 209:5
                                                          full-duty 216:6            give 6:14 7:18,25 8:23
                             230:14
 fill 33:2                                                                            9:9 12:7 14:15 29:1
                            focused 209:6,7               full-time 84:20 85:9,16     35:6 38:4 40:21 41:9
 filled 69:8 70:7                                          144:7 242:9                53:18 54:7 62:24 63:1,
                            focuses 80:10
 final 251:19                                             fun 173:16                  22 73:1,5 78:5 85:24
                            folder 42:18,21 43:2                                      100:22 111:14 112:2
 finally 114:9 148:9                                      funeral 170:5,7,9           114:19 120:23 122:7
  225:21                    follow 157:18 170:15,          171:4,6,7,11,13,20         128:18,21 129:3,24
                             17 181:23 198:23,24           209:1
 financial 21:4 22:4,9                                                                130:8,12,19 137:5
  188:15 193:18             food 18:2,3,7,23 128:7                                    141:25 142:1 150:24
                                                          funny 191:4
                                                                                      155:10,16 156:14
 find 33:19 44:18 52:12,    foot 200:15                   furlough 244:15             158:11 159:5,10,21
  17 59:18 224:6 225:17                                                               174:14 205:19 225:13
                            forget 138:15 219:24          fuss 92:21
 findings 28:21 225:23                                                                226:25 243:1,17
                            forgot 33:11 92:18            future 249:17
  226:2                                                                              giving 6:22 8:13 37:15,
                             142:7
 fine 106:20 126:3                                                                    25 188:9 189:8 191:15,
                            formally 244:22                            G              17 199:16,18 226:7
  148:16 190:1 213:6,9
  252:9                     forward 243:20                                            227:4 233:12 234:16

 finish 7:17 74:12 196:9    forwarded 47:3                game 188:23 189:12         glad 58:4 104:24 169:9
  204:24 231:12                                           games 237:12               glass 11:13
                            found 29:5 46:14 205:4
 finished 118:4              239:13                       gap 96:8                   gmail 48:7,13,15
 finishing 121:15           Francisco 149:1               Gary 35:10                 Gold 129:22
  211:19
                            Frank 185:21                  Gary's 35:11               good 30:2 81:5,7 83:19
 fired 237:24                                                                         86:18 101:8 104:5
                            free 64:6 99:25 100:7,        gate 174:14
 firm 35:19 41:17            13 123:18 159:4 164:1,                                   122:20 137:2 184:2
                             3 193:6                      gates 102:17 103:8          200:4 211:14,20 213:3,
 firms 37:11                                               104:1                      5,11 245:25
                            frequent 206:3
 fit 96:20                                                gathering 37:12            gosh 14:16 16:10 26:8
                            frequently 146:19                                         29:2 63:3 78:19 128:23
 flew 60:8 162:12 176:10                                  gave 6:19 18:21 20:2
                             194:16                                                   208:21 245:7,17
 flight 59:11 60:5 100:7                                   32:25 38:24 39:6 40:7
                            Friday 85:2                    47:13 87:17 97:5 98:3
  167:21,25 203:25



                                                      9              www.GeorgiaReporting.com/Schedule
                                                                                          404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 75 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 governmental 18:1         happen 7:8 8:17 15:24           162:8 163:12 168:3,4,9,   hot 84:14,18 85:1
                            112:24 119:10 227:8            11,13 176:10 199:15,18     119:22
 graduated 66:6
                                                           201:4 223:14 246:2
                           happened 15:10 16:9                                       hour 247:21
 graduation 233:7
                            26:10,11 97:8 98:17           hide 43:1
  235:4 236:6,20                                                                     hours 9:16 11:16 14:13
                            112:19,23,24 113:12
                                                          high 65:24 66:3             18:18 84:24 85:5,19
 grant 94:2                 114:20 115:10 117:12
                                                                                      175:9 177:10 247:23
                            128:10 178:17 202:13          hire 163:8,10 238:5,7
 granted 92:13 93:25        206:20 208:14 211:2            246:4                     house 13:1 45:8
  94:4 104:22 222:23
                            212:8 227:22 239:14
                                                          hired 67:19,21,22 86:11    houses 83:21
 great 172:7 191:8         happening 209:11                237:19,21 238:11
                            218:20
                                                                                     Houston 198:3,6,8
 Greater 72:15,18,23                                       248:12
                                                                                      201:4
  74:21 75:10
                           happier 75:16                  hiring 52:25 246:23
                                                                                     HR 126:16 129:11 133:8
 grief 93:13               happiness 247:3
                                                           247:5
                                                                                      143:5 144:17,22 145:4
 group 150:9                                              historically 47:11          148:2 149:9
                           happy 97:12
 grown 189:18                                             history 68:16,23 69:12,    huh-uh 202:17 204:4
                           hard 8:5 48:22 49:3
                                                           18 70:21,23,25 71:1
 guess 10:9 12:8 28:20      101:3 165:22                                             huh-uhs 8:6
  38:16,24 39:10 47:5                                     hit 168:9 202:4
                           he'll 36:25 37:3 38:3                                     hung 226:15
  55:16 58:15 60:6,24
                            39:2 164:6 200:23             hitting 202:5
  78:9 80:7 81:12 84:2                                                               hurt 104:16 143:16,17
  107:17 128:8 153:25      head 86:7                      hold 128:14                 207:11
  167:6,18 194:21 200:15
                           healthcare 25:2,9              holiday 11:14              husband 175:6
  215:3,13 233:9 235:24
                            31:16 72:15
  239:17 246:13                                           home 73:8 200:23,24
                           hear 205:17,25 220:10,                                               I
 guessing 7:7                                             homeless 62:25
                            11 225:16 235:21
                                                           242:13
 guidelines 6:14 116:15                                                              ID 66:18
                           heard 98:1 238:7
                                                          homelessness 241:4
 guy 82:23 138:15,16        244:13                                                   idea 7:7 132:17 204:2
  174:5                                                   honest 27:12 63:15          241:8 250:7
                           hearing 189:8
                                                           67:5 71:18 75:24 94:25
 guys 80:20 125:3,5                                                                  identification 19:12
                           heart 33:13 76:11               114:1 119:11 131:10
  172:10                                                                              20:23 23:14 34:6 67:14
                                                           132:2,8 135:5 144:4
                           heavily 98:21                                              87:10 89:22 99:13
 gynecologist 25:8                                         146:2 163:21 165:5,10
                           heck 37:1                       167:1 171:15,21 173:23     108:13 124:8 145:19
                                                           175:14 179:8,24 183:6      146:16 185:5,23 195:21
              H            height 138:8,9                                             203:2 213:18 215:24
                                                           191:15 195:13 206:18
                           held 62:9 132:21 248:1          212:4 223:15 224:4         217:21 229:7 238:13
 hair 119:16                                               240:15 241:1 246:16        239:2
                           helped 23:2 241:16,17
 half 33:8,23,24 64:25      242:14 243:25 244:6           honestly 40:5,10 52:22     identified 27:10 164:22
  65:2 103:18               249:21                         58:17 59:20 75:19          166:4,5 248:2

 hamburger 175:21                                          98:22 107:24 146:10       identify 25:14 164:25
                           helping 83:25 84:1              147:25 205:11 209:16
                            200:10                                                    165:9 231:4 232:4
 handle 36:21 134:21                                       211:15 212:2 245:21
                           helps 29:21 35:21,25            249:6 250:4               Imari 184:7
 handled 134:21,22
                            186:23                                                   impaired 9:6,7
 hands 49:8 148:7                                         hop 200:13
                           Hewitt 41:8,14,20 42:6,        hope 183:13,14             inaccurate 116:21
 handwriting 185:13         24                                                        117:2 126:11 231:4
 hang 24:19 155:2                                         horribly 119:18             232:4,10,12,13 237:4,7
                           hey 37:1 59:4,10 60:8
  198:10                    61:6 78:4 86:15 90:8          Horse 49:25                inappropriate 119:4
 hangout 198:10             98:3 103:11 131:11                                        143:6
                                                          hostile 143:11 221:10
                            141:24 156:10 158:20



                                                     10               www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 76 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                        June 29, 2017

 incident 112:5             interviewed 210:10              judgment 17:11            Kim 85:3
 include 14:3               interviewers 170:4              judgments 13:17           kind 8:10 11:20 16:18
                                                                                       25:25 28:19 29:21 30:6,
 including 7:1 104:16       investigated 210:11             July 86:14 87:1,3
                                                                                       8 31:5,8 32:15 36:6,7
  249:3                                                      147:15 164:18 217:6,11
                            investigation 152:25                                       38:15 41:15 53:2 60:11
                                                             218:9 221:15 240:9,11
 income 18:18,22 41:4        226:1                                                     62:25 63:9 76:9,10
                                                             243:23
                                                                                       79:14 81:20 84:5,11,21,
 indicating 5:16 21:14      involved 17:7,21
                                                            June 5:2 172:20,24         25 85:10 92:25 93:8,18
  29:19 39:17 62:13,15
                            Iron 49:25                       173:9,20 177:4 183:11     94:11 96:20,21 113:20
  86:3 119:19 121:19
                                                             186:12 187:15,20          114:1 118:22 119:18,19
  172:12 184:18 208:20      IROP 119:11 120:3,5                                        121:5 131:22 134:23
                                                             196:15 203:25
  213:24
                            IROPS 120:8                                                143:19 162:23 169:18
 indirectly 205:19                                                                     170:14 174:4 175:4
                            irregular 10:25 120:9,                    K
                                                                                       200:2 201:25 209:19
 industry 75:2 245:14        10                                                        211:4,6,10,11,16,19
 information 7:2 37:12      issue 99:2 126:8                keeping 52:22              214:18 216:17 217:4
  38:17 52:7 181:13                                         Keesha 198:25 199:16,      219:19 222:7 223:16,23
  226:16,25 227:4
                            issues 5:11 28:11                                          226:17 233:3,5 234:5
                             109:24 116:1 216:18             17,22,25 200:1 202:10
  233:13,14 234:16 235:3                                                               237:2 242:11,12,13
                             223:20                         Kelley 25:16,20 26:18      244:6
  239:25 245:19 246:19
                                                             31:15 51:6 214:17
 initial 28:8 39:16 227:5                                                             kinds 125:13 221:11
                                         J                  Kerr 89:16,17 106:10
 initially 12:9 119:24                                       107:2,7 116:14,23        knew 28:19 31:1 58:2
  120:25 246:21                                              117:2,13,24 118:14        76:8 88:7,13,17 92:7
                            J-I-N-O 187:9
                                                             120:17 125:7,15,21,24     95:17,19 96:19 132:25
 injury 25:21 26:4 31:1     Jackson 41:8,13,19                                         242:11,13
  207:11,12 213:23                                           127:14
                             42:6,24
  214:3,12 222:11                                           key 174:14                knowing 36:7
                            January 76:23
 inquired 244:20                                            kicked 105:7              knowledge 44:3 60:12
                            Jay-z 85:3 130:20                                          97:23 180:2,7 181:18
 Instagram 66:21,22,23                                      kid 5:23 195:18,19         182:6 223:10
  170:18                    Jino 187:7,9                     234:22
 instance 53:6 56:11        job 36:9 45:21 52:13,           kid's 195:14                         L
  122:19 127:17 203:24       17,18 53:7,16 68:16
                             69:1 75:13,14,17 76:13,        kids 65:22 67:10
 interdisciplinary           22 84:20 85:9,16                241:18,24 245:23         L-U-C-K-Y 67:1
  66:11                      101:24 104:8,10 109:23          246:1,4,6                La 245:7,9,11
 interested 247:6            119:5 145:1 162:18
                                                            Kiha 91:10,20 107:4       labeled 230:14 231:14
                             207:1 211:14 215:18
 International 92:7,8                                        148:5,7 149:13 150:19,
                             219:4 220:2 221:6                                        Labor 52:21
  94:20 95:14,16 107:15,                                     20,22 151:3,6 154:5
                             232:15 237:22 240:23
  18 108:1 145:3                                             155:12,20 158:16 159:1
                             241:6,10,13 242:9                                        lady 36:4,5 140:7
                                                             164:25 166:1 167:15
                             243:24 246:7 247:25                                       173:14 198:21 235:14
 interrogatories 12:8                                        168:13 169:15,19
  23:18 24:10               jobs 62:9,14 75:22,25            171:12 172:16 173:21,    Landmark 64:13
 interrogatory 24:24         76:2 244:8 245:4 248:1          24 174:8,19 175:5
                                                                                      language 39:7
  31:14 34:20                                                177:1,10,12 179:3,16
                            Johnson 157:5,23                 180:9,16 181:8,22        late 51:21 111:4 226:19,
 interrupt 8:12,13          Jones 149:14 186:4               182:12,23 186:4 187:25    20
                                                             188:10,19 189:12
 interview 147:15,18        Jovan 77:2 173:22                                         lateral 92:4,6,11,13,14
                                                             190:6,14 191:18 192:14
  148:22 151:18,21,23        176:12 233:11                                             95:21 96:7
                                                             197:4,20 198:9 201:21
  152:7,11,20 160:1,2
  164:18 165:25 169:6       judge 5:9,10 15:21               203:5 204:18 208:19      laughed 132:22
                             17:13,19 189:24 191:10          209:3,17 224:11 232:24
  208:8,11,15 218:19                                                                  laughing 132:17
                                                             234:1,6
                                                                                       137:21



                                                       11             www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 77 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                      June 29, 2017

 law 35:19 38:7 239:18      29:8,24 30:13 75:21            15,16 161:12,13,15        53:7 58:1 85:12,13
                            84:13 189:13,20 191:5          162:3,4 163:23 172:18     87:20 90:23 94:13
 lawsuit 13:9 227:20,25
                            197:25 237:10,12               179:6,11,13,18,22         105:1 143:10,12,19
 lawsuits 14:2              240:16                         183:19 208:22 210:6       144:17 145:4 152:6,21
                                                           221:9 223:14 229:20       158:15 159:6 161:5
 lawyer 248:12             light 217:3 218:16,17,
                                                           240:13                    164:3 177:16 179:3
                            21,22,24 219:8,13
 leader 89:15 90:2 107:8                                                             180:21 198:19 205:8
                            221:16,22 223:25              long-term 105:6
  111:7 125:1,8,14 126:9                                                             208:25 209:2 210:12
                            246:11
  129:21 149:1 212:23                                     long-time 161:11           221:12 223:2,7 233:15
                           likes 41:9                                                251:18,20
 leaders 105:24 106:1,                                    longer 27:4 41:13 76:9
  2,7 125:11,23 127:14     Lil' 85:3                       135:10                   mail 43:16 44:9,11,25
  141:16 159:3                                                                       196:1
                           limit 233:1                    looked 12:15 23:19
 leading 227:17                                            44:5 45:10,11 46:1,11,   mailed 12:5 43:16
                           liquor 84:15,16 142:2,4                                   48:23 49:24
                                                           12 47:7 48:17,23 49:3,
 learn 103:20,25
                           list 226:13                     13 50:18,20 59:17
                                                                                    main 6:1 16:17 123:15
 lease 63:13                                               61:23,25 62:3 99:9
                           listed 25:15 31:14                                        232:14,21 234:6 235:9
                                                           119:21 133:19 208:10,
 leasing 17:14 63:11        70:18 71:16 72:13                                        236:8 237:14
                                                           11 211:4,5,20 221:3,4
  64:5,8,12                 157:23
                                                           222:3 249:12 250:8       maintained 94:14
 leave 67:9 74:1,21 75:6   listen 44:4 45:3 70:15         lost 52:18 90:6 194:12    majority 151:3
  76:13 104:21 105:4        129:15 137:22 165:22
                                                           240:16 248:2
  175:19 207:16 218:11,     178:21 190:5,12 192:16                                  make 6:15 7:14,21 8:4,
  13                        210:20 222:17                 lot 19:10 28:19 34:4       20 13:13 15:22 21:6
                                                           35:25 38:13 42:11 50:9    22:3,19 64:17 69:5
 leaving 41:8              listening 148:19                61:8,18 75:3 76:1,2,4     85:25 92:21 93:1 94:23
                            150:15,16,18
 Lee 117:8                                                 81:2 83:5 84:12,14,18     96:7 109:20 114:8
                           listing 69:12                   85:18 87:20 90:11         119:22 120:6 139:13
 left 10:22 27:5 29:5                                      98:16,22 103:5 132:19     141:20 143:15 151:15
  41:17 52:13 62:2 75:14   literally 121:22                144:5 162:21,24 163:3,    161:18 167:23 188:2
  101:21 103:6 165:13                                      7 165:1 183:9,12 211:7    199:21 201:22,23
                           live 74:1 99:20,23
  175:22 206:11 225:20                                     217:14 225:11 228:5,6,    202:8,10 214:23 221:23
                            170:25 197:25
  241:6,10,14 248:5                                        17 241:3 245:1 249:1,7    228:22 231:8 245:8
                           livelihood 175:2                                          252:3
 legal 6:3 13:4,8,15,25                                   lots 104:2,4
  14:1 17:7,20 37:5,7,14   lives 170:24 179:10                                      makes 46:6 71:4 200:4
  38:4,17                                                 loud 229:23,24
                           living 64:20 74:4 241:4                                  making 8:11 18:19
 lengthy 231:9                                            Louis 198:14,18
                           locate 49:6                                               38:1 57:1 101:9 116:6,
 lets 201:2                                               love 45:13 103:1           16 140:11 159:11
                           location 49:22                  125:19 143:17 163:11      201:21 202:9,11 237:2,
 letter 122:20 127:22                                      201:4                     10
                           locations 71:16,22
  134:4,9 233:11,22
                            72:13,17                      loved 103:17,21 131:15    male 92:18 96:13
  234:15,25 235:6,22
  239:7                    lock 51:4                      loving 240:19             management 80:9
 letters 86:14             locked 249:22                                             83:3
                                                          lowered 17:19
 level 125:18              locks 119:16                                             manager 114:22
                                                          Lucille 137:7,8 138:5
 license 232:22 233:16,    log 229:10                      139:4,9,12,15 141:13     manages 195:11
  19,21 234:13 235:1,10                                    142:12
                           long 15:6 16:10 27:23                                    maneuver 74:25
  236:9,25 237:9,15                                       luck 242:12
                            32:10 38:13 64:14,24                                    March 26:10,11 115:20
 lie 141:12,18 143:18       72:6 73:11 77:13 78:13                                   116:4,13 207:17 214:6
                            80:15 87:15 105:1,7                      M               241:22 242:10
 lied 141:17
                            114:2 130:5 132:3
 life 7:21 14:23 15:16      141:22 154:16 159:5,                                    Marcus 126:9,19
                                                          made 14:18 52:12,17



                                                     12              www.GeorgiaReporting.com/Schedule
                                                                                          404.389.1155
         Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 78 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

  131:6,18 133:19 134:7,    181:10,22 182:25             misuse 207:6               Musicians 174:5
  12 141:15 142:10          184:12 198:21 209:17
                                                         misused 205:4              mutual 82:20
  143:24                    211:18 230:5 232:24
                                                         mom 23:4 98:14,23
 Mari 7:22                 Melinda 31:18 242:2,3
                                                          131:10,12 132:16 156:6                N
 mark 19:19 63:18          members 161:24                 195:11 234:21
  195:23                                                                            N-I-N-A 67:1
                           memo 145:23                   mom's 135:12
 marked 19:12 20:23                                                                 named 82:23 106:10
                           memory 9:5,19                 moment 6:11 26:21
  21:3 23:14,16 34:6,8                                                               153:2,8 156:18,23,25
                                                          68:11 71:20 86:10 99:5,
  67:14 68:6 87:10 89:22   men 144:1                                                 186:16
                                                          8 107:2 112:1 127:13
  99:13,15 108:13,15
  124:7 145:18,21 146:15
                           mental 95:20 241:4             140:23 145:12 147:13      names 31:23 135:22
                                                          160:19 166:14 169:16
  185:4,7,22 195:20        mentioned 65:5                                           nannies 245:23 246:5
                                                          208:7 227:14 237:3
  203:1 213:17,21 215:23    124:22 185:9 222:2
                                                          248:9                     nanny 241:16 242:7
  217:20 229:6 238:12,16
  239:1,5                  mess 97:3                     money 74:24 159:18          243:20,24 244:6 245:22
                           message 157:11                 164:6 188:2 202:8,9,11,    246:10 248:4
 marketing 81:5 83:20
                            168:22 219:25 220:8           16 243:18 245:8           narrative 8:1
  84:9
                            225:6,9,20 227:2
                                                         month 10:12 19:6           narrow 26:3
 Marquis 83:8,9
                           met 36:6 150:2 154:23          64:17 95:3 103:10
 married 13:10 65:18                                      220:11 221:19 246:3       necessarily 45:17
  131:13 137:11 175:7      methodically 127:6                                        77:21 94:3,4,11 99:23
                                                         months 27:24 36:20          163:10 205:9
 material 12:16 40:21      Miami 198:11 199:15            38:14 51:15 63:22
                            201:4,5                       203:21 246:5 249:2        neck 25:23,25 26:1
 matter 165:7 240:5                                                                  28:9 207:14
  248:13 251:8             Michael 114:23                mood 10:6,10 29:21
                           middle 6:7 119:5               86:5                      needed 62:23 76:11
 maximum 18:21,25                                                                    88:8 163:6 217:4
  19:2                      121:17 165:7 168:2,10        Moore 83:7,8,9              221:14 226:25 242:15
 meaning 61:12 132:19      Miller-thrasher 31:18         morning 33:5 226:21
                            242:2,3                                                 Neelys 128:5,18 131:15
 means 102:11 252:3,5                                    mother 23:3 93:14,18       neighborhood 74:6
                           mind 9:1 240:20 246:14         128:22 131:12,14
 Medallion 129:23                                                                   network 128:7 130:20
                           mine 63:8 158:20               132:13,15 153:11,12
 media 66:14 84:7,8,11,                                   154:8 156:7 164:8         newly 62:19
  12,19 136:17 196:5,13    minor 233:12 234:3,17          179:25 234:21
                           Minuscript 252:16                                        Niah 5:23
 medical 28:21                                           mother's 154:9
                           minute 25:13 129:18                                      nice 123:5 128:9
 medication 9:15,18                                      Mountain 16:10,12           137:11 148:8 157:11
  10:5,24                   145:12 167:8 169:19
                            182:3 187:17 189:25          mouth 193:4 201:2           202:16
 medications 9:12,23,       194:13 214:24                                           nicest 151:12,16
                                                         move 56:3 86:16 92:5,
  25
                           minutes 12:22 24:14            6,11,13,14 95:21 96:8     Nicholson 156:23
 meet 40:7 148:8 201:5,     67:12 147:5,22,25             119:8                      157:23
  7                         148:4 175:6 197:14           moved 81:4 120:25          nickname 5:25
 meeting 60:12 131:6,      mispronounce 26:22            moving 119:8 120:17        night 12:19 16:25
  22 134:13 166:4 209:11
  210:14,22 211:3 212:24   missed 14:18 15:19            music 77:1 80:5,8,10        120:3,5,8 122:17 213:2,
  224:11                    142:7 248:20                  128:18 130:13,15 131:9     11
                           missing 116:2                  132:7,10,11 161:14        nights 85:1 119:12
 Mehret 149:25 150:1,2,
                                                          162:14,24 163:3,11,13
  3,16,22 169:17,18        mistake 97:4                                             Nina9lucky 67:2
                                                          186:24,25 200:4 202:15
  170:13 173:1,14,21
  177:17 178:6 180:9,16    mistakes 251:20               musician 75:3              nonrev 55:25 57:11




                                                    13              www.GeorgiaReporting.com/Schedule
                                                                                         404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 79 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                      June 29, 2017

  58:20 59:21,23 60:24     offering 126:23,24                                       passenger 119:23
                                                                      P              121:3,10 129:19,23,24
 nonrevenue 54:17,22       office 76:19,20 117:6
  56:6,16,23 57:17          118:2,22 123:8 142:14                                   passengers 126:14
                            147:22 206:4 244:25          P-E-R-N-I-C-E 35:14         128:12
 normal 94:7,8
                            245:18                       p.m. 110:13 252:21         passes 100:20,22
 notes 31:8 215:12
                           officer 247:10                pace 92:12 95:18            101:11 123:22,25
 notice 209:24                                                                       147:13,16 148:11
                           OJI 213:15                    packet 42:17                151:20 156:15 158:11,
 November 127:23
                           older 139:1 222:16            paid 16:20 49:19 51:12,     14 159:10,21 194:17,25
  207:18,19 214:7,14
                                                          13,25 52:5,7 85:21,23      195:4 205:5 207:3,7
  215:5,17,22 216:5        olds 75:24
                                                          104:23,25 163:17 164:6    passing 36:6
 number 19:19 44:20,23     on-site 26:12                  192:6,19,24,25 193:13,
  65:11,12,15 67:1 86:21                                  14,21,25 195:7 200:20     passports 92:10
                           ongoing 18:20 77:15
  87:6 102:5,7 106:5,6                                    202:17 220:5 224:20
                            79:11 214:18                                            password 226:1
  165:12                                                  242:21 244:2
                           online 52:22 53:1,2                                      past 32:5 61:4 68:22
                            88:8 181:20 182:2            pain 218:15 241:2           225:23
             O
                            187:4                        pains 32:13,14 33:14       pay 14:18 15:20 49:14
 O.C.G.A. 252:18           open 89:4 246:23              paper 165:11 252:14         51:19 52:4 62:10,12
                                                                                     64:11 195:4 219:20
 oath 6:19,21 7:3 22:19    opened 246:25 247:5           papers 21:8                 242:19,23 244:4
  67:17 130:17 147:9       operating 81:9                paperwork 21:15            payment 159:15
 OB/GYN 31:19 242:4,7      operations 120:9,10            164:24 217:14
                                                                                    payments 51:20 105:6
 objections 39:6           option 226:8                  paralegal 35:7,16 37:8,
                                                          10                        pays 195:14
 obligation 190:2 249:2    order 145:1 224:17
                                                         parents 123:5 176:10       peace 144:10 145:9
 obtained 239:25           ordered 15:20 17:14,16
                                                         Park 16:16,18              Peachtree 25:16,19
 obvious 99:22              249:18
                                                                                     26:18 217:16
                           Orlando 168:16,17             Parker 66:2,3
 occasion 89:12                                                                     penalties 6:25 7:1
                           Orthopaedics 25:16,           parking 15:18 225:11
 occasional 77:11,14                                                                people 5:22,23 16:17
  78:13                     19 26:19 217:16              part 55:17 61:9 72:9        25:15 41:6 58:6 67:24
                           orthopedic 26:4                82:13 84:21,22,23          81:13 83:4 94:9,15
 occasionally 11:14
                                                          90:17 106:9 111:25         96:21 97:9,22 99:22
  241:23 243:21            OS 106:3                       129:2,4 132:7,8 143:12     100:23 102:8 122:4
 occupant 64:4             OSS 106:4                      153:16 175:23 180:18       135:6,9,10,23 136:6,15
                                                          181:21 199:1,2 231:2,5,    137:15,18,19 138:17
 occur 110:17 117:15,18    outpatient 28:4,6              6 233:23 235:7 236:25      139:21,25 140:3 142:3
 occurred 15:5,7,9                                        251:1                      144:2 151:15 157:7,18,
                           overhear 205:12
  18:14 60:11 110:16                                                                 19,22 158:5,11 159:1,9,
                           overlapping 169:18            part-time 84:20 85:9,
  142:9 174:15 211:12,16                                                             20 173:16 175:9 176:8
                                                          16
  213:6,24 214:4 227:17    overnight 33:3                                            178:11 181:1 200:12,14
  228:1                                                  partial 51:19               205:10,11,12,17 206:25
                           owe 51:24,25                                              225:10 238:5 239:20
 occurrence 119:13                                       partner 82:21 85:14
                           owed 13:17 17:15                                          244:16 246:1 247:15,16
 October 29:3 111:3                                      party 13:4,8 84:17
  216:3,7 229:11,22        owned 77:2 80:13               198:13,17                 people's 135:8
  230:15,22 231:15,21       85:14                                                   percentage 83:24
                                                         pass 54:22 99:11,17
  232:9
                           owner 17:15 63:8,14            150:9,11 153:1,7 155:5,   Perfect 8:15
 odd 75:25                  85:11                         16,21 156:12 160:9
                                                          162:1 207:4 208:8         perfectly 167:22 180:1
 offer 103:23 219:2        owns 63:7                                                 181:6



                                                    14                www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 80 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 perform 104:8             phone 53:2 65:11,14             point 8:11,16 16:13,15,   prescription 11:5,7
                            149:17,18 156:2 167:18          19 40:20 43:8,12 77:25
 performance 89:14                                                                   present 49:7 248:14
                            169:2 183:8 189:25              105:8 118:5 144:24
  90:2 104:5 106:1,2,7
                            248:18                          146:9 160:17 197:6       presently 247:5
  107:8 109:24 111:7
                                                            216:16 219:4 220:22
  125:1,8,11,14,23 126:9   phones 58:25 65:6,7                                       pretty 12:10 50:6 92:3
                                                            235:5 249:17 250:5
  127:14 129:21 141:16                                                                107:11 112:15 129:2
                           photo 136:9,11 137:4
  148:25 159:3 212:23                                      policies 87:6,24 88:8      147:2 160:16 215:17
                           physical 241:4                   89:8 99:7,9,11,17         227:16 231:1,7,17
 performed 104:10
                                                            101:17 150:11             232:5 245:14
                           physically 29:14 119:7
 performing 187:16,21
                                                           policy 51:14 88:18,24     print 41:20 46:18,19
  188:7,17 190:19 191:25   pick 203:24                      89:4 176:2                53:6,19
 period 69:2,23 71:3,14    picture 131:25 132:1,5          polling 244:1 246:10      printed 46:5,16 47:2,13
  161:9 210:8 218:11        136:24 137:20 183:8
                                                                                      53:15,17 54:2,4,12
  248:5                                                    polls 244:2
                           pictures 135:4 136:1
                                                                                     prior 33:8
 periodic 37:5              139:22                         poor 29:13
                                                                                     prison 16:25
 periods 36:18 38:13       piece 165:11                    pop 47:1 48:4
                                                                                     privileges 209:23
 permanent 63:20           piecemeal 110:3                 portions 134:4
                                                                                     pro 37:21 38:21
 Pernice 35:12,13,15       pill 29:15                      position 96:17 97:14
  36:3,12,15 39:14                                          98:7                     probation 127:22
  239:16 248:10
                           pilot 122:20
                                                           possession 40:17          problem 33:19 210:12
                           pitched 96:20
 person 17:15 27:9,15                                       52:12 58:12 59:25
  30:4 35:3,7 52:24                                         60:22 62:9
                                                                                     problems 90:13 125:8
                           PL 103:10,11 107:19
                                                                                      174:15
  77:16,22 96:23 113:20,    114:16 115:6 142:7
                                                           possibility 123:25
  23 114:9 136:10,16,19     147:20 148:17,25 211:4                                   procedure 28:4,6
  137:1,11,24 138:1         221:8 225:22                   possibly 11:9 15:10        217:4 252:18
  142:1 143:12,18 152:22                                    32:7 49:11 50:21 233:5
  159:4 161:5,25 170:13    place 28:22,23 63:7,9                                     procedures 31:3
  205:14,24 206:1,13,15,    64:13 69:22 75:23 76:6         post 245:18
                                                                                     proceed 17:16
  17 217:9 219:19           83:13 165:4 166:18,24
                                                           potential 123:19,22
  224:18,19 232:16,19       167:25 168:21 197:5
                                                            145:13
                                                                                     proceeded 121:3
  233:4 238:2 239:22        198:16 199:2 246:10                                       122:2,24 148:20
  246:20 248:17                                            practice 10:23 22:13,
                           places 69:3 70:11 71:8,                                   proceeding 13:8,16
                                                            14 27:5 29:5
 person's 35:8 61:10        12 72:16 164:19 165:12                                    17:8,20
                            166:1,5 198:12 199:23          preceded 152:16
 personal 45:18 46:15,      245:20,23
                                                                                     proceedings 13:4 14:3
  25 61:3,23 78:2,21                                       precedes 69:19             17:4
  143:19 157:19 159:17     play 189:14
                                                           precise 47:23             process 38:12 49:25
  174:1 180:2              playing 188:23 189:20                                      97:17 223:7
                                                           premed 66:12
 personally 154:2           237:11
                                                                                     produce 232:22
  174:2                                                    prepare 11:19 35:21
                           pleasure 58:1,3,7
                            101:1 155:17 159:5,8
                                                            36:1                     producer 187:1
 perspective 104:7
  111:18                    162:12 170:23 174:13,          prepared 34:19,23         production 77:1 80:5,
                            20,23 176:7,11,21,24            170:20 251:9              8,9 81:9 162:14 250:12
 pertinent 165:20           177:2,11 178:4,7,11,12,
                            13,19 179:2 182:9,13,
                                                           preparer 41:5             Productions 76:24
 petition 19:15,24 20:14                                                              77:14,24 80:5,24 82:5
                            20,23 188:1,11,19              prescribe 32:21
 Philadelphia 168:16        190:14,25 197:20                                         professional 137:17
                            198:3,7,8 199:9,14             prescribed 29:9 30:9
 Phoenix 167:5 168:14,                                      32:23 33:2               professionalism
                            204:8,13,15
  15 197:10,11                                                                        88:17,23
                           PLS 103:11 117:20               prescribes 10:14




                                                      15              www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 81 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                        June 29, 2017

 professionally 117:21     put 25:7 42:18 49:8              234:23 250:20,22 251:5    159:20 180:17 187:15,
                            66:22 68:6 70:9 71:13,                                    19 188:6 196:15 234:7
 program 233:9                                             questionwise 56:8
                            17,19 86:4 91:2,3 96:1,                                   239:13 248:7,25
 project 84:4               4 121:13 147:20 148:3          quick 19:16 116:20
                                                                                     reasons 98:20 126:22
                            193:3 200:13 201:1              222:17
 promise 58:10 61:16                                                                  144:6
                            213:20 217:1,2 218:15,
  165:23                                                   quickly 6:15 124:6
                            17,20,22 219:8 221:16                                    recall 30:19 72:21
 promised 7:12              223:25 226:12 227:11           quiet 144:11,24            94:24 111:15 112:14,
                            232:16,17                                                 19,21,23 115:24 118:19
 promo 75:25 76:5                                                                     125:9 129:3 130:4,9,11,
  83:20                    putting 37:12                               R
                                                                                      18,21 131:1 132:14
 promos 76:19 84:17                                                                   147:14 155:11 209:11
                                      Q                    R&b 200:3                  210:13,14 223:8
 promotion 84:10
                                                           R-E-N-E-T-R-A 6:10        receive 109:16 124:20
 promotional 75:22         Q-U-A-N-I-A-H 48:11                                        233:17
                                                           raised 171:20
 promotions 81:6           Qs 213:5                                                  received 44:22 50:17
  84:15                                                    ran 85:7
                           QU 5:22                                                    91:5,13 105:5 112:7
 properly 150:13                                           random 203:24              115:18,23 124:15
                           qualify 18:19 23:12                                        146:11,13 237:16 239:8
 property 83:22                                            rap 80:10,11 187:12
                           Quaniah 5:1,4,17 6:1                                      receiving 18:23 19:2
 protection 150:9           66:19 148:6 246:4              rarely 48:9,12
                                                                                      38:25 143:7 159:18
                            247:6                          raspy 211:23
 prove 232:23                                                                        recent 40:25 43:7
                           Quaniah2011 48:15               rate 99:25 100:17
 provide 7:11 37:7                                                                   recently 23:3 27:8
  70:25 183:2,3 185:17     question 7:17,24 8:2,           reach 27:11 36:24          43:19
  236:18 249:2              18,24 19:23 22:8 24:17
                            29:13 35:2,6 37:16 42:2        reached 27:9 246:19       recognize 21:6 22:3
 provided 25:3 100:2                                                                  23:17 24:6 68:8 99:16
                            44:4 45:3,22 47:23 49:1        reaches 36:25
  185:12 249:3                                                                        104:15 145:22 196:4,12
                            54:20 55:8 56:3,4,19
 providers 25:3,10          58:11,17 61:19 70:15           read 11:20 31:7 106:24     230:23
                            71:5 74:12 109:15,19            108:24 113:13 116:18
 providing 7:2 37:5,14                                      122:21 123:2 129:1
                                                                                     recognized 152:19
                            111:13 116:25 124:19                                      234:1
 proving 115:5              127:3 129:13,15,16              146:10,11,25 191:10
                            130:23 133:16 136:20,           229:19,21 230:13         recollection 30:17
 Ps 213:5                                                   251:19                    78:14 146:21 147:14
                            25 137:1,23 138:22
 psychic 184:21,23          144:16 150:22 164:5                                       213:23 214:3 218:4
                                                           reading 251:17
                            165:19,23 167:12                                         reconvene 249:16
 psychological 28:11        169:11 171:3,4 173:22          ready 12:3 67:23 86:11
  30:4,12,20                                                121:15 124:18 214:16     record 20:24 22:6
                            174:11 175:16 178:14
 psychologist 27:2,7        180:18 188:5,9,25               216:5                     34:10 47:20 54:10 55:9,
  28:14 31:6                189:6,8 190:8,12                                          18 68:4 106:21,23,24
                                                           real 104:23 122:13
                            192:10 195:9,12 196:9                                     120:15 140:21 147:8
 pulled 47:8                                                159:6 162:7 164:25
                            204:24 210:20 222:17                                      163:6,8 203:9,12
                                                            165:22 170:9 173:6
 purchase 159:15            231:13 234:10,11                                          207:23 208:2 230:8
                                                            174:1 188:3 198:19
                            251:23                                                    250:24 251:11 252:13
 purge 223:12                                               208:25 209:1 222:17
                           questioning 151:4                233:22                   recording 81:3
 purposes 205:5 207:3,      167:3 171:22
  5,7                                                      realize 124:5 147:9       records 55:11,13,14
                           questions 7:9 19:11              215:8 228:19              169:1,2
 pursuant 252:17            24:20 40:16 53:14              reason 9:5,8 16:6 41:5,   recount 68:22 230:23
 pushed 119:7               60:19 78:24 99:22               7 79:2 98:19 103:22
                            108:21 146:19 148:15,           105:10 111:17 117:7      Red 64:22 141:4,12,16,
 pushes 120:20              23 150:17 151:2 152:14                                    18 143:9
                                                            127:25 131:11 152:25
                            165:1 190:3 211:13,15           153:3,5,6,17,23 158:10



                                                      16              www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
           Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 82 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 redrafted 39:20           remained 103:2 133:13           reporting 68:16            restate 228:8,10
 reduced 99:25 100:16      remember 10:20 14:9             represent 200:5            restaurant 245:5
                            15:19 16:9,12 17:10             248:13
 refer 36:10                                                                          restrict 216:15
                            18:8 27:14 28:24 30:15,
                                                           reprimanded 135:11
 references 143:20          17 33:7 41:24 72:5,9                                      result 207:17
                                                            142:13,19
                            73:13 85:6 89:21 90:5
 referred 36:4,13 93:20                                                               retained 44:14
                            94:25 95:4,5 107:7,9,          request 34:14 89:25
  245:24 246:18
                            21,25 108:8 109:16              90:1,23 91:7 93:4 94:23   return 42:4 219:18
 referring 246:1,6          112:4,5,7,10 113:5,10,          222:3,19
                            12,15,25 114:5,14,17                                      returns 40:24 250:11
 reflect 57:24 59:25        115:2,4,5,10,14,25
                                                           requested 89:12
                                                                                      review 12:2 74:8,14
  74:11,15,17               116:1 119:14 122:10,           requests 39:6               140:16
 reflected 109:17,24        16,19 131:5,7 132:3
                            134:8,9 137:10,14              required 104:13            reviewed 24:12
  111:19 196:5,13 235:17
                            138:1,16,18 141:6,13,           105:13 250:10
                                                                                      reviews 142:2
 reflects 76:22 77:8        22 142:9 145:25 146:1,         reread 186:5
  109:7 110:7 229:11        2,3,22,23,24 149:20,24,                                   Richmond 204:1,3
                            25 150:7,12 152:9              reservation 61:11,14
 refresh 30:17 213:22                                                                 riding 200:17
  214:3                     155:12,14 160:6 166:6,         reservations 55:5 57:1
                            7,10,14,18,21,24 167:2,                                   right-hand 77:9
 refreshes 146:20           4,9 171:15,21,22               reserve 67:23 86:12
                                                            249:15 250:9,18
                                                                                      Road 64:23
 Regions 243:6,9            175:19 186:6 197:5
                            198:9 206:19 207:19             251:17,24 252:7           Rock 83:13,16 85:8
 regular 10:25 55:24        210:4,7 217:14 223:24          reserved 252:20            Rodney 83:3
  155:2 215:2 243:8         224:2,3 225:24,25
                            240:20 245:21 246:16           Reserving 252:1,2          Roll 66:7
 regularly 9:14,22
  242:15                   remembered 47:3                 residency 232:23           rolls 202:14
 rehire 226:13 227:11      remembering 217:18              resident 170:13 171:1      romantic 79:7,9
                                                            177:16 178:20 179:9
 reinstated 233:5          remove 141:9 143:25                                        Ron 115:25 117:8
                                                            182:24 233:4 235:11
  236:16
                           removed 133:21 134:1             236:17                    room 128:1
 reiterate 150:21 197:19    141:6                          resign 74:20 75:12         rough 237:13
 relate 62:9               Renetra 5:1,4 6:8                226:3,5,9,10
                                                                                      roughly 10:11 33:16
 related 20:22 55:6        rent 13:18 17:11 64:11,         resigned 73:13,19           92:16 207:17,18
  101:10 128:18 222:4,7     17                              74:5,10 75:7,17
                                                                                      route 168:18
 relating 52:12 54:17      rental 17:11                    respect 88:18,24
  55:2,4                                                                              rude 119:17 120:2
                           repeat 54:19 109:19             responded 24:9              121:6
 relationship 79:7,9
                           repeated 194:20                 response 5:16 7:25 8:1     rule 58:2 101:3,5
  174:3
                                                            24:15,24 29:19 31:14       252:17
 relay 219:25              repeatedly 249:18                39:17 62:13,15 86:3
                                                            91:6,13 150:25 172:12     ruled 17:13
 relayed 219:19 220:8      replace 237:19,21
                                                            184:18 208:20             rules 101:10,16 116:7
 relaying 225:6,9          report 17:11 107:12                                         123:23 124:2 252:18
                            142:2                          responses 23:18 24:3
 released 14:13,19                                          34:14,20 53:18,23         run 33:13 38:3
  16:23,24 214:24 215:1,   reported 105:17 106:6,
                            10 107:10 129:6,19             responsibilities
  11 216:6 218:2 220:15
                                                            101:25                                S
  221:24                   reporter 6:19 7:23 8:5
                            22:5 47:19 54:9 68:3           responsible 101:9
 reliability 110:21,25                                      150:10 175:24             safe 74:7
                            251:4 252:10,11,14
 remainder 110:13                                          rest 212:9                 safety 116:7



                                                      17                www.GeorgiaReporting.com/Schedule
                                                                                             404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 83 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 salary 84:3               sense 46:6 71:4 121:5           shown 87:12               Sky 103:5,19,21,22
                            162:11 174:13                                             104:1 107:17 126:21
 sat 115:6 148:17                                          shows 60:7 170:22
                                                                                      128:2 130:5 132:19
                           September 29:3                   173:15,17 178:7 181:1
 satisfaction 104:13                                                                  141:4,14,19
                            110:20                          188:11 193:6 195:18
  105:14
                                                                                     slash 66:12
                           series 7:9 19:17 115:17         shut 123:8
 satisfactory 104:9
                            148:23                                                   slow 119:8
                                                           sick 16:22 93:16 98:13
 Saturday 85:2
                           service 102:3,9 103:3                                     slower 92:12
                                                           side 77:9 107:15,16,18,
 saving 45:17               105:16 244:1
                                                            20 118:23 121:17         slowly 120:18 127:5
 schedule 91:19,20         services 25:3
                                                           sign 117:10 220:5         smoothly 6:16
  92:1
                           set 67:7 76:10 146:18
                                                           signature 238:21,23       Snapchat 67:4,9
 scheduled 219:11           197:13
                                                            252:19
  247:15                                                                             social 18:1 22:24 23:10
                           Shaw 229:14 234:11
                                                           significant 77:16 90:6     66:14 136:17 196:5,13
 school 65:24 66:3          235:16
  233:12 234:18,20                                         signing 251:18            socialize 154:25
                           she'd 133:25
 scratch 39:3                                              simple 42:2 45:22         software 41:15
                           Sheandra 92:3 97:20
                                                            61:19 188:25 189:6
 search 45:8 48:1           203:8                                                    sold 123:23
                                                            234:10
 searched 48:18            Sheandra's 138:9                                          solely 80:13
                                                           Sims 106:3
 searching 75:21           shift 93:4,9,10,24,25                                     son 154:8,22
                                                           sing 163:5,6,13
                            94:3 99:2 121:18 168:3,
 seasonal 67:22,23                                                                   sought 23:9 98:9,12,19
                            10 212:10 213:1 222:21         singing 163:7,25
  86:11,13
                           shoe 122:17                                               sounds 83:9
                                                           single 14:21 47:10
 seat 119:22
                           shoes 117:3,13,14,24
                                                            165:4 197:5              source 182:5
 seconds 208:5              118:10,11,12,15                sir 6:6 7:6 8:14,22,25    South 50:1
 secretary 248:16          shook 148:7
                                                            9:3,24 11:24 12:25
                                                            13:2,6 17:5 18:6,12,24
                                                                                     Southwest 53:10 72:3,
 section 69:12 169:16      short 105:1 107:16               19:8,21 22:17,21 24:1,
                                                                                      4,18 73:6,15,20 74:8,14
  231:6                                                                               244:10 245:3
                            161:9 210:8                     5,8,11 26:20 32:10,20
 Security 18:1 22:24                                        33:23 34:1,18 40:14,22   speak 80:7 126:17
                           short-term 105:5
  23:10 247:10                                              49:21 69:10 81:10
                           shoulder 25:21,22,23             88:10,12 90:21 98:11     speaker 149:18
 Sedarius 157:5,23          28:9 207:11,12,14               99:4,12,19 100:1,5,8,    speakerphone 148:19
 seek 97:13,25                                              12,18,21 101:2,12,15,
                           shout 128:18,21 129:4,           19,23 102:23 105:8,21,   speaking 115:25
 seeked 92:3                24 130:8,12 132:9                                         124:24
                                                            23 208:4 213:16 214:10
 seeking 76:9 91:19,25     show 15:22,23 16:21              229:5 235:1 248:3        specialist 26:1,2
  92:1,4,6 97:16            19:9,14,17,18 20:10,21          251:7
                            21:2 23:16 34:8 40:13                                    specific 12:2 47:22
 sees 184:25                                               sit 112:14 131:1 159:21    109:21 146:10
                            99:15 108:15 123:5
                                                            165:3
 sell 83:21                 124:6,11 128:23 131:15                                   specifically 51:17
                            145:21 146:18 178:10           sitting 137:20 143:24      122:16 182:8
 send 43:24 44:9 61:10,     180:20,23,25 183:1
  11,13 168:18,19 186:7                                    situation 16:3 32:14      speculation 96:2
                            185:7,25 188:18 192:19
  233:18 235:7,25 236:4,                                    74:3 76:21 83:25 93:11
                            193:25 195:23 196:22                                     speeding 13:23 14:10
  5 237:16                                                  94:16 96:14 113:6,10,
                            202:18,25 203:4 238:9,                                    15:1,2,12,16,18 16:22
                                                            11,19,25 115:11 120:4
 sending 86:14              15 239:4,5
                                                            126:17 129:12            spell 6:9 10:3 82:25
 senior 96:4               showed 89:24 94:8
                                                           situational 193:18        spelled 232:8
 seniority 96:24 97:5      showing 19:22 34:12
                                                           situations 74:24,25       spend 12:20 183:4
                            114:15



                                                      18              www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
          Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 84 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                         June 29, 2017

 spends 183:9              states 178:12                   127:2 134:2 140:4,20      supervisor 26:12 98:4
                                                           141:10 144:13 177:20,      105:17 119:21,25 121:4
 spent 16:25 160:13        stating 37:9 152:9
                                                           24 178:21 180:11           133:5 212:13 225:12
  183:12                    171:22 237:15
                                                           189:2,17,19 231:12         246:22
 spoke 51:11 116:15        statutes 240:1                  234:9,13
                                                                                     supervisors 46:17
  126:18 151:15 235:18
                           stay 33:3 63:1 73:11           stopped 78:4                47:3 97:21 103:19
 spoken 36:14,16            92:22,23 213:4                                            158:16,18
                                                          storage 49:8,9,16,18,
  154:23
                           stayed 17:12 116:16             19,22 50:7,8,10,22        support 236:19
 spot 84:14 197:9                                          249:4
                           staying 64:6 179:23                                       supportive 228:20
 spots 198:10                                             story 115:2
                           step 119:8 120:22                                         supports 227:24
 spouse 100:6,7,10          122:18                        street 16:17 245:6          228:3,15,24 229:4
  175:8
                           stepped 120:24                 stressful 92:8             supposed 45:12 78:19,
 spur 166:14                                                                          22 92:20 117:22,23
                           Stevenson 5:1,4,10,17          strict 101:5
                                                                                      135:1,3 175:17,18,20
 St 198:14,18               9:4 11:18 34:9 44:18
                                                          strike 140:8 169:5          215:20 225:3 227:5
                            45:23 47:23 53:14
 stamps 18:2,3,7,17,23                                     187:5 198:5                248:17
                            55:12 60:18 61:15
 Stan 141:13 142:12         66:19 67:16 70:3,15           struggle 193:22            surgery 28:3 241:25
                            71:4,20 75:18 78:25
 stand 221:9 223:13,14                                    stubs 62:10,12             suspend 165:14
                            109:5 127:6 129:16
                                                                                      209:23 248:24
 standing 138:19            136:16,19,23 137:22           stuck 168:2,6 199:13
                            138:21 140:24 141:10           200:22                    suspended 219:14,20
 Star 84:7,8,11,12,19       147:8 152:20 165:18                                       220:6 221:17,18 224:1,
                            171:14 177:20 178:14
                                                          stuff 33:13 36:7,9 42:16    11,15,16
 start 7:18 90:16 109:4                                    43:16 50:14 53:9,10,11
  110:12 140:8 213:21       181:3 188:21 189:15,22
                                                           55:21,25 60:4,10,16       suspending 234:8
  240:12                    190:15 191:3,7,10,23
                                                           61:4 76:5 82:10 85:18
                            192:15 193:8 196:10                                      suspension 220:9
 started 32:16 60:7                                        92:25 93:19 98:23
                            197:22 204:25 205:4                                       224:8
  67:24 74:23 79:1 80:20                                   117:9 121:12 122:3
                            208:2 217:10 237:2,18
  86:14 87:15,19 92:14,     248:25 249:10 250:6,25
                                                           123:6 147:20 148:3        swap 113:7
  25 103:8 107:19 118:12                                   150:20 153:24 163:8
                           sticker 19:19                                             swapping 113:3
  121:1 128:11 149:21                                      195:14 196:25 205:12
  164:13 216:17 218:20,    Stillman 66:5,6
                                                           211:7,8,19 221:7,9,11     sweet 138:14
  24 241:20,21 243:24                                      222:5 227:6 242:13
                           Stone 5:8 16:10,12              244:6 246:5 248:4
                                                                                     swing 10:10
 starts 120:20 231:15       19:13 21:1,10 22:7             249:25                    switched 103:12
 state 35:25 95:20          23:15 34:7,11 47:21
                                                          subject 250:12,21          sworn 5:5
  167:15 173:17 193:18      51:22 54:11 67:11,15
  200:14 204:18 226:17      68:5 71:10 87:11 89:23        submit 43:5                system 94:8 97:20,24
                            99:14 106:21 107:1                                        98:3 217:8
 stated 37:10 70:9          108:14 120:16 124:10
                                                          submitted 11:22
  117:4,19 119:24 121:13    140:22 145:20 146:17          substitute 244:19
  126:24 143:24 148:20      147:4,7 185:6,24                                                      T
  150:5,14 154:5 155:19     195:22 203:3,14 208:1         sue 239:7 240:3
  158:15,16,25 166:9,15     213:19 216:1 217:22                                      table 85:23
                                                          suffered 26:4 213:23
  168:13 173:11 178:7       229:8 230:10 238:14
  180:9 188:9,19 197:4                                    suggest 20:5               tad 138:12
                            239:3 248:23 249:9,12,
  198:11                    15 250:6,15,18,25                                        taking 245:25 251:5
                                                          suggested 107:3
 statement 21:4 22:4,9      251:8,14,16 252:2,5,9,         235:3                     talk 25:12 28:18 30:24
  39:11 185:11,17 228:1     15
                                                          summary 230:1               36:20 37:19 58:8 79:4,
  237:5                    stop 42:1 56:2 77:23                                       8,13 86:17 94:19 96:21
                            79:3,6,7,9,23 93:22           Sunday 85:1,2               101:24 107:4 117:13,14
 statements 208:12
                            116:25 120:6 124:4                                        133:1,2 151:20 168:5




                                                     19              www.GeorgiaReporting.com/Schedule
                                                                                          404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 85 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                             June 29, 2017

  178:24 205:10,11            19 71:1 80:19 92:16             42:11 43:7 48:4 49:7       105:3,9,25 106:9,10
  232:19 233:5 248:17         147:5 203:18 208:5              50:9 52:20 75:4,15 76:1    107:17,20 108:1 115:6
                              240:18                          84:16 91:25 93:19          116:19 118:24 119:12
 talked 30:10,23 31:2,4,
                                                              109:2 122:12 123:16        126:14,25 130:5
  9 36:23 38:9,14 90:7       ten-year 69:1,23 71:14
                                                              124:5 126:21 128:10        131:12,14 132:18
  93:19 94:5 99:2 107:3
                             tend 112:15                      133:18 141:23 143:10       133:6,19,24 135:17
  114:10 117:2,6 122:5
                                                              144:7 182:19 225:4         141:4 143:15,18 146:5
  132:16,22 140:10           term 105:1,7                     229:10                     147:20 148:17 149:1
  145:12 178:15,21 180:8
                             terminate 226:13                                            158:25 160:13,19
  207:10 208:10,16                                           thinking 38:16 75:1
                              227:12                                                     161:4,9,12,13 162:3,4
  210:24 212:17 222:18
                                                             thought 29:10,11            163:23 166:20 169:25
  223:2 228:16,20            terminated 18:9,21               45:19,20 81:4 119:3        170:1,13,17 171:12
  235:13,16                   219:15 220:12 221:19
                                                              135:8,12 143:7 144:25      172:18 177:17 182:25
                              225:18 226:19 227:24
 talking 13:25 14:2                                           151:6 178:18 216:21        183:4,9,12,23 196:21,
                              237:19 240:9                                               24,25 197:7,13 199:4,
  37:15 49:23 50:2 55:3                                       223:10 235:24
  57:3,5,6 60:4 93:4 99:6,   termination 73:24                                           10 201:22 202:3 206:2,
                                                             Thrasher 31:22 243:12       25 207:20 210:8,23
  7 111:21,23 122:25          74:18 87:1 219:7 227:9,
  125:11 128:11,14            18 229:16                      threat 73:24 74:18          212:6 215:10 218:12
  132:17 147:12 151:18,                                                                  220:19,24 221:8 222:13
  21,22,23,24 153:14,18,     terms 239:18                    three-way 156:3,4           224:4 227:24 230:3
  20 160:13 164:13           testified 5:5 193:9             thriving 103:7              233:1 238:5 240:25
  169:19 178:1 186:12                                                                    246:20,23 248:5,14,23
  187:14 194:11,12           testify 9:5,21 130:16           throwing 168:15             250:20,22
  199:25 203:19,21            164:6
                                                             Thursday 84:25 85:1,2      times 16:1 28:2 29:7,
  205:17 206:12 208:7        testifying 130:21                248:18                     14,23,25 30:1 31:11
  212:20,21 213:13
                             testimony 6:22 9:9              ticket 14:10,17,18 15:1,    32:2 36:14,16,17,23
  236:15 245:24
                              78:12                           2,18,20,21 16:20           38:9 49:5 61:8 104:16
 talks 205:25 206:1                                           102:16                     174:20
                             text 155:25 168:20,22
 tall 138:16                  169:1                          ticketing 103:20,25        title 150:7
 Taneesha 126:10             texts 57:1,23 58:22             tickets 13:20 14:24,25     today 6:16 7:8,15 9:10
  131:6,18 134:13 142:10                                      15:16,17,23                11:19 19:17 60:21
                             therapy 26:13 214:18,                                       112:14 131:2 208:18
 tax 40:23 41:4 250:11        20 216:13,14                   Tide 66:7                   228:16 248:18
 taxes 41:7,11 195:5,7       thing 8:10 13:13 15:2,          time 8:17,18 9:23 10:18    told 6:11 15:4 17:3
 Taylor 126:18 127:1          11,14 16:21 19:14 21:2          11:4,14 12:20 14:8,23      22:14,22 26:21 27:18
  133:8,25 134:3,12           38:5 50:21 52:25 55:15          15:5 17:13 19:18 20:2,     35:18,20 51:16 60:11
  140:11 141:1 142:24         59:8 83:19 84:9 95:3            3,7 21:5,24 24:16 29:12    65:6,17 92:17,20 96:1,
  143:24                      118:8 126:2,3 132:25            30:14 32:1 38:13,15        3,6,8,10 97:21 99:5,8
                              133:15 134:8,20 140:16          41:8,25 43:22 44:13,19,    103:11 107:2 110:12
 teach 244:19                 143:8 144:23 145:14             22 46:2,17 47:4 49:4,7     112:1 114:11 127:13
                              146:4 151:8 153:22              50:3 52:6 53:5 54:21       129:7,17,21 130:9
 team 105:24
                              155:12 164:23 173:10            57:13 58:13 59:12          132:12 133:7 134:3
 telling 20:5 96:3 126:20     183:15 189:10 198:15            63:19 65:7 67:7 69:3,4     138:20 141:12,15
  134:3,24 159:9 173:14       199:11 209:8 210:25             71:3,18,19 72:22 73:7,     143:12 144:16,19
  180:22 184:9,10,11,15       213:11 219:9,11,12,23           15,17 75:1,21 76:1,8       147:19 159:14 160:3,4,
  187:23 189:5 201:17,23      220:23 223:11,23                77:10 79:18 81:17          8 173:21 174:2,3,18
  203:5 225:22 235:23         225:14 232:14,17,21             83:13 84:13,18,21,22,      180:12,16 181:9,10,15,
  237:6                       233:7,25 234:1,2,4,7,21         23 85:11,17 86:18,19       17,25 182:7,11,12,19,
                              235:9 236:8 237:9,14            87:16 89:17,19 90:2,3      21,23 183:15,25 184:20
 tells 121:21 184:25
                              244:25                          92:1 93:9 94:6,8,13,15     186:17 190:13 196:7
 temporary 93:7 218:25                                        95:1 96:8,19 97:8,21,22    206:2,7 208:17 209:10
                             things 7:14,20 12:5,6            98:17 101:21 103:11,
 ten 25:4 31:17 36:23         15:15 23:6 28:19 31:5                                      210:22 211:12 212:25
                                                              23,24 104:16,17,22,25      219:15,16 224:7,9,10,
  38:9 44:21 68:17 69:13,     36:8 38:25 39:1 41:11



                                                        20               www.GeorgiaReporting.com/Schedule
                                                                                              404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 86 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                          June 29, 2017

  17 228:3,9,13,23 233:8     208:8                         type 15:18 16:3 39:22      understood 94:7
  235:17 236:1 244:14                                       46:25 48:3 52:23 66:20     135:2 146:25 239:11
                            traveled 59:23 164:20
  248:9                                                     76:20 182:17
                             166:2,25 169:7,13,16,                                    unemployment 17:24
 tomorrow 158:21             24 170:3 171:11,19,23         typically 102:14,15
                                                                                      unexpected 165:2
                             172:15 186:15 194:15,          168:21
 tone 149:4 152:1,2
                             19,23 209:2                                              unfair 143:6 144:17
 tons 139:21                                                                           166:23
                            travelers 206:3                           U
 top 21:17 70:24 90:14                                                                unfairly 126:12,15
                            traveling 177:3,11
  91:6,21 186:6                                            uh-huh 7:4 21:22 44:24      127:17
                             192:18 195:3 198:2,6
 topic 109:7 171:4,13,20     200:22                         45:2 47:25 48:19 52:15    uniform 116:15
                                                            54:1,24 56:22 61:20
 Topics 108:18              Travelnet 55:16 59:3            66:15 68:18 69:15         uniforms 50:6
                             167:20,21                      70:16 73:21 74:13 77:5
 torn 75:2                                                                            unit 50:22
                            treat 26:25 27:23 28:18         87:7 88:1,3,10 90:19,24
 total 85:25                 30:24                          91:12,15,23 104:18        United 244:14 245:3
                                                            105:19 106:12 109:12
 totally 116:21             treated 25:20 26:2                                        University 66:7
                                                            110:9,17 115:19,22
 touch 114:2                 125:20,24,25 126:12            116:5,8 124:13,17         unlawful 239:13
                             127:15,17,19 149:6             125:2 127:10 128:16
 touches 121:23              151:6                                                    unpaid 14:11,17,25
                                                            143:4 149:10 155:9
                                                                                       15:2,16
 tour 181:5 198:20,25       treating 26:19,25 28:10         156:8,16 160:21 161:8
  199:2,4,7,20 200:12                                       162:18 163:2 164:21       unprofessional
  201:8,18                  treatment 143:6                 167:15 172:3,6 181:11      134:19
                             144:18 217:24                  182:1,4 185:13 186:8,
 touring 81:3 200:7                                                                   unprofessionally
                                                            14 187:10 192:17
                            treats 119:18                                              134:21
 townhouse 17:16                                            194:21 196:16 208:9,13
                            trip 172:20,23 177:12,          213:25 214:8 217:17       unsafe 74:3
 toyed 237:11                25 178:1 179:1,12              218:1,23 222:20,22,24
                             180:5 181:14 183:5,12          223:3 227:21 229:15,18
                                                                                      upheld 235:23
 traffic 13:20 15:12 16:3
                             186:11,13 187:14,15,19         230:24 231:23,25          upset 96:16,23 97:10
 trained 137:15 140:1        188:1,6 190:13,24              234:14 238:17,20 239:6     206:5
 training 28:15 135:7        196:15 199:14 202:22           246:12 247:22
                                                                                      upside 191:5 240:16
 transcript 191:11          trips 34:2 203:16 210:6        uh-huhs 8:6 251:13,14
                                                                                      user 66:18
  251:10,21                 trouble 136:21 140:7           unable 239:24 248:6
 transfer 94:20,22           216:25
                                                           undergrad 66:9                          V
 transition 75:20           troubled 191:11,13
                                                           underscore 48:11
 transpired 12:10           true 102:24 183:11                                        vacations 194:20
                             197:23
                                                           understand 6:18,21,25
 travel 54:17,22 55:3,6                                     8:19,20,24 37:16 56:18    Valentine's 112:9
  56:5,6,12,16,23 57:1,     truth 22:15 24:10               57:4,21 58:16 59:2,24     Valium 32:23,24
  17,25 58:3,13,20 59:4,7    184:10,11,16,20 189:9          67:9 69:5 93:1 98:6
  99:11,17,25 100:3,10,      190:7 191:20,22 193:23         109:21 111:11 120:7       varied 242:20
  17 101:1,11,13 123:18,                                    133:3 134:25 143:10       variety 80:11,12
                            truthful 7:12 22:20
  19 124:1 145:11,13                                        167:23 175:24 176:9
                             35:6
  147:13,16 148:11                                          201:16 214:23 239:23      Velma 124:25
  150:11 155:5,17 159:8,    turn 24:22 88:14                240:4
                                                                                      Vendell 153:2,8,13
  17 160:19 161:1,15,19     turned 191:5 240:16            understanding 44:10         154:1,6,20 157:25
  163:1 164:11 167:10,                                      56:1 60:10,15,17 61:17     158:6,12 159:10,21
  14,17 172:4,7,11          Turner 83:3                                                160:9,10
                                                            71:13 89:11 150:8
  174:19 178:19 194:12,
                            Turning 115:16                  158:17 195:10 236:10,
                                                                                      venting 205:2
  17,24 197:3 198:8                                         12
  202:18 205:5 207:3,4,7    Twitter 170:17 173:4



                                                      21              www.GeorgiaReporting.com/Schedule
                                                                                           404.389.1155
        Case 1:16-cv-02571-AT Document 88-4 Filed 01/07/21 Page 87 of 87
Quaniah R. Stevenson vs Delta Air Lines, Inc.
Quaniah Renetra Stevenson                                                                       June 29, 2017

 verbal 7:25 109:9,17       144:24,25 145:9 208:24         71:6,8,11,12,15,21         185:15 197:9,13,15
  111:8,12,15,18 112:2,8    214:17,19 217:3,12             72:4,11,12,23 73:13        242:23 243:2,12
  115:17                    226:3 232:21 235:9             75:16 77:11,14,21,23
                                                                                     writer 163:15
                            236:8,25 244:12                78:14 81:15,17 83:6,23
 verbatim 152:9 219:24
                                                           95:19 103:9 105:12        writing 164:1
  225:24 232:15            wanting 144:7 234:19
                                                           110:12 111:4 113:8
                                                                                     written 185:11,17
 verbiage 37:22            warning 109:9 111:8,            114:7 115:9 137:25
                                                                                      207:2,6 208:11
                            12,15,18 112:2,8               139:21 141:14 144:10
 verify 236:17                                             154:18 157:7 162:19,      wrong 113:16 158:25
                           warnings 109:17                 20,21,23 163:4,25
 veteran 126:13 140:3                                                                 226:5,10 232:8
                           warranted 111:19                168:4 186:21,22 197:1
 Victoria 154:11,12,14                                     205:13 214:11 215:2,5,    wrongly 166:22
  156:7,14 157:13,16       watched 126:13                  15,16 216:6,15 218:2,     wrote 39:19 40:3,10
  158:6,11 160:9            131:14 135:6                   11 219:18 220:19           122:20 134:25 142:19
 violate 123:23 124:1      waves 119:22                    224:12,13,15 240:13        155:20 160:11 165:6,12
                                                           241:15 243:24 244:2        183:15 185:10,16
 violation 16:4 239:25     week 50:14 51:11 84:24          247:17 248:6               197:8,14 206:1,5,7,14,
                            85:5,19 219:17 240:21
 violations 15:12                                         workday 165:7               25 243:15
                            242:18,22 247:13,23
 Virginia 204:6             248:18                        worked 45:13 69:2,3,
                                                           22 70:10 71:3 72:2,3,19
                                                                                                Y
 vocalist 81:2             weekend 242:16
                                                           73:6,15 76:2,18,23 80:5
 voice 149:4 211:23        weekly 141:21                   82:17,20,24 84:22         Yahoo 48:7,11
 voluntary 19:15           weeks 96:12 221:20              95:17 102:21 104:2,4      year 10:21,22 11:8,9
                            225:16 251:9                   113:23,24 126:11,18        14:10,15 15:9 26:9
 vote 244:2                                                135:9,18 141:19 143:14
                           Wells 243:6,15                                             27:19,20 32:5,12,19
 voting 244:5 248:4                                        161:13 162:20 212:9        33:8,15,21,23,24 64:16
                           whirlwind 225:5                 240:25 241:15,16           71:2 72:25 75:24 78:2,4
 vouched 141:15                                            244:1,2,23 246:9,18
                           whispered 225:13                                           79:25 80:2 86:2 95:5
  198:21
                                                          Workers' 146:4              107:21 161:17 162:25
                           window 108:1                                               216:17 241:22,23
              W                                           working 36:19 44:13         246:22
                           wine 11:13 64:22                45:21 60:2 64:21 65:10
                           wing 102:10                     73:16 75:22,25 76:19      years 25:4 31:17 44:20
 wait 134:2 140:20                                                                    65:1,13 66:9 68:17
                                                           78:15 80:23 82:15
  169:19 187:17 240:14     wings 102:9                                                69:13,19 70:9 71:2
                                                           83:13 84:3,4,24 85:5,19
  244:17                                                                              78:18 80:18,19 81:20
                           witnessed 142:12                94:15 102:11,14,16,19
 waiting 95:18 119:24                                      118:24 120:8,20 121:18     83:9 86:21 87:6 103:18
  244:16                   woman 106:10 182:17             162:25 165:8 206:3         106:6 136:12 137:16
                            189:18 201:18                  207:1 218:16,24 243:19     154:17 163:22 167:2
 waitress 245:6,8,9                                        247:1 248:4                197:7 200:8 203:18
                           women 144:1,2
 waitressing 245:13                                                                   206:19 217:13 240:18
                           Women's 72:15,24               works 35:23,25 37:11
 waive 251:25                                              81:13 119:15 157:4        yesterday 24:13
                            74:22 75:10
                                                           206:6 251:3               younger 67:10 75:4,22
 walk 148:4                word 30:8 38:16,18
                                                          world 80:10 99:21,23        139:1
 walked 117:6 118:21,       48:1,18 125:17 170:7
  22,23 211:24 213:11       174:14                        Worldwide 145:24
  220:9                                                                                         Z
                           worded 225:24                  worry 60:16 212:1
 walking 137:19 211:24     wording 39:9                   worse 222:16               zeroed 234:5
 walks 121:18,23           words 91:3 130:1 193:3         Wow 119:16 122:1
 wanted 28:21 33:12         201:1
                                                          write 37:20 38:2 39:1,2,
  75:5 76:7 86:19 97:11    work 17:17,18 20:5              15,18 142:14 155:14
  103:20 123:3,5 124:5      59:9 60:25 70:6,17             156:1 163:14 165:6



                                                     22              www.GeorgiaReporting.com/Schedule
                                                                                          404.389.1155
